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                                 #:5216




                         EXHIBIT 9
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  EX-10.2 3 a15-11963_1ex10d2.htm EX-10.2
                                                                                                               EXHIBIT 10.2

  Portions hereof have been omitted and filed separately with the Securities and Exchange Commission
  pursuant to a request for confidential treatment in accordance with Rule 406 of the Securities Act of 1993,
  as amended.

   AMENDED AND RESTATED INTERNATIONAL DISTRIBUTION COORDINATION AGREEMENT

  This AMENDED AND RESTATED INTERNATIONAL DISTRIBUTION COORDINATION AGREEMENT
  (this “Agreement”) is entered into as of June 12, 2015 (the “Effective Date”), between MONSTER ENERGY
  LTD. (formerly TAURANGA, LTD.), a company organized and existing under the laws of the Republic of
  Ireland, with offices at South Bank House, Barrow Street, Dublin 4, Ireland and MONSTER ENERGY
  COMPANY (formerly known as Hansen Beverage Company) (collectively, “MEL”) and THE COCA-COLA
  COMPANY, a Delaware corporation (“KO”). This Agreement amends and restates in its entirety that certain
  Monster Energy International Distribution Coordination Agreement between MEL and KO as of October 3,
  2008 (the “Original Agreement”). Capitalized terms not otherwise defined in this Agreement shall have the
  meaning defined in Section 2 below.

  1.         Recitals. This Agreement is made with reference to the following recitals of essential facts:

          1.1.      MEL and KO (each, a “Party” and collectively, the “Parties”), and their respective Affiliates (as
  defined below), are both engaged in the manufacture and sale of beverages. For purposes of this Agreement,
  “Affiliate” shall have the meaning ascribed to such term in the Transaction Agreement (as defined below).

           1.2.       MEL is a wholly owned subsidiary of Monster Energy Company (formerly known as Hansen
  Beverage Company), a Delaware corporation (“MEC”). MEC or its applicable Affiliate owns the exclusive
  right, title and interest in and to the MEC Marks (as defined below). MEL has been authorized by MEC or its
  applicable Affiliate to use the MEC Marks (as defined below) and manufacture, promote, market, distribute and
  sell, including without limitation through distributors appointed by MEL, the Products (as defined below)
  throughout the Territory (as defined below).

          1.3.   Prior to the execution of this Agreement, (i) Company (as defined in the Transaction Agreement),
  Parent (as defined in the Transaction Agreement) and NewCo (as defined in the Transaction Agreement) entered
  into the Asset Transfer Agreement (as defined below), pursuant to which Parent agreed to transfer to NewCo or
  one or more of NewCo’s designated Subsidiaries the KO Energy Assets (as defined in the Asset Transfer
  Agreement) and to assume the Assumed KO Energy Liabilities (as defined in the Asset Transfer Agreement) and
  Company agreed to sell to Parent or one or more of Parent’s designated Subsidiaries the Monster Non-Energy
  Assets and Parent agreed to assume the Assumed Monster Non-Energy Liabilities (each as defined in the Asset
  Transfer Agreement) (the “Asset Transfer Agreement”) and (ii) Company, NewCo, Merger Sub (as defined in
  the Transaction Agreement) and Purchaser (as defined in the Transaction Agreement) entered into the
  Transaction Agreement, pursuant to which (a) Company reorganizes into a new holding company structure by
  merging Merger Sub with and into Company, with Company surviving as the wholly-owned subsidiary of
  NewCo, (b)




  upon the effective time of the merger, each outstanding share of Company’s common stock converts into one
  share of NewCo’s common stock (“NewCo Common Stock”), and (c) immediately after the effective time of the
  merger, Purchaser purchases from NewCo a number of newly issued shares of NewCo Common Stock
  representing one share less than 16.666% of the total number of then issued and outstanding shares of NewCo
  Common Stock measured on a post-issuance basis (the “Transaction Agreement”), each as more fully described

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  therein. As a condition to consummating the transactions      #:5218contemplated by the Asset Transfer Agreement and
  the Transaction Agreement, the Parties have agreed to enter into, simultaneously with the consummation of the
  transactions contemplated by the Asset Transfer Agreement and the Transaction Agreement, this Agreement
  with respect to distribution related matters.

          1.4.          KO has relationships with an extensive worldwide network of owned, partially owned or
  independent distributors and/or bottlers that engage in the manufacture, distribution and/or sale of KO-branded
  beverages. Each such distributor or bottler that is a party to an agreement with KO regarding the distribution of
  beverage products (as it may be amended, restated, and/or replaced from time to time, in each case a “KO
  Bottler Agreement”) is referred to in this Agreement as a “KO Distributor” and some or all of such distributors
  are collectively referred to as the “KO Distributors.”

           1.5.     Certain KO Distributors entered into various exclusive agreements with KO pursuant to which
  they need consent from KO to distribute competitive products offered by third parties. Certain KO Distributors
  (“Pre-Coordination Distributors”) previously entered into distribution agreements (“Pre-Coordination
  Agreements”) with MEL (i) prior to the effective date of the Original Agreement and (ii) in the case of Coca
  Cola Hellenic and/or its Affiliates (“Hellenic”), after the effective date of the Original Agreement but before the
  Effective Date of this Agreement. Certain KO Distributors (“Existing KO Distributors”) previously entered into
  distribution agreements (“Existing Distribution Agreements”) with MEL pursuant to the Original Agreement.
  Through this Agreement, and subject to the provisions contained herein, MEL desires to enter into, and KO
  desires to consent to (to the extent necessary), (a) new distribution agreements with KO Distributors designated
  by KO for Products (as defined below) in, and/or (b) add to Existing Distribution Agreements specific sub-
  territories (each a “Sub-Territory” and collectively “Sub-Territories”) designated by MEL that are within the
  Territory (as defined below), in each case as provided hereunder (subject to the last sentence of Section 3.2
  hereof) and/or (c) new distribution agreements with Pre-Coordination Distributors and those distributors that
  have entered into Existing Distribution Agreements with MEL prior to the Effective Date in Sub-Territories
  designated by MEL and agreed to by such KO Distributors, but only to the extent of such Sub-Territories that
  become subject to such New Distribution Agreement.

          1.6.     Subject to the terms of this Agreement, (i) MEL shall use its Best Efforts (as defined below) to
  enter into (a) new distribution agreements for Sub-Territories substantially in the form of attached Exhibit A,
  (b) amendments to Existing Distribution Agreements adding Sub-Territories to such Existing Distribution
  Agreements as may be agreed upon in writing and/or (c) to the extent applicable Existing KO Distributors are
  agreeable, amendments to applicable Existing Distribution Agreements to make them substantially identical to
  the form of attached Exhibit A. The new distribution agreements in the form of attached Exhibit A or
  amendments referred to in this Recital 1.6 shall be effective from their respective effective dates,

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  in each case, and shall be subject to such modifications as may be agreed upon in writing by MEL, the
  applicable KO Distributor, and to the extent required in accordance with Section 7.2 below, by KO, and are
  collectively referred to as the “New Distribution Agreements,” (ii) KO shall use its Best Efforts (as defined
  below) to, recommend and consent to and shall, upon MEL’s reasonable request, use good faith efforts to
  reasonably assist, the entering into of such New Distribution Agreements as set forth in Section 3.2 below,
  (iii) subject to the last sentence of Section 3.3 below, MEL shall use its Best Efforts to respond to KO’s or a KO
  Distributor’s reasonable inquiries and cooperate with KO in response to KO’s reasonable requests in relation to
  MEL’s relationship with KO and KO Distributors, including with respect to discussing in good faith potential
  resolutions of any material issues with KO Distributors relating to KO Distribution Agreements (as defined
  below) and any material disputes or performance issues thereunder, as set forth in Section 3.3 below, and
  (iv) MEL shall consider, in good faith, any reasonable requests by a KO Distributor to amend the form of
  Exhibit A, without any obligation on MEL to agree to such amendment/s that MEL determines to be
  unacceptable in its sole and absolute discretion. Without limiting the foregoing, as used herein, the term “New
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  Distribution Agreements” shall also include (A) amendments    #:5219        to Pre-Coordination Agreements to make them
  substantially identical with the form of attached Exhibit A, but only with respect to such Sub-Territories that
  become subject to such New Distribution Agreement, with effect from the respective effective dates of such
  amendments, in each case subject to such modifications as may be agreed upon in writing by MEL, KO and the
  applicable Pre-Coordination Distributor, and (B) any other agreement that the parties otherwise agree in writing
  will constitute a New Distribution Agreement hereunder.

         1.7.          All Exhibits referred to in this Agreement shall be deemed to be incorporated into this
  Agreement. In accordance with Section 23.2 of the Original Agreement, the Parties desire to supersede the
  Original Agreement in its entirety, which shall no longer be in force and effect, as set forth herein.

  Now, therefore, in consideration of the foregoing and of the mutual representations, warranties and covenants
  contained herein, the Parties hereby agree that the Original Agreement is hereby superseded in its entirety as
  follows:

  2.         Definitions. For the purposes of this Agreement, the following additional definitions shall apply:

             “Applicable Sub-Territory/ies” means any Sub-Territory within the Territory.

             “Best Efforts” means the efforts a prudent Person (as defined below) desiring in good faith to achieve a
             result would use in the circumstances to ensure such result is achieved as expeditiously as possible but
             does not require the Person subject to such obligation to take actions that would result in any materially
             adverse change, or any financial change which in the aggregate, or over a period of time, would result in
             any materially adverse change, in the benefits to such Person under this Agreement or require such
             Person to expend funds or extend other economic incentives, unless otherwise expressly required under
             this Agreement.

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             “KO Distribution Agreements” means (a) Pre-Coordination Agreements, (b) Existing Distribution
             Agreements, and (c) New Distribution Agreements to be entered into between MEL and a KO
             Distributor in the Territory after the Effective Date of this Agreement (“New Distributor/s”); in each
             case, together will all exhibits, appendices, and schedules thereto and as such agreements may be
             amended or modified.

             “Energy Drink/s” means any shelf-stable, in ready-to-drink, powdered, drops or concentrate form, non-
             alcoholic beverage that satisfies all of the following conditions: (a) it is marketed or positioned to
             consumers as an energy beverage, (b) it contains one or more of the following ingredients: guarana,
             taurine, panax ginseng, L-carnitine, B-2 vitamins, B-6 vitamins, B-12 vitamins, L-arginine, astralagus,
             glucuronolactone or inositol (or, to the extent approved by KO, which approval shall not be unreasonably
             withheld, conditioned or delayed, any ingredients substituting for or supplementing any of the foregoing
             ingredients) and (c) it has at least five (5) milligrams of caffeine per ounce (the “Caffeine Requirement”),
             except that (i) Products under the brand Monster Energy Unleaded (substantially as such Products are
             formulated, manufactured, marketed and/or sold as of the date hereof, and any line extensions or
             expansions of such Products marketed under such brand) shall not be required to meet the Caffeine
             Requirement; and (ii) the Caffeine Requirement shall be reduced in respect of any particular territory to
             the extent that any final law applicable to MEL in such territory imposing restrictions on the on-going
             business activities of MEL is enacted by a Governmental Entity (as defined below) having jurisdiction
             over such territory that either (A) specifically establishes a maximum caffeine concentration that is lower
             than the Caffeine Requirement (in which case the Caffeine Requirement applicable to such territory shall
             be the maximum caffeine concentration permitted by such law) or (B) is reasonably expected, based on
             the good faith judgment of MEL, to have an adverse impact on MEL’s business, sales or profitability in
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             such territory due to the caffeine concentration      #:5220
                                                                      of the Products exceeding a specified level (including, for
             example, a material tax imposed on beverages with caffeine concentrations above a stated amount but
             excluding, for the avoidance of doubt, any age or similar restriction on the manner of sale of such
             beverages) (in which case the Caffeine Requirement applicable to such territory shall be the maximum
             caffeine concentration that would not have such adverse impact); it being agreed that affected Products in
             any affected territory may be reformulated by MEL to the extent necessary to comply with any such law
             or to avoid such adverse impact.

             “MEC Marks” means the trademarks, trade names, brand names, and logos (whether or not registered),
             copyright material and other intellectual property owned by MEC or its applicable Affiliate and used by
             it on the Products and/or in connection with the production, labeling, packaging, marketing, sale,
             advertising, and promotion of the Products.

             “KO Competitor” means the Persons identified on attached Exhibit J and any Affiliates and successors
             thereof, it being agreed that KO may propose to MEL for MEL’s written approval to supplement or
             amend Exhibit J from time to time to add additional Person/s who are significant competitors of KO who
             own, operate or control a distribution network for alcoholic and/or non-alcoholic beverage products or
             own or license alcoholic

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             and/or non-alcoholic beverage product brands, and MEL shall not unreasonably withhold approval to
             such supplement or amendment (and in all cases, including any of such Person’s respective Affiliates and
             successors).

             “KO/MEL Distributor/s” means (a) Pre-Coordination Distributors, but only in relation to New
             Distribution Agreements that such Pre-Coordination Distributors may enter into pursuant to this
             Agreement, (b) Existing KO Distributors under Existing Distribution Agreements and (c) KO
             Distributors that enter into New Distribution Agreements pursuant to this Agreement, in each case, for so
             long as such agreements remain in effect, but only during the period in which a KO Bottler Agreement is
             in effect between KO and such KO/MEL Distributor.

             “Products” collectively means (excluding, for purposes of this Agreement, any Products (as such term is
             defined in the KO Legacy Brands Coordination Agreements (as defined below))) (a) all Energy Drinks,
             in any form, that are offered, packaged and/or marketed by MEL or any of its Affiliates at any time,
             under the primary brand name “Monster” or any other primary brand name having “Monster” as a
             derivative or part of such name, and/or containing the “ in” as a primary brand component, and which
             may, but are not required to contain the “in” mark, and/or the “M” icon (“Monster Energy Drink/s”),
             (b) all drinks other than Energy Drinks, in any form, that are offered, packaged and/or marketed by MEL
             or any of its Affiliates at any time, under the primary brand name “Monster” or any other primary brand
             name having “Monster” as a derivative or part of such name, and which may, but are not required to
             contain the “in “ mark, and/or the “M” icon (“Other Monster Drink/s”), as MEL and KO may agree upon
             in writing and as identified on attached Exhibit C-1 which may be amended from time to time by MEL
             and KO executing a mutually agreed upon amended Exhibit C-1, including any Other Monster Drinks
             added to a KO Distribution Agreement pursuant to Section 4.6.2 below and (c) all other beverages not
             specified in (a) or (b) of this definition of Products, in any form, including, without limitation, Energy
             Drinks, that are offered, packaged and/or marketed by MEL or any of its Affiliates at any time, but not
             under the primary brand name “Monster” or any other primary brand name having “Monster” as a
             derivative or part of such name, and that do not contain the “in” mark, and/or the “M” icon (“Other
             Products”), as MEL and KO may agree upon in writing and identified on attached Exhibit C-2 which
             may be amended from time to time by MEL and KO executing a mutually agreed upon amended

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             Exhibit C-2. The Products shall include all #:5221   sizes of SKUs as may be determined by MEL and offered,
             packaged and/or marketed by MEL or any of its Affiliates in good faith from time to time, subject to
             Section 4.6 below (the “Product SKUs”).

             “Territory” means the countries, regions or geographical areas described on attached Exhibit B, as may
             be amended from time to time by mutual agreement of the Parties in writing.

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  3.         Agreement.

          3.1.    The Parties acknowledge and agree that, subject to the terms of this Agreement, and in exchange
  for the consideration described in the Transaction Agreement, it is their mutual intent (a) to procure and facilitate
  a smooth and uninterrupted transition of the distribution of all Products to applicable KO Distributors throughout
  the Territory and (b) that the transition will happen in due course, as KO provides Identification Notices (as
  defined below) pursuant to and in accordance with the Distributor Negotiation Process (as defined below).

          3.2.     KO Efforts; Access to Distributors. To the extent permissible under applicable law (a) KO agrees
  to use its Best Efforts to recommend and consent to the entering into of such New Distribution Agreements, and
  shall, upon MEL’s reasonable request, use good faith efforts to reasonably assist the entering into of such New
  Distribution Agreements and the on-going relationship between MEL and such KO/MEL Distributors that have
  executed New Distribution Agreements with MEL, including, without limitation, by KO taking the following
  actions when required during the Term: (i) reasonably requesting that Proposed Distributors meet with
  representatives of KO (or KO and MEL) to attempt to resolve material issues related to the relationship (or
  failure to reach agreement with respect to a New Distribution Agreement) between MEL and such KO
  Distributor, (ii) participating in a reasonable number of such meetings described in clause (i), whether in person
  or via teleconference or video conference, at mutually agreed upon times with reasonable advance notice to KO,
  (iii) communicating to KO Distributors KO’s recommendation of, and consent to, the entering into of New
  Distribution Agreements, as well as, upon MEL’s reasonable request, sending an applicable KO Distributor a
  letter or email substantially in a form to be reasonably agreed upon by the Parties as set forth in Exhibit X, and
  (iv) refraining from discouraging, preventing and/or intentionally delaying the entry into of New Distribution
  Agreements between MEL and Proposed Distributors; (b) and to the extent KO has express consent rights under
  a KO Bottler Agreement with respect to the KO Distributor’s right to distribute products other than KO
  products, KO will grant such consent in the Sub-Territories with respect to the Monster Energy Drink/s
  designated by MEL, and with respect to the Other Monster Drink/s and the Other Products that are included in
  the Products, as may be agreed to between MEL, KO and such KO Distributors in a New Distribution
  Agreement with such KO Distributor; and (c) KO shall use reasonable efforts to permit MEL to make
  presentations to KO/MEL Distributors in relation to its Energy Drink business from time to time throughout the
  Term (as defined below), under circumstances deemed reasonably appropriate by KO. For the avoidance of
  doubt, KO’s Best Efforts and MEL’s Best Efforts hereunder shall not obligate either KO or MEL, as the case
  may be, to expend funds or extend other economic incentives to convince KO Distributors to enter into New
  Distribution Agreements with MEL; it being understood by MEL that KO does not control all KO Distributors,
  who will independently negotiate distribution agreements directly with MEL. Notwithstanding anything to the
  contrary herein, KO does not consent to (and shall have no obligation hereunder with respect to) any KO
  Distributor distributing Products in any Sub-Territory in which such KO Distributor does not distribute Products
  as of the Effective Date, unless and until such KO Distributor and all of its applicable Affiliates enter into New
  Distribution Agreements in the form of Exhibit A in accordance with this Agreement covering each and every
  Sub-Territory in which such KO Distributor or any of its Affiliates distribute or intend to distribute Products
  (including any Sub-Territories in which such KO Distributor or any of its Affiliates distributed Products prior to
  the Effective Date); provided that, in the event of any addition or intended addition of Sub-Territories (in which
  Coca-Cola Enterprises does not distribute Products as of the Effective Date)

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  to the distribution territory of Coca-Cola Enterprises under New Distribution Agreements, if Coca-Cola
  Enterprises wishes to continue to distribute Products pursuant to its Existing Distribution Agreements in the
  Sub-Territories in which Coca-Cola Enterprises distributes Products as of the Effective Date, Coca-Cola
  Enterprises shall not be required to enter into New Distribution Agreements in the form of Exhibit A with
  respect to the Sub-Territories in which Coca-Cola Enterprises distributes Products as of the Effective Date.

          3.3.    MEL Efforts. MEL shall reasonably respond to KO’s or a KO Distributor’s reasonable inquiries
  and cooperate with KO in response to KO’s reasonable requests in relation to MEL’s relationship with KO and
  KO Distributors, including, without limitation, with respect to discussing in good faith potential resolutions of
  any material issues with KO Distributors relating to KO Distribution Agreements and any material disputes or
  performance issues thereunder or any perceived material issues relating to the commercialization of MEL’s
  Products, including, without limitation, by taking the following actions when required during the Term:
  participating in a reasonable number of meetings with representatives of KO (or KO and the applicable KO
  Distributor) to attempt to resolve material issues related to the relationship between MEL and such KO
  Distributor or MEL and KO (or failure to reach agreement with respect to a New Distribution Agreement),
  whether in person or via teleconference or video conference, at mutually agreed upon times with reasonable
  advance notice to MEL. Notwithstanding anything to the contrary herein, and for the avoidance of doubt,
  MEL’s obligations under this Section 3.3 shall not (a) limit, delay or otherwise affect MEL’s rights and remedies
  relating to any breach or failure by a KO/MEL Distributor under an applicable KO Distribution Agreement,
  (b) constitute a basis for a defense by a KO/MEL Distributor to any claim by MEL for such KO/MEL
  Distributor’s breach or failure to perform under the applicable KO Distribution Agreement therewith or
  (c) excuse, suspend or delay a KO/MEL Distributor’s obligations under an applicable KO Distribution
  Agreement.

          3.4.     Manufacturing. The Parties acknowledge and agree that it is their current mutual intention that
  they will consider in due course entering into a written agreement (with a KO Affiliate or a KO Distributor
  identified by KO) on mutually acceptable terms to provide for the manufacture of certain Products in the
  Territory. This Section 3.4 shall not be deemed to be an agreement by the Parties for such manufacture and the
  Parties shall not have any obligations with respect thereto unless and until a written agreement has been duly
  executed.

  4.         Procedures for Appointment of Distributors.

         4.1.      Designation and Identification. Without limiting the Parties’ respective obligations under the
  Transaction Agreement, to the extent permissible under applicable law and subject to Section 4.6.2:

          4.1.1. MEL and KO, subject to the penultimate sentence of Section 3.2, shall use their respective Best
  Efforts to cause New Distribution Agreements to be entered into on terms and conditions mutually agreeable
  between MEL and KO Distributors for the distribution of all Products in the Sub-Territories, pursuant to the
  following process:

                  (a)      At any time after the Effective Date of this Agreement, (i) MEL may decide to have KO
  Distributors distribute Products in any additional territory/ies in the Territory,

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  in which event MEL will deliver written notice (the “MEL Designation Notice”) to KO designating the specific
  Sub-Territory/ies in which MEL desires KO Distributors to distribute the Products and/or (ii) KO may
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  determine, in consultation with MEL, that it is economically #:5223 feasible to terminate an existing distributor in the
  Applicable Sub-Territory/ies, in which event KO will deliver written notice (the “KO Designation Notice”, and
  together with the MEL Designation Notice, the “Designation Notice”) to MEL designating such Applicable Sub-
  Territory/ies. Within seven (7) days of its receipt of the MEL Designation Notice or delivery of the KO
  Designation Notice, KO will deliver written notice (the “Identification Notice”) to MEL identifying the specific
  KO Distributors (the “Proposed Distributors”) proposed to be appointed to distribute the Products in the
  respective Sub-Territory/ies identified in the Designation Notice (subject to the last sentence of Section 3.2
  hereof) and any additional relevant information as may be in KO’s possession concerning such Proposed
  Distributor or the Sub-Territory covered by it that is reasonably requested by MEL (provided that KO shall not
  be required to deliver information that KO is obligated to keep confidential). In the event that KO fails to
  deliver an Identification Notice in accordance with this Section 4.1.1 within the prescribed period and does not
  cure such failure within seven (7) days written notice thereof, such failure shall be deemed to be a failure to
  deliver a Distribution Commitment (as defined below) with respect to the applicable Sub-Territory/ies.

                   (b)          MEL shall, within twenty-one (21) days of receipt of the Identification Notice (or
  Identification Notice amendment, as applicable), deliver to each such Proposed Distributor accepted by MEL, a
  New Distribution Agreement that provides for the applicable KO Distributor to obtain exclusive distribution
  rights for all accounts and classes of accounts in the applicable Sub-Territory/ies, except to the extent approved
  in advance in writing by KO or otherwise agreed between MEL and such Proposed Distributor, along with the
  relevant details and instructions sufficiently explaining to such Proposed Distributor the requirements relating to
  submitting a Distribution Commitment (as defined below) in accordance herewith and providing requirements
  with respect to pricing, margins and promotional contribution commitments, including equipment requirements
  (the “Commercial Requirements”). MEL shall not reject (nor refuse to accept) a KO Distributor holding the
  exclusive right to distribute (or that otherwise is the primary distributor of) “Coca-Cola” brand products in an
  applicable Sub-Territory (“Primary KO Distributor”), subject to compliance with the other provisions of this
  Section 4.1.1. MEL shall diligently and in good faith negotiate the terms of such New Distribution Agreement
  using its Best Efforts to enter into such New Distribution Agreement with such Proposed Distributor for a period
  of at least forty-five (45) days (the “Initial Negotiation Period”), subject to such modifications to such form as
  may be agreed upon in writing by MEL, the Proposed Distributor and KO. Notwithstanding anything to the
  contrary herein, and for the avoidance of doubt, MEL’s “Best Efforts” under Sections 4.1 and 4.5(c) shall not
  obligate MEL to (i) agree to any amendments to such New Distribution Agreements which MEL, in good faith,
  deems inappropriate or unacceptable in its sole and absolute discretion, (ii) enter into any such New Distribution
  Agreement with respect to any Sub-Territory in which MEL is then party to an existing Third Party Agreement
  (as defined below) that would provide economic and other material operational terms (that are not addressed
  under the terms of Exhibit A) that are materially less favorable to MEL in the aggregate than the economic and
  other material operational terms of such Third Party Agreement, or (iii) violate, or incur any material liabilities
  arising under, the Third Party Agreement or any applicable laws or regulations in the applicable

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  Sub-Territory. Exhibit I sets forth certain additional terms and conditions applicable to negotiation of New
  Distribution Agreements that constitute amendments of Existing Distribution Agreements in accordance with
  Exhibit A.

                  (c)      If the Proposed Distributor does not deliver, or refuses to deliver, to MEL a Distribution
  Commitment (as defined below) within such Initial Negotiation Period, KO shall have the right to participate or
  otherwise assist in further negotiations between MEL and such Proposed Distributor for an additional period of
  at least fifteen (15) days, and MEL shall diligently and in good faith negotiate the terms of such New
  Distribution Agreement using its Best Efforts to enter into such New Distribution Agreement with such
  Proposed Distributor during such additional fifteen (15) day period (the “Second Negotiation Period”); provided
  that MEL may reject any proposed amendments to such New Distribution Agreement in its sole and absolute
  discretion.
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                  (d)         If the Proposed Distributor fails to deliver such Distribution Commitment (as defined
  below) following the process set forth in clauses (a)-(c) above; provided that MEL used good faith efforts to
  meet and confer with the applicable KO Distributor to resolve any differences, then such failure shall be deemed
  a Distribution Refusal (as defined and provided for in Section 4.6 below). The process set forth in clauses (a)-
  (d) of this Section 4.1.1 shall be referred to herein as the “Distributor Negotiation Process”.

                  (e)         “Distribution Commitment” means (i) a duly executed New Distribution Agreement
  (including acceptance of the Commercial Requirements) in the form provided by MEL or another form
  acceptable to MEL (provided that MEL shall consider, in good faith, any reasonable requests by a Proposed
  Distributor to amend the form of Exhibit A, without any obligation on MEL to agree to any such amendment/s
  that (A) MEL determines to not be acceptable in its sole and absolute discretion, (B) with respect to any Sub-
  Territory in which MEL is then party to an existing Third Party Agreement (as defined below), would provide
  economic and other material operational terms (that are not addressed under the terms of Exhibit A) that are
  materially less favorable to MEL in the aggregate than the economic and other material operational terms of
  such Third Party Agreement (as defined below), or (C) violate, or incur any material liabilities arising under, the
  Third Party Agreement or any applicable laws or regulations in the applicable Sub-Territory), which entitles
  MEL to accept and execute such New Distribution Agreement, but only after the effective termination of any
  Third Party Agreement/s (as defined below) for the Sub-Territory/ies applicable to such New Distribution
  Agreement (provided that such entitlement to accept and execute shall be irrevocable for a period of one
  hundred twenty (120) days after MEL’s receipt thereof and, thereafter, such Proposed Distributor may revoke
  such Distribution Commitment in its sole discretion upon written notice to MEL) and, to the extent there is a
  Third Party Agreement in effect in the applicable Sub-Territory, together with (ii) a Severance Commitment (as
  defined below). MEL shall notify such Proposed Distributor if the duly executed New Distribution Agreement
  submitted by the Proposed Distributor is not in a form and substance acceptable to MEL, identifying in general
  why such New Distribution is not acceptable to MEL and in the event that MEL fails to so respond within ten
  (10) days of receipt of a duly executed New Distribution Agreement, the Proposed Distributor shall have the
  right to revoke such Distribution Commitment upon written notice to MEL. If the Proposed Distributor delivers
  the Distribution Commitment, then immediately after

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  the effective termination of any applicable Third Party Agreements (and, to the extent provided in a Severance
  Commitment, such Proposed Distributor pays any amounts agreed to be paid under the Severance Commitment)
  for the Sub-Territory/ies applicable to the applicable Distribution Commitment (or if there are no such Third
  Party Agreements, immediately upon receipt thereof), MEL shall execute such Distribution Commitment to the
  extent not previously revoked by such Proposed Distributor in accordance herewith (which thereupon shall
  constitute the applicable New Distribution Agreement), and deliver the fully executed New Distribution
  Agreement to such Proposed Distributor with a copy to KO promptly following the execution thereof. For the
  avoidance of doubt, MEL shall not approach or engage any KO Distributors without first notifying KO in
  writing.

                 4.1.2.        The provisions of this Section 4.1.2 are set forth on attached Exhibit E and are
  incorporated in this Section 4.1.2 by this reference.

                  4.1.3. In the event that there is a Third Party Agreement (as defined below) in effect in the Sub-
  Territory that is the subject of a Distributor Negotiation Process, MEL shall (a) reasonably consult with the
  Proposed KO Distributor to determine whether it would be permissible and lawful under the applicable Third
  Party Agreement and applicable law, and economically feasible for MEL and the Proposed KO Distributor for
  MEL to terminate such Third Party Agreement (as defined below), and (b) negotiate in good faith with the
  Proposed KO Distributor to attempt to reach a reasonable agreement regarding the form and substance of what
  would constitute an acceptable Severance Commitment (as defined below) under such circumstances
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  (collectively, the “Severance Discussions”). Notwithstanding #:5225          anything to the contrary herein, the Parties
  acknowledge and agree that, unless the Proposed KO Distributor and MEL reach agreement regarding the
  acceptable form and substance of the Severance Commitment for the applicable Sub-Territory pursuant to the
  Severance Discussions (or MEL otherwise accepts a Distribution Commitment for the applicable Sub-Territory
  that includes a Severance Commitment (as defined below) pursuant to the Distributor Negotiation Process),
  (i) the Proposed KO Distributor shall not be required to pay or agree to pay any such Severance Payment (as
  defined below) or other amounts to such Third Party Distributor (as defined below), and (ii) MEL shall not be
  required to terminate the applicable Third Party Agreement (as defined below) to the extent that MEL
  determines, in its sole and absolute discretion, that such termination would result in any requirement to pay a
  Severance Payment (as defined below) or other amounts to such Third Party Distributor (as defined below) for
  such termination. “Severance Commitment” shall mean a written commitment by the Proposed Distributor that
  is agreed upon by MEL and the Proposed KO Distributor pursuant to the Severance Discussions (or that MEL
  otherwise accepts as part of a Distribution Commitment for the applicable Sub-Territory pursuant to the
  Distributor Negotiation Process), providing for the Proposed KO Distributor’s irrevocable commitment to pay or
  contribute to any Severance Payments and/or any other amounts necessary to terminate the applicable Third
  Party Agreement (and which may address other issues, such as the timing and manner of any such payment or
  contribution).

         4.2.   MEL’s Rights Regarding New Distribution Agreements. Except as expressly provided in any KO
  Distribution Agreement with a KO/MEL Distributor and this Agreement (including Section 4.5(b)), nothing in
  this Agreement should be construed as granting KO

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  Distributors exclusive distribution rights for the Products or otherwise prohibiting MEL from entering or
  maintaining relationships with other distributors.

         4.3.     Acceptance. Except as expressly provided in any KO Distribution Agreement with a KO/MEL
  Distributor and this Agreement (including Section 4.1), nothing in this Agreement should be construed as
  granting KO Distributors exclusive distribution rights for the Products or otherwise prohibiting MEL from
  entering or maintaining relationships with other distributors.

           4.4.     [RESERVED]

           4.5.     Third Party Agreements.

                  (a)    As soon as practicable, but in no event later than ten (10) days, after a KO Distributor has
  delivered a Distribution Commitment with respect to an Applicable Sub-Territory/ies, MEL shall (or shall cause
  its applicable Affiliate to), including, if necessary and provided that MEL has received a Severance
  Commitment, by payment of any Severance Payment (subject to and as defined below), lawfully commence and
  implement terminating, to the extent permissible under and in accordance with its terms and applicable law, any
  existing distribution or similar agreements or arrangements with third party distributors who are not KO
  Affiliates or other KO Distributors (“Third Party Distributors”) relating to the distribution of any Products
  (“Third Party Agreements”) in the Applicable Sub-Territory/ies, to the extent such Sub-Territory/ies is/are
  covered by the Distribution Commitment. Upon the effective date of any such effective termination, MEL shall
  cease distributing Products through any such terminated Third Party Distributor and shall commence distribution
  through the applicable KO Distributor in accordance with the applicable New Distribution Agreement.
  “Severance Payment” means the quantifiable amount expressly provided for in the applicable Third Party
  Agreement that MEL is obligated to pay to the applicable Third Party Distributor under such Third Party
  Agreement for the lawful termination of such Third Party Agreement, without cause and/or for convenience, in
  accordance with its terms.

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                  (b)           except as provided in the#:5226   next sentence, or as otherwise expressly provided by this
  Agreement, MEL shall not (and shall cause its Affiliates to not) enter into any new coordination, distribution or
  similar agreements or arrangements (or otherwise amend any similar existing arrangements to grant any third
  party additional rights), relating to the distribution of any Products in the Territory or distribute Products in the
  Territory other than through KO, its Affiliates and/or the KO Distributors in accordance with this Agreement and
  the applicable KO Distribution Agreements. The foregoing shall not apply (i) to the Sub-Territories subject to
  Third Party Agreements existing as of the Effective Date that remain in effect in accordance with this
  Agreement (e.g., those that will not be and/or have not yet been terminated in accordance with
  Section 4.5(a) above), (ii) to the Sub-Territories with respect to which both (1) no KO Distribution Agreement
  has been entered into with a KO Distributor, and (2) a Distributor Negotiation Process was completed in
  accordance with this Agreement but no Distribution Commitment was provided, (iii) to the Sub-Territories with
  respect to which a KO Distributor has been terminated and a Distributor Negotiation Process was completed to
  replace such KO Distributor, but such KO Distributor was not replaced with a Primary KO Distributor, and
  (iv) to the extent otherwise expressly authorized under other Sections of this Agreement (including, for

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  clarity, Section 4.6); provided that, in no event, shall MEL (and MEL shall cause its Affiliates not to) enter into
  any agreements or arrangements (or amendment of any agreement or arrangement) that conflicts with MEL’s
  obligations or KO’s rights or benefits under this Section 4.5 (such as agreeing to amend a Third Party Agreement
  to make it not terminable by MEL or its applicable Affiliate). Notwithstanding anything to the contrary, the first
  sentence of this Section 4.5(b) shall not apply to (A) MEL directly making arrangements with “MMM” accounts
  or its functional equivalent as defined or provided in an applicable KO Distribution Agreement relating to Large
  Accounts (as defined in the applicable KO Distribution Agreement) having multiple outlets in one or more
  market/s and/or Sub-Territories in the Territory and (B) any Distributor’s Accounts (as defined in the applicable
  KO Distribution Agreement) that are expressly identified in the applicable KO Distribution Agreement as not
  exclusive to (or not served by) such KO Distributor.

                  (c)           Provided that a KO Distributor has delivered a Distribution Commitment (including
  acceptance of the Commercial Requirements) with respect to an Applicable Sub-Territory, and other than as
  expressly agreed by the Parties in writing, to the extent that any Third Party Agreements existing as of the
  Effective Date are not terminable in accordance with Section 4.5(a) above, MEL shall (and shall cause its
  applicable Affiliate to) (i) use commercially reasonable efforts (without limiting MEL’s obligation as provided in
  the last sentence of this Section 4.5(c)) to negotiate the termination of such Third Party Agreements pursuant to
  and in accordance with the terms thereof as soon as reasonably practicable following the Effective Date, and
  (ii) to the extent not prohibited by the terms thereof, not renew (other than automatic renewals or renewals by
  the Third Party Distributor as provided in an applicable Third Party Agreement) or expand such Third Party
  Agreement. Promptly upon effective termination or expiration of any Third Party Agreements or with respect to
  Products for which there is no existing Third Party Agreement or KO Distribution Agreement in the Sub-
  Territory (including the transfer of distribution rights for Products and Sub-Territories covered by the terminated
  Third Party Agreements), MEL shall use its Best Efforts to enter into a New Distribution Agreement with a
  Primary KO Distributor with respect to such Sub-Territory and Products pursuant to and in accordance with the
  Distributor Negotiation Process (mutatis mutandis) or, as otherwise may be agreed by KO, MEL and the
  applicable KO Distributor, adding such Products and Sub-Territories to Existing Distribution Agreements. In
  the event a Severance Payment or other termination fees are required to be paid by MEL under a Third Party
  Agreement or applicable law to terminate the distribution thereunder of such third party distributor with respect
  to Products in the Territory, MEL reserves the right, in accordance herewith, to require (and shall not be required
  to accept any Distribution Commitment that does not include) a Severance Commitment, including an agreement
  by the applicable KO Distributor (i.e., the Proposed Distributor intended to acquire such distribution rights upon
  termination of the Third Party Agreement) to (A) pay for the applicable Severance Payment or other amounts
  payable to such third party distributor (or a portion thereof to the extent agreed by MEL in writing) in
  connection with the termination of its applicable Third Party Agreement, or (B) permit MEL to delay the
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  execution of the Distribution Commitment until such          #:5227Third Party Agreement expires or can be terminated
  pursuant to its terms without a Severance Payment or other amounts payable to such Third Party Distributor,
  unless the Parties otherwise agree in writing that such agreement will not be required in such instance, it being
  understood and agreed that MEL shall reasonably cooperate with such KO Distributor in good faith with a view
  towards mitigating any such Severance

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  Payment and other required amounts to the extent any such Severance Payments or other amounts are required
  under any applicable Third Party Agreement and applicable laws.

           4.6.     Distribution Refusal.

                  4.6.1. If, after the Distributor Negotiation Process provided for in Section 4.1 above, including
  MEL’s good faith effort to meet and confer with the applicable Distributor to resolve any differences, (a) a
  Proposed Distributor fails to deliver a Distribution Commitment or, in breach of its agreement with MEL, a
  KO/MEL Distributor, at any time thereafter, otherwise refuses to distribute or to continue to distribute
  substantially all Monster Energy Drink/s, as the case may be, designated by MEL in good faith for sale in the
  Applicable Sub-Territory, (b) KO has not provided consent (to the extent required) to such KO Distributor to
  distribute substantially all Monster Energy Drink/s, as the case may be, designated by MEL in good faith for sale
  in the Applicable Sub-Territory, (c) KO has not provided consent (to the extent required) to an applicable KO
  Distributor to distribute substantially all Other Monster Drinks or Other Products included in the Products, as the
  case may be, designated by MEL in good faith for sale in the applicable Sub-Territory or (d) KO has provided
  such consent to such KO Distributor’s distribution of Other Monster Drinks or Other Products but such KO
  Distributor refuses to distribute or to continue to distribute substantially all such Other Monster Drinks or Other
  Products, as the case may be (each, as to such category of Monster Energy Drinks, Other Monster Drinks or
  Other Products subject to such refusal, a “Distribution Refusal”), MEL shall have the right, subject to
  Section 4.6.5, to market, distribute and sell, and/or to continue to market, distribute and sell, directly or through
  a third party distributor, to the exclusion of KO or such KO/MEL Distributor, as the case may be, all or
  substantially all of the Product SKUs (including the declined Products), of such applicable category of Products
  subject to such Distribution Refusal (i.e., Monster Energy Drinks, Other Monster Drinks or Other Products, as
  the case may be), so designated for sale by MEL in the Applicable Sub-Territory, upon forty-five (45) days
  written notice to KO (with a copy to the Chief Executive Officer and Chief Financial Officer of KO) of its
  intention to do so; provided that such Distribution Refusal continues to exist after such forty-five (45) day
  period. In such event, the KO Distribution Agreement with such KO/MEL Distributor may be terminated by the
  KO/MEL Distributor if substantially all of the Products under such KO Distribution Agreement are distributed
  to the exclusion of such KO/MEL Distributor. MEL’s rights to enter into agreements with other distributor/s
  (including Third Party Distributors) or otherwise market, distribute and sell Products or Monster Energy Drink/s,
  as the case may be, shall be limited to the Applicable Sub-Territories for which such Distribution Refusal
  applies.

                  4.6.2. KO hereby irrevocably grants MEL approval in advance for the distribution by KO/MEL
  Distributors (subject to the last sentence of Section 3.2) of any and all Monster Energy Drink/s during the Term
  (a) in ready to drink form, and (b) such other form(s), unless KO determines such other forms are not
  operationally or logistically viable for KO Distributors with respect to the distribution and related activities by
  KO Distributors as contemplated hereunder and under the KO Distribution Agreements, (provided that, for
  clarity, refusal to distribute or provide consent to any such non-viable non-ready-to-drink form of Monster
  Energy Products or of any Other Monster Drink or Other Product shall constitute “Refused New Products” (as
  defined below), with respect to Section 4.6.2 and 4.6.3). At any

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  reasonable time prior to launching or otherwise commencing the sale or other distribution of any product SKUs
  of Other Monster Drink/s or Other Products that MEL or any of its Affiliates may determine to sell or otherwise
  distribute after the Effective Date (each a “New Product SKUs”), MEL shall offer (i) KO the option to include
  such New Product SKUs as Products under this Agreement, and (ii) KO/MEL Distributors the right to distribute
  New Product SKUs, subject to the terms of the applicable KO Distribution Agreement, and where permissible
  under applicable law, subject to KO’s prior written approval of distribution by such KO Distributors of such
  New Product SKUs. Without prejudice to MEL’s rights under Section 4.6.1 above, to the extent that KO or the
  applicable KO/MEL Distributor refuses to approve of adding New Product SKUs or any product SKUs of
  Monster Energy Products (collectively “Refused New Product/s”) to a KO/MEL Distributor’s KO Distribution
  Agreement within fifteen (15) days of MEL’s request that New Product SKUs be added, MEL shall have the
  right, subject to Section 4.6.3 below, to sell, have sold or otherwise distribute in the applicable Sub-Territory,
  such Refused New Products (but not, subject to Section 4.6.1 above for clarity, any other Products or New
  Product SKUs) to the exclusion of such KO/MEL Distributors, through other distributors selected by MEL, after
  an additional fifteen (15) days written notice to KO of its intention to do so and KO and/or the applicable
  KO/MEL Distributor, as the case may be, do not provide such approval prior to expiration of such fifteen (15)
  day period. MEL’s right to sell, have sold, or otherwise distribute such Refused New Products/New Product
  SKUs pursuant to this Section 4.6.2 shall be limited to the Sub-Territories for which such approval has not been
  granted.

                  4.6.3. MEL may, in its sole and absolute discretion, offer KO/MEL Distributors the right to
  distribute any Refused New Products on such terms as MEL may determine in its sole and absolute discretion.
  Without limiting the foregoing, prior to launching or otherwise commencing the sale, commercialization or other
  distribution of any Refused New Products or entering into any contract or arrangement with respect to the
  acquisition, directly or indirectly, of any ownership interest in, or the management or control of, any business or
  assets relating to any Refused New Products, MEL shall notify KO in writing of its intention to do so and the
  Parties shall discuss in good faith potential business relationships or other commercial opportunities relating to
  the commercialization of such Refused New Products (on mutually agreeable terms), with the joint goal of
  promoting each Party’s focus on its core business and alignment between them and their respective product
  offerings, for a period of thirty (30) days or such longer period agreed upon by the Parties.

                  4.6.4. Except for Monster Energy Drinks and products distributed pursuant to the Concurrent
  Agreement (as defined below) or the KO Legacy Brands Coordination Agreements (as defined below), MEL
  shall not permit any KO Distributors to distribute any products that do not fall within the definition of the
  “Products” or that KO has not approved in advance in writing in accordance with this Section 4.6 (unless KO is
  prohibited under applicable law from disapproving of such distribution). For the avoidance of doubt, any KO
  Distributor shall have the right to appoint one or more sub-distributors and enter into sub-distribution
  agreement/s therewith with respect to their Sub-Territory/ies subject to the applicable provisions of the New
  Distribution Agreements relating to sub-distributors. The “KO Legacy Brands Coordination Agreements” mean,
  collectively, the Distribution Coordination Agreement For Crown-Transferred Energy Products dated June 12,
  2015 between KO and MEC and the International

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  Distribution Coordination Agreement For Crown-Transferred Energy Products dated June 12, 2015 between KO
  and MEL and MEC.

                4.6.5. In the event of any Distribution Refusal, subject to Section 4.6.3, MEL shall only have the
  right to market, distribute and sell the applicable Product SKUs in the applicable Sub-Territory through any
  Third Party Distributor pursuant to a written distribution agreement; provided that if the Commercial
  Requirements terms offered to any Third Party Distributor are substantially more favorable to such Third Party
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  Distributor than the Commercial Requirements that were      #:5229offered to a Proposed Distributor during the Distributor
  Negotiation Process, then MEL shall first provide such Proposed Distributor in writing the right, for a period of
  four (4) Business Days (as defined in Section 14(a) below) from written notice by MEL (prominently noting to
  such Proposed Distributor that such offer expires at the end of such period, with a copy to KO of such offer), to
  enter into a New Distribution Agreement based on the Commercial Requirements offered to such Third Party
  Distributor. Upon the expiration of such four (4) Business Day period, MEL shall be entitled to enter into a
  distribution agreement with the applicable Third Party Distributor in accordance herewith.

         4.7.     Equipment. In each Sub-Territory in which a KO/MEL Distributor distributes Monster Energy
  Drink/s, KO shall consent to and authorize KO/MEL Distributors, and use reasonable efforts to the extent within
  KO’s reasonable control, *** that exists as of the Effective Date and from time to time during the Term of this
  Agreement, but solely to the extent (and in the form and manner) reasonably agreed to by the Parties on a
  market-by-market basis, subject to and taking into account regional, local market and financial considerations
  and other relevant factors, which shall in any event be ***.

          4.8.      KO Distributors; Distribution Agreements. Exhibit Z sets forth certain additional terms and
  conditions applicable to expiration or termination of a KO Bottler Agreement. In the event that any Primary KO
  Distributor is willing to distribute the Products on the terms of the KO Distribution Agreement then in effect,
  MEL shall not have the right to withhold its agreement to such Primary KO Distributor distributing the Products
  on such terms (i.e., such agreement shall be deemed to be a Distribution Commitment). MEL hereby approves in
  advance any whole or partial transfer in the rights of KO Distributors effected or otherwise approved by KO,
  whether pursuant to the KO Bottler Agreement or otherwise, that results from, arises out of or relates to (a) the
  transfer of one or more Sub-Territories from one KO Distributor to a Primary KO Distributor, (b) the acquisition
  and divestiture of ownership or control of KO Distributors, either by or from KO or other KO Distributors,
  pursuant to a plan adopted by KO, or (c) any activities substantially identical to the foregoing. KO (or any
  Primary KO Distributors) shall not be required to seek further approval from or make any payment to MEL or
  any of its Affiliates with respect to such change. MEL’s approval pursuant to this Section 4.8 shall constitute
  prior written approval under this Agreement (and any applicable KO Distribution Agreement), provided that
  such approval does not result in or require MEL to pay a Severance Payment or

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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  other amounts or to extend other economic incentives, unless KO agrees to reimburse MEL therefor.

            4.9.    Performance.

                   4.9.1. During the Term, MEL shall have primary responsibility for the overall global branding
  and positioning of the Products, as well as brand and image marketing for the Products, in such form and manner
  and of such nature and to such extent as may be determined by MEL in its sole and absolute discretion from time
  to time (“Global Branding and Marketing”). KO acknowledges and agrees that MEL makes no express or
  implied warranty, representation or covenant relating to or in connection with any Global Branding and
  Marketing activities, including without limitation, the value, performance, extent, effectiveness, quantity,
  quality, success or results of any such activities or the lack thereof. For clarity, KO shall not have any claim
  against MEL and hereby releases MEL from all and any claims by, and liability to, KO of any nature arising
  from or relating to or in connection with (a) MEL’s failure to procure, provide or perform any Global Branding
  and Marketing activities or (b) the value, extent, effectiveness, quantity, quality, success or results of any such
  activities or the lack thereof.



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                  4.9.2. To the extent permissible under         #:5230applicable law and to the extent available to KO, if a
  general product distribution tracking system is utilized by KO, MEL and KO will use their respective Best
  Efforts to require each KO/MEL Distributor to assign a KO-provided (or manufacturer-provided, as the case
  may be) tracking number to each Product and Product package (or such other actions as KO may reasonably
  request in the future) to allow for tracking of inventory and sales information by any sales data collection system
  then in use generally by KO and the KO Distributors, and as required under Section 3(p) of the New Distribution
  Agreement (Exhibit A) or any corollary provision in any KO Distribution Agreement.

                 4.9.3. During the Term, KO shall work with and reasonably assist MEL where reasonably
  feasible in obtaining (at MEL’s expense) all import licenses and governmental approvals which may be
  necessary to permit the sale of Products in the Territory and which have not been obtained by MEL prior to the
  Effective Date, and provide reasonable assistance to MEL for the renewal of any licenses or approvals which
  have been obtained as of the Effective Date. KO’s obligations under this Section 4.9.3 shall not require KO to
  incur any out-of-pocket expenses or other costs other than the time reasonably spent by KO personnel to comply
  with the terms of this Section 4.9.3.

  5.       Commissions.

          5.1     Commissions Payable by MEL. The Parties acknowledge and agree that all Commissions due to
  KO under the Original Agreement for the period ended prior to the Effective Date have been paid or otherwise
  satisfied and neither Party owes the other any amounts therefor under the Original Agreement. In exchange for
  KO’s performance of its obligations under this Agreement, including the provision of services under this
  Agreement by KO to MEL or its Affiliates, as applicable, MEL, or (subject to the penultimate sentence of this
  Section 5.1) such Affiliate of MEL as MEL designates by written notice to KO, will pay KO a commission (the
  “Commission”) for each region in the Territory set forth in Exhibit D-1 (each, a

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  “Region”) equal to the greater of, on a Region-by-Region basis: (x) *** of the Net Profit on the Incremental Net
  Sales (as defined below) in such Region after the Effective Date, and (y) *** per *** included in the Incremental
  Net Sales in such Region after the Effective Date; provided, that KO agrees that no Commission shall be payable
  by MEL with respect to the direct sale of any Products by MEL to any MMM Account (as defined in an
  applicable KO Distribution Agreement) or outlet of an MMM Account. The Commission will be payable
  monthly in arrears within forty-five (45) days of the end of each month commencing on the Effective Date based
  on MEL’s good faith estimate of the Incremental Net Sales and the Net Profit thereon on a Region-by-Region
  basis, and shall be reconciled to reflect actual Incremental Net Sales and the Net Profit thereon for each calendar
  quarter within sixty (60) days of the end of such calendar quarter. For the avoidance of doubt, the computation
  of the Commission set forth in the preceding sentence is subject to the Maximum Annual Commission
  calculation set forth below, as applicable. MEL shall have the right to designate, by written notice to KO, an
  Affiliate to make payment of the Commission hereunder to KO; provided that such designation and payment
  shall not have any adverse consequence to KO or any amounts payable to KO hereunder, including any
  applicable taxes (including sales, use, value added and excise taxes, or similar taxes, specifically including
  withholding taxes), customs, duties, assessments, excises, registration fees, surtax, stamp duties, insurance, or
  any other charges (or any penalties, interest and reasonable expenses arising therefrom or with respect thereto).
  Notwithstanding anything to the contrary herein, the Parties acknowledge and agree that the maximum amount
  of all Commissions payable hereunder (less any rebates, contributions or reimbursements to MEL or its
  Affiliates with respect thereto) in the aggregate for all months in any calendar year (the “Annual Commission
  Payment”) shall not exceed the total amount of *** per *** included in the Incremental Net Sales in the
  aggregate in the Territory in such year (the “Maximum Annual Commission”), and accordingly, in the event the
  Commission payable hereunder with respect to December of any year would cause the Annual Commission
  Payment to exceed the Maximum Annual Commission for such year, such Commission payment shall be

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  reduced to the extent necessary to cause the Annual        #:5231
                                                                  Commission Payment to equal the Maximum Annual
  Commission for such year.

          “Base Volume” means the number of actual cases of Products sold by MEL or any of its Affiliates to all
  prior distributors in the applicable territory/ies, on a Region-by-Region basis, during the twelve (12) month
  period ending the last day of the month immediately preceding the effective dates of each applicable KO
  Distribution Agreement, which amount shall be agreed to by the Parties and shall be attached to this Agreement
  as Exhibit D-2, and which shall be increased from time to time as appropriate in order to reflect reflect (i) the
  number of actual cases of Products sold by MEL or any of its Affiliates to Third Party Distributors, in any
  additional territory/ies, on a Region-by-Region basis, that may be added to this Agreement subsequent to the
  Effective Date, during the twelve (12) month period ending the last day of the month immediately preceding the
  effective dates of each applicable New Distribution Agreement, and (ii) the number of actual cases of Products
  sold by MEL or any of its Affiliates to customers or to accounts serviced by MEL or any of its Affiliates
  directly, that


  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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  begin to be sold by a KO/MEL Distributor to such customers or accounts serviced by a KO/MEL Distributor
  directly, during the twelve (12) month period ending the last day of the month immediately preceding the date on
  which such customers or accounts begin to be sold to or serviced by a KO/MEL Distributor directly, which
  amounts described in subclause (i) and (ii) shall be agreed to by the Parties from time to time.

          “Incremental Net Sales” for a particular period means that portion of the Net Sales (as defined below) of
  each of the Products sold by MEL or any of its Affiliates to KO/MEL Distributors during each calendar year
  (prorated for any period less than a calendar year) that exceeds the Base Volume during such calendar year
  (prorated for any period less than a calendar year) (i.e., the excess only). For the purpose of determining the
  applicable Incremental Net Sales, any Net Sales to Coca-Cola Enterprises prior to the Effective Date shall not be
  included in the Base Volume (i.e., all Net Sales to Coca-Cola Enterprises from and after the Effective Date shall
  be included in Incremental Net Sales).

          “Net Sales” for any applicable period means the gross amount invoiced for all sales by MEL or any of its
  Affiliates to KO/MEL Distributors in each Region in the Territory, on a Region-by-Region basis, of each of the
  Products for the applicable period, less deductions specified in and calculated in accordance with Section 1 of
  Exhibit D-3, which deductions shall be reported by MEL to KO by written notice in the form of Section 1 of
  Exhibit D-3 on a monthly basis within forty-five (45) days of the end of each month commencing the Effective
  Date. Such deductions are not exhaustive and may be supplemented by any applicable deductions or expenses
  permissible in accordance with US GAAP, excluding unallocated corporate overheads.

         “Net Profit” for any applicable period means the Net Sales for all sales by MEL or any of its Affiliates to
  KO/MEL Distributors in each Region in the Territory, on a Region-by-Region basis, of each of the Products for
  the applicable period, less such deductions specified in and calculated in accordance with Section 2 of
  Exhibit D-3, which deductions shall be reported by MEL to KO by written notice in the form of Section 2 of
  Exhibit D-3 on a monthly basis within forty-five (45) days of the end of each month commencing the Effective
  Date.

          5.2     Acknowledgement. For the avoidance of doubt, the Parties hereby acknowledge and agree that
  (a) no Commission shall be payable with respect to the Net Sales of Pre-Coordination Distributors except in
  relation to New Distribution Agreements in substantially the form of the attached Exhibit A, that are entered into
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  between Pre-Coordination Distributors and MEL pursuant      #:5232to this Agreement, subject to such modifications as
  may be agreed upon in writing by MEL, KO (to the extent required under Section 7.2 below) and the applicable
  Pre-Coordination Distributor, (b) no Commission shall be payable by MEL with respect to the direct sale of any
  Products by MEL to any MMM Account (as defined in an applicable KO Distribution Agreement) or outlet of
  an MMM Account, and (c) notwithstanding anything to the contrary herein, KO shall have no obligations
  hereunder (including under Section 3.2) or be subject to any liability or claims for breach hereof with respect to
  any Pre-Coordination Agreements (or Pre-Coordination Distributors that are not parties to such New
  Distribution Agreements or amendments).

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          5.3       Excluded Liabilities. Except as contemplated by Section 21.1 of this Agreement, KO shall not
  assume pursuant to the terms of this Agreement any of MEL’s debts, liabilities or obligations whatsoever,
  whether accrued, absolute, contingent, known, unknown or otherwise; any accounts payable; or any damages,
  losses, liabilities, claims, charges, actions, suits, proceedings, deficiencies, taxes, interest, penalties, or costs and
  expenses arising from or relating to claims asserted by any third party or Governmental Entity (as defined
  below) regarding the Products.

  6.       Confidentiality.

          6.1.    “Confidentiality” Definition. As used herein, “Confidential Information” means any information,
  observation, data, written material, records, documents, computer programs, software, firmware, inventions,
  discoveries, improvements, developments, designs, promotional ideas, customer lists, suppliers lists, financial
  statements, practices, processes, formulae, methods, techniques, trade secrets, products and/or research, in each
  such case, of or related to a Party’s products, organization, business and/or finances; provided, however, that
  Confidential Information shall not include any information which (a) is in the public domain except through any
  intentional or negligent act or omission of the non-disclosing Party (or any agent, employee, shareholder,
  director, officer, or independent contractor of or retained by such other Party or any of its Affiliates, (b) can be
  shown by clear and convincing tangible evidence to have been in the possession of the non-disclosing Party
  prior to disclosure by the disclosing Party, (c) is legally and properly provided to the non-disclosing Party
  without restriction by an independent third party that is under no obligation of confidentiality to the disclosing
  Party and that did not obtain such information in any illegal or improper manner or otherwise in violation of any
  agreement with the disclosing Party, (d) is disclosed without any restrictions of any kind by the disclosing Party
  to third parties on a regular basis without any measures being taken, whether explicitly or implicitly, by the
  disclosing Party to protect the confidentiality of such information, or (e) is independently generated by any
  employee or independent contractor of or retained by the non-disclosing Party, and such employee or
  independent contractor has no knowledge of any of the Confidential Information.

          6.2.     Non-Disclosure Obligations. It is contemplated that in the course of the performance of this
  Agreement each Party may, from time to time, disclose its Confidential Information to the other, as well as to
  KO/MEL Distributors. Each Party agrees that any such Confidential Information (a) will be used solely as
  provided by the terms and conditions of this Agreement, (b) is intended solely for the information and assistance
  of the other Party and/or the KO/MEL Distributors in the performance of such Party’s obligations or exercise of
  such Party’s rights under this Agreement and is not to be otherwise disclosed, (c) may be disclosed by either
  Party to its professional advisers for the purposes of taking professional advice, subject to appropriate
  obligations of professional confidentiality, and (d) may be disclosed as required by applicable law or an order by
  a Governmental Entity or any requirements of stock market or exchange or other regulatory body having
  competent jurisdiction; provided, except where prohibited by law, the recipient will give the disclosing Party
  reasonable advance notice of such required disclosure, and will reasonably cooperate with the disclosing Party,
  in order to allow the disclosing Party an opportunity to oppose, or limit the disclosure of the Confidential
  Information or otherwise secure confidential treatment of the Confidential Information required to be

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  disclosed; provided, further, that if disclosure is ultimately required, the recipient will furnish only that portion
  of the Confidential Information which, based upon advice of legal counsel, the recipient is required to disclose in
  compliance with any such requirement. Each Party will use its Best Efforts to protect the confidentiality of the
  other Party’s Confidential Information, which efforts shall be at least as extensive as the measures such Party
  uses to protect its own similar Confidential Information.

          6.3.     Injunctive Relief. Each Party acknowledges that the other Party will suffer irreparable harm if
  such Party breaches any of the provisions regarding confidentiality set forth in this Section 6 and that monetary
  damages will be inadequate to compensate the other Party for such breach. Therefore, if a Party (or any agent,
  employee, shareholder, director, officer, or independent contractor of or retained by such other Party or any of its
  Affiliates) breaches any of such provisions, then the other Party shall be entitled to seek injunctive relief without
  bond (in addition to any other remedies at law or equity) to enforce such provisions.

  7.       Distribution Agreements and Amendments.

           7.1      [RESERVED]

           7.2     KO’s consent shall not be required to amend, modify, add or delete any provision of any KO
  Distribution Agreement (or the terms attached as Exhibit A with respect to any New Distribution Agreement
  proposed by MEL pursuant to the Distributor Negotiation Process) except with respect to an amendment,
  modification, addition or deletion (a) that would reasonably be expected to materially impact KO’s rights or
  benefits under such KO Distribution Agreement or this Agreement, or (b) to any of the following terms (or
  otherwise materially affecting such terms): definition of Products (to the extent KO has consent rights with
  respect thereto under Section 4.6 of this Agreement), term, termination, deadlock procedures, placement in
  branded refrigerated equipment, distributor’s exclusivity, distribution refusal, competing products or other non-
  competition, and amendment. KO shall not unreasonably withhold or delay its approval of any amendment,
  modification, addition or deletion of any KO Distribution Agreement (or the terms attached as Exhibit A with
  respect to any New Distribution Agreement proposed by MEL pursuant to the Distributor Negotiation Process)
  that is sought by MEL and is acceptable to such KO Distributor. KO’s approval shall be deemed to have been
  granted if KO does not respond within fourteen (14) Business Days of receipt of MEL’s written request;
  provided that such written request prominently states that failure to respond by such date will be deemed
  approval by KO.

  8.         Competitive Product/s. The provisions of this Section 8 are set forth on attached Exhibit H and
  incorporated in this Section 8 by this reference.

  9.       Termination of Distribution Agreement/s.

         9.1     KO Right to Cure. In the event of any breach or default by a KO/MEL Distributor under its KO
  Distribution Agreement with MEL or any other occurrence that would give rise to MEL’s right to terminate such
  Distribution Agreement, MEL will give KO written notice of such breach, default or occurrence at the same time
  as MEL delivers notice of such breach, default or occurrence to such KO/MEL Distributor, and KO shall have
  the same

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  opportunity to cure such breach, default, or occurrence as is provided to the KO/MEL Distributor under the KO
  Distribution Agreement, if any, but only to the extent capable of being cured by KO. If the KO/MEL Distributor
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  and KO fail to cure the breach, default, or occurrence         #:5234 within the applicable cure period, if any, MEL may
  terminate such KO Distribution Agreement pursuant to and in accordance with its terms and seek any remedies
  available under such KO Distribution Agreement or applicable law, in its sole and absolute discretion. KO will
  not, and will not directly or indirectly participate in or assist any KO/MEL Distributor (other than any wholly-
  owned direct or indirect subsidiary of KO (e.g., CCR)) to, challenge any right or remedy MEL invokes against
  such KO/MEL Distributor under any KO Distribution Agreement, except to the extent that such challenge may
  relate to a breach by MEL or KO of its obligations under this Agreement or is reasonably necessary for KO to
  prevent a material impairment of its rights under this Agreement. MEL agrees that (a) KO is not obligated,
  directly or indirectly, in any way under any of the KO Distribution Agreements, (b) KO has not expressly or
  implicitly agreed to guarantee the performance of any KO/MEL Distributor under its respective KO Distribution
  Agreement with MEL, and (c) MEL will not take any action against KO to enforce a KO/MEL Distributor’s
  obligation/s under its KO Distribution Agreement with MEL.

  10.     Term. Unless terminated by either Party pursuant to the terms of this Agreement, the initial term of this
  Agreement shall commence on the Effective Date and shall end on the fifth (5th) anniversary of the Effective
  Date (the “Initial Term”). After the Initial Term, this Agreement may be renewed for up to three (3) successive
  five (5)-year terms (“Additional Term/s”) if either Party gives written notice to the other at least one hundred
  twenty (120) days prior to the end of the Initial Term or applicable Additional Term, as the case may be, of its
  intention to renew the Agreement for an Additional Term. After such Initial Term and Additional Terms, this
  Agreement shall, subject to being terminated by either Party pursuant to the terms of this Agreement, continue
  and remain in effect for as long as any KO/MEL Distributor continues to distribute some or all of the Products
  pursuant to the terms of a KO Distribution Agreement. The Initial Term and any Additional Terms are referred
  to collectively as the “Term.”

  11.     Termination By Either Party. Without prejudice to its other rights and remedies under this Agreement
  and those rights and remedies otherwise available in equity or at law, either Party may terminate this Agreement
  on the occurrence of one or more of the following:

           11.1. Material Breach. The other Party’s material breach of a provision of this Agreement and failure
  to cure such breach within forty-five (45) days after receiving written notice describing such material breach in
  reasonable detail from the non-breaching Party; provided, however, if such breach is of a nature that it cannot
  reasonably be cured within forty-five (45) days, then the breaching Party shall have an additional forty-five (45)
  day period to cure such breach, providing it immediately commences, and thereafter diligently uses, in good
  faith, its Best Efforts to cure such breach. For the avoidance of doubt, any material breach of Section 8 hereof
  shall constitute a material breach of this Agreement for purposes of this Section 11.1.

          11.2. Insolvency. The other Party: (a) makes any general arrangement or assignment for the benefit of
  creditors; (b) becomes bankrupt, insolvent or a “debtor” as defined in 11 U.S.C. Section 101 or any successor
  statute (unless such petition is dismissed within sixty (60) days

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  after its original filing); (c) has appointed a trustee or receiver to take possession of substantially all of such
  Party’s assets or interest in this Agreement (unless possession is restored to such Party within sixty (60) days
  after such taking); or (d) has substantially all of such Party’s assets or interest in this Agreement (unless such
  attachment, execution or judicial seizure is discharged within sixty (60) days after such attachment, execution or
  judicial seizure) attached, executed, or judicially seized.

           11.3. Agreement. Mutual written agreement of the Parties.

           11.4. Termination of Related Agreements.

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                  11.4.1. If the Concurrent Agreement#:5235        (as defined below) is terminated by MEC pursuant to
  Section 12.1 thereof as a result of a breach by KO, then MEL shall have the option to terminate this Agreement
  upon ninety (90) days written notice to KO, which option may be exercised within one hundred twenty (120)
  days of the occurrence of such termination by written notice by MEC to KO. Any such termination shall be
  effective ninety (90) days after KO’s receipt of MEL’s written notice of termination, and MEL shall not be liable
  to KO or otherwise obligated to pay to KO any Termination Fee (as defined below) or other amount by reason of
  such termination for compensation, reimbursement or damages of whatsoever nature including, for (a) loss of
  prospective compensation or earnings, (b) goodwill or loss thereof, or (c) expenditures, investments, leases or
  any type of commitment made in connection with the business of KO or in reliance on the existence of this
  Agreement. MEL’s right to terminate this Agreement under this Section 11.4.1 shall be independent of any other
  rights or remedies of MEL under this Agreement. The “Concurrent Agreement” means the Amended and
  Restated Monster Energy Distribution Coordination Agreement dated concurrently herewith between KO and
  MEC.

                  11.4.2. If the Concurrent Agreement is terminated by KO pursuant to Section 12.1 thereof as a
  result of MEC’s breach, then KO shall have the option to terminate this Agreement upon ninety (90) days
  written notice to MEL, which option may be exercised within one hundred twenty (120) days of the occurrence
  of such termination by written notice by KO to MEC. Any such termination shall be effective ninety (90) days
  after MEL’s receipt of KO’s written notice of termination, and KO shall not be liable to MEL or otherwise
  obligated to pay to MEL any Termination Fee (as defined below) or other amount by reason of such termination
  for compensation, reimbursement, or damages of whatsoever nature including, for (a) loss of prospective
  compensation or earnings, (b) goodwill or loss thereof, or (c) expenditures, investments, leases or any type of
  commitment made in connection with the business of MEL or in reliance on the existence of this Agreement.
  KO’s right to terminate this Agreement under this Section 11.4.2 shall be independent of any other rights or
  remedies of KO under this Agreement.

  12.      Change of Control.

         12.1. Definitions. The following definitions apply to this Section 12 and wherever else they are used in
  this Agreement. Any terms not defined herein shall have the meaning set forth in the Transaction Agreement.

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                 12.1.1. “MEC Change of Control” means a Change of Control (as defined below), whether
  directly or indirectly, by or with respect to MEC or its Parent, including any Change of Control described in
  clauses (a)-(c) of Section 12.1.2 below that occurs during the period commencing on execution of the
  Transaction Agreement and ending on the Effective Date of this Agreement (as defined in the Transaction
  Agreement) (a “Pre-Closing MEC Change of Control”).

                    12.1.2. “Change of Control” means, with respect to a Person, directly or indirectly:

                   a.        a consolidation, merger or similar business combination involving such Person in which
           the holders of voting securities of such Person immediately prior thereto are not the holders of a majority
           in interest of the voting securities of the surviving Person in such transaction,

                   b.       a sale, lease or conveyance of all or substantially all of the consolidated assets, or of fifty
           percent (50%) or more of the outstanding voting securities, of such Person in one transaction or a series
           of related transactions, or

                 c.          any Person or group becomes the Beneficial Owner (as defined in the Transaction
           Agreement) of fifty percent (50%) or more of the outstanding voting securities of such Person.

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                 12.1.3. “Governmental Entity” means#:5236       any (a) nation, state, county, city, town, village, district, or
  other jurisdiction of any nature, (b) federal, state, local, municipal, foreign, or other government,
  (c) governmental or quasi-governmental authority of any nature (including any governmental agency, branch,
  department, official, or entity and any court or other tribunal), or (d) body exercising, or entitled to exercise, any
  administrative, executive, judicial, legislative, police, regulatory, or taxing authority or power of any nature.

                  12.1.4. “Parent” means (a) with respect to any corporation, limited liability company, association
  or similar organization or entity, any Person (whether directly, through one or more of its direct or indirect
  Subsidiaries) owning more than fifty percent (50%) of the issued and outstanding Voting Interests of such
  corporation, limited liability company, association or similar organization or entity and (b) with respect to any
  partnership, any Person (whether directly or through one of its direct or indirect Affiliates) owning more than
  fifty percent (50%) of the issued and outstanding general and/or limited partnership interests.

                12.1.5. “Person” means an individual or firm, corporation, partnership, trust, incorporated or
  unincorporated association, joint venture, limited liability company, joint stock company, government (or an
  agency or subdivision thereof) or other entity of any kind.

                 12.1.6. “Subsidiary” means, with respect to any Person, any corporation, limited liability
  company, partnership, association or other organization or entity of which more than fifty percent (50%) of the
  issued and outstanding Voting Interests or, in the case of a partnership, more than fifty percent (50%) of the
  general partnership interests, is at the time owned by such Person (whether directly, through one or more of such
  Person’s direct or indirect Subsidiaries).

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                12.1.7. “Voting Interest” means equity interests in any entity of any class or classes (however
  designated) having ordinary voting power for the election of members of the governing body of such entity.

          12.2. Notice of Change of Control. As soon as is reasonably practical after the occurrence of an MEC
  Change of Control, but in no event later than sixty (60) days thereafter, MEL shall deliver written notice to KO
  that (a) states that an MEC Change of Control has occurred with respect to MEC or its Parent, (b) states the date
  that the MEC Change of Control was consummated, if known, and (c) identifies the Person/s who were
  counterparties to such Change of Control (the “Change of Control Notice”). “Termination Start Date” means
  (i) with respect to KO as the Terminating Party (as defined below), KO’s receipt of a Change of Control Notice
  (or the Effective Date with respect to any Pre-Closing MEC Change of Control), or (ii) with respect to MEL as
  the Terminating Party (as defined below), the occurrence of such Change of Control (or the Effective Date with
  respect to any Pre-Closing MEC Change of Control).

         12.3. Termination on Change of Control. Within sixty (60) days of the applicable Termination Start
  Date, either Party may terminate this Agreement (“Terminating Party”) upon written notice to the other Party
  (“Non-Terminating Party”) effective upon completion of such MEC Change of Control or, if later, receipt of
  such written notice by the Non-Terminating Party in accordance herewith; provided that it (or its Affiliate that is
  a party to the Concurrent Agreement) simultaneously provides written notice of termination under the
  Concurrent Agreement for such MEC Change of Control. In the event (a) KO is the Terminating Party and the
  MEC Change of Control involves Person/s that is/are a KO Competitor or (b) MEL is the Terminating Party,
  MEL shall be required to pay KO the COC Termination Fee (as defined in Section 13.3 of the Concurrent
  Agreement) under the Concurrent Agreement, as liquidated damages and not as a penalty. The Parties
  acknowledge and agree that the payment by MEL to KO of the COC Termination Fee in the event of clauses
  (a) and (b) above shall be the sole amount payable by MEL to KO and KO’s exclusive remedy under this
  Agreement and the Concurrent Agreement for such termination to the extent terminated in accordance therewith
  and in such instance MEL shall not be liable to KO hereunder for the payment of any Severance Payment,
  Termination Fee (as defined below) or Partial Termination Fee (as defined below) therefor. The parties
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  acknowledge and agree that (i) the agreements in #:5237        this Section 12.3 are an integral part of the transactions
  contemplated by this Agreement, (ii) the amount of actual damages sustained by KO in such event would be
  extremely difficult or impossible to calculate, (iii) the COC Termination Fee constitutes a reasonable amount for
  liquidated damages in such event, and (iv) the COC Termination Fee shall not in any event be construed as a
  penalty. Such termination shall be effective upon the completion of such MEC Change of Control. For the
  avoidance of doubt, (A) MEL shall only be required to pay to KO a single COC Termination Fee for termination
  of this Agreement and the Concurrent Agreement upon an MEC Change of Control, and (B) MEL shall have the
  sole responsibility for any fees due to KO Distributors under applicable KO Distribution Agreements in such
  event. In the event that neither Party terminates this Agreement for such MEC Change of Control, MEL
  acknowledges and agrees that it shall not (and shall cause its applicable Affiliates not to), and it and its
  applicable Affiliates shall not have the right to (notwithstanding the provisions of the applicable KO Distribution
  Agreements), terminate any KO Distribution Agreement pursuant to Section 12(a)(ii)(B) of the

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  New Distribution Agreement (Exhibit A) or any corollary provision in any KO Distribution Agreement, unless
  approved in advance in writing by KO.

           12.4          Effect of Notice Termination. Upon delivery of any written notice of termination of this
  Agreement in accordance with the terms of this Agreement, including for a MEC Change of Control, the
  restrictions in Section 8 hereof and any competing products or other non-competition provision under the KO
  Distribution Agreements, this Agreement or the Concurrent Agreement, as well as, for the avoidance of doubt,
  Section 8.14 of the Transaction Agreement, shall no longer be binding upon KO, MEL or any of their respective
  Affiliates (or, as applicable, any KO Distributor) and thereafter shall be of no further force or effect.

  13.       Termination Upon the Occurrence of Certain Changes. If, after the Effective Date, a change in legal or
  regulatory conditions in the Territory occurs including, without limitation, any change in any applicable law,
  regulation or order, or the interpretation of any of the foregoing, in the Sub-Territory which has had, or would be
  reasonably expected to have, a material adverse effect on the business of distributing Products in that Sub-
  Territory, either Party may, upon written notice, suspend the Parties’ respective rights and obligations under this
  Agreement solely with respect to (a) the affected Products in the affected Sub-Territory, or (b), to the extent such
  change in conditions affects the business of distribution of all or substantially all Products in the Sub-Territory,
  all Products in the affected Sub-Territory; provided that neither MEL nor any of its Affiliates shall be permitted
  to sell any such Products subject to suspension in the affected Sub-Territory without first providing KO the
  option, in its sole discretion, to remove the cause for such suspension with respect to such Products and Sub-
  Territories. In the event of any such suspension that materially adversely affects a Party’s benefits hereunder,
  such Party shall have the option to terminate this Agreement upon three (3) months written notice, providing the
  opportunity for the other Party to attempt to remove such suspension during such three (3) month period, (i) in
  the event that all or substantially all of the Territory is so affected, in its entirety, or (ii) otherwise, with respect to
  the applicable affected Sub-Territories, in each case upon written notice to the other Party; provided that, in the
  event MEL is the terminating Party, MEL shall not resume or otherwise conduct the sale or distribution of such
  terminated Products in such terminated portions of the Territory (or of any Products in the entire Territory in the
  event of termination of this Agreement in its entirety) for a period of twelve (12) months following such
  termination, unless MEL first provides KO at least sixty (60) days written notice of its intention to do so and
  provides KO the option during such sixty (60) day period to re-enter into this Agreement on the same terms and
  conditions (or such other conditions agreed to in writing by the Parties).

  14.      Automatic Termination; Termination by KO.

         (a)      If neither Party has previously chosen to terminate this Agreement pursuant to its terms and all
  KO Distribution Agreements with KO/MEL Distributors in the Territory have been terminated for any reason
  (other than termination without cause by MEL) and/or expired pursuant to their terms, either Party may
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  terminate this Agreement by notifying the other Party,       #:5238
                                                                    in writing, of such termination effective no earlier than
  ten (10) Business Days (as defined below) after the date of such notice. For purposes of this Agreement,
  “Business Day” means each day other than a Saturday, Sunday or other day on which commercial banks in New
  York are authorized or required by law to close.

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          (b)       In the event that at any time during the Term the volume of all Products distributed by KO/MEL
  Distributors in accordance with this Agreement and the Concurrent Agreement in the aggregate is fifty percent
  (50%) or less of the volume of all Products distributed by or on behalf of MEL or its Affiliates throughout the
  Territory under this Agreement and the Territory (as defined in the Concurrent Agreement), KO may terminate
  this Agreement by notifying MEL in writing of such termination effective no earlier than ten (10) Business Days
  after the date of such notice.

  15.      Obligations on Termination.

          15.1.      In the event that this Agreement expires or is terminated in accordance with the terms hereof,
  MEL shall (or shall cause its applicable Affiliate to) immediately provide written notice of termination of all of
  its and its Affiliates’ KO Distribution Agreements with KO Distributors pursuant to and in accordance with the
  terms thereof, with such termination to be effective no later than twelve (12) months after such expiration or
  termination of this Agreement (except in the event of termination (a) for an MEC Change of Control that
  involves Person/s that is/are a KO Competitor, in which event such termination shall be effective no later than
  three (3) months after such termination of this Agreement, or (b) for KO’s material breach pursuant to
  Section 11.1 or 11.4.1, in which event such termination shall be effective no later than two (2) years after such
  termination of this Agreement; provided that MEL shall use good faith efforts to terminate such agreements as
  soon as reasonably practicable, provided further that MEL may, in its sole and absolute discretion, from time to
  time during such two (2) year period, specify a shorter period with respect to individual territories, regions or
  states, as MEL determines from time to time in its sole and absolute discretion in compliance with any KO
  Distribution Agreement in effect at that time), unless (i) the Parties agree otherwise in writing, (ii) the applicable
  KO Distribution Agreement is not terminable upon such occurrence or otherwise for convenience pursuant to its
  terms (provided that in such event MEL shall not, and shall cause its Affiliates to not, renew or otherwise extend
  any such KO Distribution Agreement), or (iii) this Agreement is terminated by KO pursuant to Section 11.1 or
  11.4.2 and KO provides written notice to MEL within thirty (30) days of the effective termination of this
  Agreement identifying any KO Distribution Agreements with KO Distributors that should not be so terminated
  (and, in such event, such identified KO Distribution Agreements shall not be terminated by MEL or its Affiliates
  due to the termination of this Agreement). Notwithstanding anything to the contrary contained in this
  Section 15, neither MEL nor its applicable Affiliates shall be obligated to provide notice of termination if such
  termination (x) is not expressly authorized under the applicable KO Distribution Agreement and/or (y) solely in
  the event that this Agreement is terminated by MEL pursuant to Section 11.1 or 11.4.1, would result in MEL
  becoming obligated to pay to the applicable KO Distributor a Severance Payment (unless KO agrees to
  reimburse MEL therefor). During the period between a notice of termination and the effective date of
  termination, each Party shall continue to fully perform its obligations under this Agreement. To the extent any
  KO Distribution Agreement remains in effect following the expiration or termination of this Agreement in
  accordance with the terms hereof, MEL shall continue to pay KO any and all payments and fees that would have
  been due to KO under this Agreement and/or the applicable KO Distribution Agreement had this Agreement not
  expired or been terminated (for so long as such KO Distribution Agreement remains in effect). Sections 6, 7,
  16.1, 17, 18, 19, 20 and 21 of this Agreement shall survive the expiration or termination of this Agreement.

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  16.      Termination Fees.                                    #:5239

          16.1.      “Termination Fee” means the aggregate of the Commissions for the twelve (12) month period
  ending on the last day of the last calendar month preceding the effective date of termination of this Agreement
  for Products sold by MEL or any of its Affiliates to KO/MEL Distributors who are KO/MEL Distributors as of
  the effective date of such termination; provided that if termination of this Agreement occurs before the first
  anniversary of the Effective Date the Termination Fee shall be increased by fifty percent (50%); and if
  termination of this Agreement occurs after the first anniversary of the Effective Date but before the second
  anniversary of the Effective Date, the Termination Fee shall be increased by twenty-five percent (25%). Each
  termination fee specified in this Section 16 will be due and payable no later than thirty (30) days after the
  effective date of the applicable termination and such obligation shall survive the termination or expiration of this
  Agreement.

         16.2. If MEL terminates this Agreement pursuant to the terms of Section 11.1 or 11.4 above, KO shall,
  without prejudice to MEL’s rights and remedies available under this Agreement, equity and/or applicable law,
  but subject to Section 17, pay MEL the Termination Fee.

          16.3. If KO terminates this Agreement pursuant to the terms of Section 11.1 or 11.4 above, MEL shall,
  without prejudice to KO’s rights and remedies available under this Agreement, equity and/or applicable law, but
  subject to Section 17, pay KO an amount equal to the Termination Fee.

           16.4.   Without limiting the terms of the applicable KO Distribution Agreement, if MEL terminates a
  KO Distribution Agreement with a KO/MEL Distributor without cause and without (a) MEL entering into a
  New Distribution Agreement with a Primary KO Distributor for the same Sub-Territory promptly following such
  termination and (b) concurrently terminating this Agreement, MEL will pay KO the Termination Fee applicable
  to the terminated KO Distribution Agreement with the applicable KO/MEL Distributor only.

          16.5.    If MEL only terminates a portion of the Sub-Territory specified in a particular KO Distribution
  Agreement between MEL and a KO/MEL Distributor without cause, MEL shall pay KO a partial termination fee
  (in each case, a “Partial Termination Fee”) equal to the Termination Fee applicable to the terminated KO
  Distribution Agreement with the applicable KO/MEL Distributor only, that would be owed if the applicable KO
  Distribution Agreement with such KO/MEL Distributor were fully terminated on the date the partial termination
  occurs, multiplied by a fraction, the numerator of which is the Net Sales of Products in the terminated portion of
  the applicable Sub-Territory during the twelve (12) months immediately preceding such termination, and the
  denominator of which is the Net Sales of Products in the entire applicable Sub-Territory during the twelve (12)
  months immediately preceding such termination.

  17.   Limitation of Damages; Limitation of Liability. EXCEPT FOR DAMAGES DIRECTLY RESULTING
  FROM INDEMNITY OBLIGATIONS SET FORTH IN SECTION 21, NEITHER PARTY SHALL BE LIABLE
  TO THE OTHER PARTY FOR ANY INDIRECT, CONSEQUENTIAL, INCIDENTAL, SPECIAL, OR
  EXEMPLARY DAMAGES (INCLUDING, WITHOUT LIMITATION, DAMAGES FOR LOSS OF PROFITS,
  LOSS OF

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  GOODWILL, BUSINESS INTERRUPTION, LOSS OF BUSINESS OPPORTUNITY, OR ANY OTHER
  PECUNIARY LOSS) SUFFERED BY SUCH PARTY RELATED TO OR ARISING OUT OF THIS
  AGREEMENT, ANY OF THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT, AND/OR
  THE USE OF OR INABILITY TO USE OR SELL THE PRODUCTS, AND/OR FROM ANY OTHER CAUSE
  WHATSOEVER, EVEN IF SUCH PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
  DAMAGES. THESE LIMITATIONS WILL APPLY REGARDLESS OF THE LEGAL THEORY OF

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  LIABILITY, WHETHER UNDER CONTRACT,#:5240                  TORT (INCLUDING NEGLIGENCE AND STRICT
  LIABILITY), OR ANY OTHER THEORY WHATSOEVER.

  EACH AND EVERY PROVISION OF THIS AGREEMENT WHICH PROVIDES FOR A LIMITATION OF
  LIABILITY OR WARRANTIES, DISCLAIMER, OR EXCLUSION OF DAMAGES, IS EXPRESSLY
  INTENDED TO BE SEVERABLE AND INDEPENDENT FROM ANY OTHER PROVISION, SINCE
  THOSE PROVISIONS REPRESENT SEPARATE ELEMENTS OF RISK ALLOCATION BETWEEN THE
  PARTIES, AND SHALL BE SEPARATELY ENFORCED.         NEITHER PARTY MAKES ANY
  REPRESENTATIONS OR WARRANTIES, EXPRESSED OR IMPLIED (INCLUDING THE IMPLIED
  WARRANTIES OF NON-INFRINGEMENT, MERCHANTABILITY AND FITNESS FOR A PARTICULAR
  PURPOSE) EXCEPT THOSE SET FORTH IN THIS AGREEMENT.

  18.      Books and Records; Examinations.

           18.1.      For a period of at least two (2) years following the expiration or earlier termination of this
  Agreement, MEL shall maintain such books and records (collectively, “MEL Records”) as are necessary to
  substantiate that no payments have been made, directly or indirectly, by or on behalf of MEL to or for the benefit
  of any KO employee or agent who may reasonably be expected to influence KO’s decision to enter into this
  Agreement or the amount to be paid by KO pursuant hereto. (As used herein, “payments” shall include money,
  property, services and all other forms of consideration.) All MEL Records shall be maintained in accordance
  with generally accepted accounting principles as consistently applied by MEL. KO and/or its representative
  shall have the right at any time during normal business hours, upon seven (7) days written notice, to examine the
  MEL Records, but not more than once per year. The provisions of this paragraph shall survive the expiration or
  earlier termination of this Agreement.

         18.2.        For a period of at least two (2) years following the expiration or earlier termination of this
  Agreement, KO shall maintain such books and records (collectively, “KO Records”) as are necessary to
  substantiate that no payments have been made, directly or indirectly, by or on behalf of KO to or for the benefit
  of any MEL employee or agent who may reasonably be expected to influence MEL’s decision to enter into this
  Agreement or the amount to be paid by MEL pursuant hereto. (As used herein, “payments” shall include money,
  property, services and all other forms of consideration.) All KO Records shall be maintained in accordance with
  generally accepted accounting principles as consistently applied by KO. MEL and/or its representative shall
  have the right at any time during normal business hours, upon seven (7) days written notice, to examine the KO
  Records, but not more than once per year. The provisions of this paragraph shall survive the expiration or earlier
  termination of this Agreement.

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         18.3.    MEL shall keep complete and true books and other records containing data in sufficient detail
  necessary to determine the Net Sales and Net Profits of the Products, any Termination Fee, and any Partial
  Termination Fee, as well as all components of each of these items.

          18.4.     No more than once per calendar year, KO shall have the right, at its own expense, to have the
  books and records kept by MEL (and all related work papers and other information and documents) examined by
  a nationally recognized public accounting firm appointed by KO (in each case, an “Accounting Firm”) to
  (a) verify the calculations of the Net Sales and Net Profits for each of the Products, any Termination Fee, and
  any Partial Termination Fee, and/or any component of any of the foregoing, and (b) verify the resulting
  payments required under this Agreement. Prior to conducting any such examination, the Accounting Firm shall
  have agreed to hold in confidence and not disclose to anyone, other than the Parties or unless required by
  applicable law, all information reviewed by or disclosed to the Accounting Firm during such examination.

  19.      Trademarks.
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                                                               #:5241
          19.1. KO acknowledges and agrees that all MEC Marks shall be and remain the exclusive property of
  MEC. No right, title or interest of any kind in or to the MEC Marks is transferred by this Agreement to KO.
  KO agrees that it will not attempt to register the MEC Marks, or any marks confusingly similar thereto, in any
  form or language anywhere in the world. KO further agrees that during the Term of this Agreement it will not
  contest the validity of the MEC Marks or the ownership thereof by MEC. If KO desires to reproduce any of the
  MEC Marks for promotional purposes, the reproduction will only be made after written approval by MEL. KO
  shall only use the MEC Marks in such a manner as to ensure and maintain the high quality and goodwill
  associated therewith; provided, however, that KO may, in consultation with MEL, submit form or template
  usages or specimens of proposed use featuring the MEC Marks that may be subsequently used on other materials
  without seeking additional approval from MEL, provided that the form, substance, content and context of such
  subsequent use is not materially different from that which MEL initially approves. KO’s use of the MEC Marks
  will inure for the benefit of MEC.

          19.2.      Infringement of MEC’s Marks. If during the Term of this Agreement a third party institutes
  against MEC, MEL or KO any claim or proceeding that alleges that the use of any MEC Mark in connection
  with the marketing, promotion, merchandising and/or sales of the Products under this Agreement infringes the
  intellectual property rights held by such third party, then MEL shall, in its sole discretion, and at its sole expense,
  contest, settle, and/or assume direction and control of the defense or settlement of, such action, including all
  necessary appeals thereunder. KO shall use all reasonable efforts to assist and cooperate with MEL in such
  action, subject to MEL reimbursing KO for any reasonable out-of-pocket expenses incurred by KO in
  connection with such assistance and cooperation. If, as a result of any such action, a judgment is entered by a
  court of competent jurisdiction, or settlement is entered by MEL, such that any MEC Mark cannot be used in
  connection with the marketing, promotion, merchandising and/or sales of the Products under this Agreement
  without infringing upon the intellectual property rights of such third party, then MEC, MEL and KO promptly
  shall cease using such affected MEC Mark in connection with the marketing, promotion, merchandising and/or
  sale of the

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  Products under this Agreement. Neither Party shall incur any liability or obligation to the other Party arising
  from any such cessation of the use of the affected MEC Mark.

         19.3. Termination. Upon expiration or termination of this Agreement, KO shall cease and desist from
  any use of the MEC Marks and any names, marks, logos or symbols confusingly similar thereto.

          19.4.       Prior Agreements. Notwithstanding the foregoing provisions of Section 19 (including the
  definition of “MEC Marks” as including both registered and unregistered rights), the Parties acknowledge their
  ongoing discussions over their respective rights in trademarks containing the term “monster,” including the
  agreement among the Parties and Odwalla, Inc. dated June 15, 2004 regarding MEC’s use of its MONSTER
  marks (the “Monster Trademark Agreement”). Nothing contained in this Agreement shall (a) be deemed to be
  an acknowledgement by KO of MEC’s rights in unregistered marks containing the term “monster” or (b) limit
  the provisions of the Monster Trademark Agreement. In the case of a conflict between this Section 19 and the
  Monster Trademark Agreement, the Parties agree that the terms of the Monster Trademark Agreement shall
  prevail.

  20.      Representations, Warranties and Covenants.

         20.1. MEL represents and warrants to KO that (a) it has the right and lawful authority to enter into this
  Agreement, and (b) the execution, delivery and performance of this Agreement will not cause or require MEL to
  breach any obligation to, or agreement or confidence with, any other Person.

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          20.2.    MEL warrants that all Products, all food    #:5242additives in the Products, and all substances for use in,
  with, or for the Products, comprising each shipment or other delivery hereby made by MEL to, or on the order
  of, KO and/or any KO/MEL Distributor are hereby guaranteed as of the date of such shipment to be, on such
  date, (a) not adulterated or misbranded within the meaning of the Federal Food, Drug and Cosmetic Act, as
  amended, including the Food Additives Amendment of 1958, and (b) in compliance with all health, safety and
  labeling standards imposed by law, regulations or orders applicable in the territory in which the Products will be
  sold.

           20.3.    MEL warrants that all Products shall be merchantable.

         20.4. KO’s sole and exclusive remedy for MEL’s breach of MEL’s representations in Sections 20.2 and
  20.3 above shall be as provided for in Section 21.3 below.

  21.      Indemnification and Insurance.

          21.1.      KO agrees to indemnify and defend MEL, its Affiliates and their respective directors, officers,
  employees, representatives and agents (the “MEL Indemnitees”) against any third party claims and hold the
  MEL Indemnitees harmless from and against any and all damages, losses, liabilities, claims, charges, actions,
  suits, proceedings, deficiencies, taxes, interest, penalties, and costs and expenses (collectively “Losses”) arising
  out of, resulting from or otherwise connected with and to the extent attributable to (a) any willfully negligent act,

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  misfeasance or nonfeasance by KO, its Subsidiaries, or any of their respective officers, employees, directors or
  agents regarding the sale, distribution or marketing of the Products, (b) the failure of any representation or
  warranty made by KO contained in this Agreement to be true or correct in any material respect (without regard
  to any references to materiality contained therein), and (c) any claim, advertising, marketing, promotion or
  representation made, provided, disseminated or distributed by KO regarding Products that has not been approved
  by MEL or any MEL Indemnitee, excluding, in each case, any such Losses to the extent MEL or any of its
  Affiliates is required to indemnify KO therefor pursuant to Section 21.3.

           21.2.    [INTENTIONALLY OMITTED]

          21.3.     MEL agrees to indemnify and defend KO, its Affiliates and their respective directors, officers,
  employees, representatives and agents (the “KO Indemnitees”) against any third party claims and hold the KO
  Indemnitees harmless from and against any and all Losses arising out of, resulting from or otherwise connected
  with and to the extent attributable to (a) the contents, formulation, manufacture, labeling, bottling or packaging
  of the Products, including, but not limited to, product defects, product integrity/quality failures, any ingredient
  safety issue, product recalls, any violation of applicable law or regulation, or any injury to or death of any person
  caused by the Products or any ingredient contained therein including, for clarity, any of such claims described in
  the foregoing portion of this clause (a) that are brought against any KO Indemnitee based on any KO
  Indemnitee’s consent to the distribution of such Products by KO Distributors in accordance with this Agreement,
  (b) any willfully negligent act, misfeasance or nonfeasance by MEL or any of its respective Subsidiaries,
  officers, employees, directors or agents, (c) any claim, advertising, marketing, promotion or representation
  made, provided, disseminated, or distributed by MEL or by any agent or representative of MEL regarding the
  Products, (d) the failure of any representation or warranty made by MEL contained in this Agreement to be true
  or correct in any material respect (without regard to any references to materiality contained therein), (e) any
  claim that the authorized use by any KO Indemnitee of any of the MEC Marks pursuant to this Agreement
  infringes the trademark, trade dress or trade name of another, (f) any claim that any Products or packaging for
  any Products furnished by MEL infringes any patent, trade secret or other intellectual property right of any third
  party, (g) the termination or transfer of any of MEL’s existing distribution agreements in anticipation or
  furtherance of the rights granted to KO in this Agreement, and (h) any other Losses for which a KO Distributor
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  is required to be indemnified by MEL or its Affiliate        #:5243
                                                                   pursuant to a KO Distribution Agreement, excluding, in
  each case, any such Losses to the extent KO or any of its Affiliates is required to indemnify MEL therefor
  pursuant to Section 21.1 above.

          21.4.     During the Term of this Agreement and for a period of two (2) years thereafter, MEL and KO
  agree to maintain policies of insurance of the nature and amounts specified below, which shall provide the other
  Party as an additional insured (providing for a waiver of subrogation rights and endeavoring to provide for not
  less than thirty (30) days written notice of any modification or termination of coverage), and each Party shall
  provide the other Party with a certificate of insurance evidencing such insurance, in a form satisfactory to such
  Party:

           o            Commercial General Liability, including contractual liability coverage, with limits of at least
                    $1,000,000 per occurrence; Bodily Injury and Property Damage /

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                    $1,000,000; Personal and Advertising Injury / $1,000,000; Products/Completed Operations /
                    $2,000,000 General Aggregate.

           o           Excess or Umbrella Liability with a limit of not less than $5,000,000 per occurrence over the
                    insurance coverage described above.

          For any claims under this Agreement, the applicable Party’s insurance shall be deemed to be primary and
  not contributing to or in excess of any similar coverage purchased by the other Party. All deductibles payable
  under an applicable policy shall be paid by the Party responsible for purchasing such policy. All such insurance
  shall be written by companies authorized to do business in the state or states where the work is to be performed
  and having at least the ratings of the respective Parties current insurers, unless not obtainable at commercially
  reasonable rates in light of previous premiums.

          21.5. An indemnified party under this Section 21 shall give to the indemnifying party prompt notice of
  the third party claim for which such indemnified party is seeking indemnification. Until such time as the
  indemnifying party acknowledges in writing its obligation to indemnify the indemnified party under this
  Section 21, the indemnified party will have the right to direct, through counsel of its choosing, the defense of
  any matter the subject of such indemnification claim. At such time as the indemnifying party acknowledges in
  writing its obligation to indemnify the indemnified party against any and all Losses that may result from such
  matter, the indemnifying party shall have the right to direct, through counsel of its own choosing, the defense or
  settlement of any matter the subject of indemnification hereunder at its expense. The indemnified party may
  thereafter retain its own counsel to participate in the defense of the matter, at the indemnified party’s own
  expense. The indemnified party shall provide the indemnifying parties with reasonable and relevant access to its
  records and personnel relating to any such matter during normal business hours and shall otherwise cooperate
  with the indemnifying party in the defense or settlement of any such matter, and the indemnifying party shall
  reimburse the indemnified party for all its reasonable out-of-pocket expenses in connection with such matter.
  No settlement in respect of any third party claim may be effected by the indemnifying party without the
  indemnified party’s prior written approval. If the indemnifying party shall fail to undertake any such defense,
  the indemnified party shall have the right to undertake the defense or settlement thereof at the indemnifying
  party’s expense, provided the indemnifying party has received reasonable notice of, and opportunity to
  participate in, any proposed settlement.

  22.      Miscellaneous.

         22.1. No Employment Relationship. Notwithstanding any language in this Agreement to the contrary,
  the Parties intend that their relationship will be only as set forth in this Agreement. Neither Party nor any
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  employee, agent, officer, or independent contractor #:5244    of or retained by either Party shall be considered an agent,
  employee or co-joint venturer of the other Party for any purpose or entitled to any of the benefits that the other
  Party provides for any of the other Party’s employees. Furthermore, each Party acknowledges that it shall be
  responsible for all federal, state and local taxes for it and its employees and reports relative to fees under this
  Agreement and each Party will indemnify and hold the other Party harmless from any failure to file necessary
  reports or pay such taxes.

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         22.2. Integration. This Agreement constitutes the entire agreement between the Parties with respect to
  the subject matter of this Agreement and is intended by the Parties to be a final expression of their understanding
  and a complete and exclusive statement of the terms and conditions of the agreement. This Agreement
  supersedes any and all agreements, either oral or in writing, between the Parties concerning the subject
  contained herein and contains all of the covenants, agreements, understandings, representations, conditions, and
  warranties mutually agreed to between the Parties. This Agreement may be modified or rescinded only by a
  writing signed by the Parties hereto or their duly authorized agents.

          22.3.     Choice of Law. This Agreement shall be exclusively governed by and construed in accordance
  with the laws of the State of New York (without reference to its law of conflict of laws) and the provisions of the
  United Nations Convention On Contracts For The International Sale Of Goods will expressly be excluded and
  not apply. The place of the making and execution of this Agreement is California, United States of America.
  Each Party hereby waives any rights that it may otherwise have to assert any rights or defenses under the laws of
  the Territory or to require that litigation brought by or against it in connection with this Agreement be conducted
  in the courts or other forums of the Territory.

          22.4.    Assignment. This Agreement shall be binding upon and inure to the benefit of the Parties and
  their respective heirs, executors, administrators, legal administrators, legal representatives, successors and
  assigns. This Agreement shall not be assignable by either Party without the prior written consent of the other
  Party; provided, however, that (a) an MEC Change of Control shall not be deemed an assignment of the
  Agreement requiring KO’s consent hereunder, (b) a Change of Control (as defined in the Transaction
  Agreement) with respect to KO or its Parent shall not be deemed an assignment of this Agreement requiring
  MEL’s consent hereunder, and (c) KO shall not be required to obtain any such consent of MEL in relation to any
  assignment resulting from the transfers or changes approved in advance by MEL pursuant to the last two
  sentences of Section 4.8 of this Agreement.

         22.5.      Counterparts. This Agreement may be signed in one (1) or more counterparts, each of which
  shall constitute an original but all of which together shall be one (1) and the same document. Signatures
  received by facsimile shall be deemed to be original signatures.

          22.6.    Partial Invalidity. Each provision of this Agreement will be valid and enforceable to the fullest
  extent permitted by law. If any provision of this Agreement or the application of the provision to any Person or
  circumstance will, to any extent, be invalid or unenforceable, the remainder of this Agreement, or the application
  of the provision to Persons or circumstances other than those as to which it is held invalid or unenforceable, will
  not be affected by such invalidity or unenforceability, unless the provision or its application is essential to this
  Agreement. The Parties shall replace any invalid and/or unenforceable provision with a valid and enforceable
  provision that most closely meets the aims and objectives of the invalid and/or unenforceable provision.

         22.7. Titles and Subtitles. The titles and subtitles used in this Agreement are used for convenience only
  and are not to be considered in construing or interpreting this Agreement.

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         22.8.    Drafting Ambiguities. Each Party to this Agreement and their legal counsel have reviewed and
  revised this Agreement. The rule of construction that any ambiguities are to be resolved against the drafting
  Party shall not be employed in the interpretation of this Agreement or any amendments or exhibits to this
  Agreement.

          22.9. Notices. All notices or other communications required or permitted to be given to a Party to this
  Agreement shall be in writing and shall be personally delivered, sent by certified mail, postage prepaid, return
  receipt requested, or sent by an overnight express courier service that provides written confirmation of delivery,
  to such Party at the following respective address:

           If to MEC and MEL:

                    Monster Energy Ltd.
                    c/o Mason Hayes & Curran
                    South Bank House, Barrow Street, Dublin 4, Ireland
                    Attention: Tony Burke
                    Facsimile: +353-1-614-5001

           and

                    Monster Energy Company
                    1 Monster Way
                    Corona, California 92879
                    Attention: Director
                    Facsimile: (951) 739-6210

           with a copy to:

                    Solomon Ward Seidenwurm & Smith, LLP
                    401 B Street, Suite 1200
                    San Diego, California 92101
                    Attention: Norman L. Smith
                    Facsimile: (619) 231-4755

           If to KO:

                    The Coca-Cola Company
                    One Coca-Cola Plaza
                    Atlanta, Georgia 30313
                    Facsimile:     (404) 676-8621
                    Attention: Chief Financial Officer; and
                               Senior Vice President, General Counsel and
                               Chief Legal Officer; (Facsimile: (404) 515-2546)

           with a copy (which shall not constitute notice) to:

                    Skadden, Arps, Slate, Meagher & Flom LLP
                    Four Times Square

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                                                               #:5246
                    New York, New York 10036
                    Facsimile:   (212) 735-2000
                    Attention:  Martha E. McGarry, Esq.
                                 Thomas W. Greenberg, Esq.

          Each such notice or other communication shall be deemed given, delivered and received upon its actual
  receipt, except that if it is sent by mail in accordance with this Section, then it shall be deemed given, delivered
  and received three (3) days after the date such notice or other communication is deposited with the U.S. Postal
  Service in accordance with this Section. Any Party to this Agreement may give a notice of a change of its
  address to the other Party to this Agreement.

         22.10. Third-Party Beneficiaries. Nothing in this Agreement, express or implied, is intended or shall be
  construed to give any Person, other than the Parties to this Agreement and their successors and permitted
  assigns, any legal or equitable right, remedy or claim under or in respect of any agreement or any provision
  contained in this Agreement.

        22.11. Conflict. In the event of any conflict between the terms of this Agreement and the terms of any
  KO Distribution Agreement, the terms of this Agreement shall govern as between KO and MEL.

  23.      Dispute Resolution.

          23.1. Arbitration. Any controversy, claim or dispute of whatever nature arising out of or in connection
  with this Agreement or the breach, termination, performance or enforceability hereof or out of the relationship
  created by this Agreement (a “Dispute”) shall be finally resolved by arbitration in accordance with the
  Commercial Arbitration Rules of the American Arbitration Association (“AAA”) in effect on the date of this
  Agreement. The Parties understand and agree that they each have the right to apply to a court of competent
  jurisdiction for a temporary restraining order, a preliminary injunction or other equitable relief to preserve the
  status quo or prevent irreparable harm. Unless otherwise agreed in writing by the Parties hereto, the arbitral
  panel shall consist of three (3) arbitrators, each of whom shall be a retired judge from a State other than
  California or Georgia and shall be appointed by the AAA in accordance with Section 23.2 below. The place of
  arbitration shall be Dallas, Texas. Judgment upon the award may be entered, and application for judicial
  confirmation or enforcement of the award may be made, in any competent court having jurisdiction thereof.
  Other than as required or permitted by an applicable Governmental Entity, each Party will continue to perform
  its obligations under this Agreement pending final resolution of any such Dispute. The Parties knowingly and
  voluntarily waive their rights to have any Dispute tried and adjudicated by a judge or a jury.

          23.2. Immediately after the filing of the submission or the answering statement or the expiration of the
  time within which the answering statement is filed, the AAA shall send simultaneously to each Party to the
  Dispute an identical list of ten (10) (unless the AAA decides that a larger number is appropriate) names of
  retired judges from the National Roster from States other than California or Georgia. The Parties shall attempt
  to agree on the three (3) arbitrators from the submitted list and advise the AAA of their agreement. If the Parties
  are unable to agree upon the three (3) arbitrators, each Party to the Dispute shall have fifteen (15) days from the

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  transmittal date in which to strike no more than three (3) names objected to, number the remaining names in
  order of preference, and return the list to the AAA. If a Party does not return the list within the time specified,
  all persons named therein shall be deemed acceptable. From among the persons who have been approved on
  both lists, and in accordance with the designated order of mutual preference, the AAA shall invite the acceptance
  of the three (3) arbitrators to serve. If the Parties fail to agree on any of the persons named, or if acceptable
  arbitrators are unable to act, or if for any other reason the appointment cannot be made from the submitted lists,
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  the AAA shall have the power to make the appointment         #:5247from among other retired judges on the National Roster
  from States other than California or Georgia without the submission of additional lists.

          23.3.      The arbitration shall be governed by the laws of the State of New York, without regard to its
  conflicts-of-law rules, and by the arbitration law of the Federal Arbitration Act (Title 9, U.S. Code). The
  arbitrators shall base the award on the applicable law and judicial precedent that would apply, and the arbitrators
  shall have no authority to render an award that is inconsistent therewith. The award shall be in writing and
  include the findings of fact and conclusions of law upon which it is based if so requested by either Party. Except
  as may be awarded to the prevailing Party, each Party shall bear the expense of its own attorneys, experts, and
  out of pocket costs as well as fifty percent (50%) of the expense of administration and arbitrators’ fees.

          23.4. Except as otherwise required by law, the Parties and the arbitrator(s) shall keep confidential and
  not disclose to third parties any information or documents obtained in connection with the arbitration process,
  including the resolution of the Dispute.

       23.5.     EXCEPT FOR THE DAMAGES DIRECTLY RESULTING FROM THE INDEMNITY
  OBLIGATIONS SET FORTH IN SECTION 21 OF THIS AGREEMENT, NOTWITHSTANDING ANYTHING
  TO THE CONTRARY IN THIS AGREEMENT, EACH PARTY WAIVES THE RIGHT IN ANY
  ARBITRATION OR JUDICIAL PROCEEDING TO RECEIVE CONSEQUENTIAL, PUNITIVE, OR
  EXEMPLARY DAMAGES. THE ARBITRATORS SHALL NOT HAVE THE POWER TO AWARD
  CONSEQUENTIAL, PUNITIVE, OR EXEMPLARY DAMAGES.

  24.      Force Majeure.

          24.1.      Neither Party shall be liable for any delays in delivery or failure to perform or other loss due
  directly or indirectly to causes beyond such Party’s reasonable control (each, individually, a “Force Majeure
  Event”) including, without limitation: (a) acts of God, act (including failure to act) of any Governmental Entity
  (de jure or de facto), wars (declared or undeclared), governmental priorities, port congestion, riots, revolutions,
  strikes or other labor disputes, fires, floods, sabotage, nuclear incidents, earthquakes, storms, epidemics; or
  (b) inability to timely obtain either necessary and proper labor, materials, ingredients, components, facilities,
  production facilities, energy, fuel, transportation, governmental authorizations or instructions, material or
  information. The foregoing shall apply even though any Force Majeure Event occurs after such Party’s
  performance of its obligations is delayed for other causes.

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          24.2.     The Party affected by a Force Majeure Event shall give written notice to the other Party of the
  Force Majeure Event within a reasonable time after the occurrence thereof, stating therein the nature of the
  suspension of performance and reasons therefore. Such Party shall use its commercially reasonable efforts to
  resume performance as soon as reasonably possible. Upon restoration of the affected Party’s ability to perform
  its obligations hereunder, the affected Party shall give written notice to the other Party within a reasonable time.

  25.      Ethical Standards.

          25.1.       KO and each of its sub-distributors will comply with the Foreign Corrupt Practices Act and
  without derogating from the generality of the foregoing, will not have its directors, officers or employees,
  directly or indirectly, offer, promise or pay any bribes or other improper payments for the purposes of promoting
  and/or selling MEL Products to any individual, corporation, government official or agency or other entity. No
  gift, benefit or contribution in any way related to MEL or the promotion and/or sale of MEL Products will be
  made to political or public officials or candidates for public office or to political organizations, regardless of
  whether such contributions are permitted by local laws.

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         25.2.       MEL will comply with the Foreign          #:5248
                                                                    Corrupt Practices Act and without derogating from the
  generality of the foregoing, will not have its directors, officers or employees, directly or indirectly, offer,
  promise or pay any bribes or other improper payments for the purposes of promoting and/or selling Products to
  any individual, corporation, government official or agency or other entity. No gift, benefit or contribution in any
  way related to KO or the promotion and/or sale of Products will be made to political or public officials or
  candidates for public office or to political organizations, regardless of whether such contributions are permitted
  by local laws. MEL shall review its anti-bribery and ethical compliance policies (including with respect to
  compliance with the Foreign Corrupt Practices Act and other applicable laws) within a reasonable period of time
  following the Effective Date.

  26.      External Communications.

          26.1.    Publicity. MEL and KO each agree that the initial public, written announcements regarding the
  execution of this Agreement and the subject matter addressed herein shall be coordinated between the Parties
  prior to release. Thereafter, each Party agrees to use commercially reasonable efforts to consult with the other
  Party regarding any public, written announcement which a Party reasonably anticipates would be materially
  prejudicial to the other Party. Nothing provided herein, however, will prevent either Party from (a) making and
  continuing to make any statements or other disclosures it deems required, prudent or desirable under applicable
  Federal or State Securities Laws and/or such Party’s customary business practices, or (b) engaging in oral
  discussions or oral or written presentations with actual or prospective investors or analysts regarding the subject
  matter of this Agreement, provided no Confidential Information is disclosed. If a Party breaches this
  Section 26.1 it shall have a seven (7) day period in which to cure its breach after written notice from the other
  Party. A breach of this Section 26.1 shall not entitle a Party to damages or to terminate this Agreement.

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           26.2.    Marketing and Promotion.

                 a.        MEL and KO agree that the principles set forth in Section 26.2(b) below are generally
  consistent with the marketing and promotion guiding principles of both MEL and KO (the “Guiding
  Principles”). Notwithstanding anything set forth below, compliance with the Guiding Principles shall not
  constitute an obligation of either Party under this Agreement. The Guiding Principles shall constitute
  unenforceable goals only of the Parties and neither Party shall be entitled to make any claim for breach against
  the other or enforce any remedy under this Agreement or to terminate this Agreement as the result of non-
  compliance with, or a violation of, any Guiding Principle(s).

                   b.      Neither MEL nor KO will advertise, market, or promote the Products in connection with:
  (i) material misrepresentations or material omissions of fact about the Products branded with the MEC Marks;
  (ii) derogatory statements or messages about the other Party or its products; (iii) illegal drugs, pornography,
  racist activities or organizations; or (iv) activities, causes, or products that are generally immoral according to
  applicable community standards of the relevant consumer of the Products such that it is materially detrimental to
  the other Party’s public image and/or its rights as set forth in this Agreement.

  27.      Controlling Language. This Agreement is in the English language only, which will be controlling in all
  respects. No translation, if any, of this Agreement into any other language will be of any force or effect in the
  interpretation of this Agreement or in a determination of the intent of either Party hereto.

                                                      [Signature page follows.]

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                                                               #:5249
  SIGNATURE PAGE TO AMENDED AND RESTATED INTERNATIONAL DISTRIBUTION
  COORDINATION AGREEMENT BETWEEN MONSTER ENERGY LTD. AND MONSTER ENERGY
  COMPANY AND THE COCA-COLA COMPANY

  IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by their respective duly
  authorized officers as of the Effective Date.

  MONSTER ENERGY LTD,                                                        THE COCA-COLA COMPANY,
  an Irish company                                                           a Delaware corporation


  By: /s/ Rodney Sacks                                                       By: /s/ Marie D. Quintero Johnson
      Rodney Sacks                                                           Name: Marie D. Quintero Johnson
      Director                                                               Title: Vice President and Director of Mergers
                                                                                    & Acquisitions


  MONSTER ENERGY COMPANY,
  a Delaware corporation


  By: /s/ Rodney Sacks
      Rodney Sacks
      Chief Executive Officer

             [Signature Page to Amended and Restated International Distribution Coordination Agreement]




                                                 EXHIBIT A
                     Amended and Restated International Distribution Coordination Agreement

                              FORM INTERNATIONAL DISTRIBUTION AGREEMENT

                                                                Exhibit A




                                                                                                                 EXHIBIT A

                                   INTERNATIONAL DISTRIBUTION AGREEMENT

         This INTERNATIONAL DISTRIBUTION AGREEMENT (“Agreement”) is entered into as of
  ____________________, 2015 (the “Effective Date”) between MONSTER ENERGY LTD. (formerly
  TAURANGA, LTD.), a company organized and existing under the laws of the Republic of Ireland, with offices
  at South Bank House, Barrow Street, Dublin 4, Ireland (“MEL”) and [KO DISTRIBUTOR] (“Distributor”).
  MEL and Distributor are referred to herein collectively as the “parties” and individually as a “party” hereto.

  1.       Recitals and Definitions.


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          a.        MEL is a wholly owned subsidiary#:5250       of Monster Energy Company (formerly known as Hansen
  Beverage Company) (“MEC”). MEC and/or its Affiliates (as defined below) own the exclusive right, title and
  interest in and to the Trademarks (as defined below). MEL has been authorized by MEC to use the Trademarks
  (as defined below) and manufacture, promote, market, distribute and sell, including without limitation through
  distributors appointed by MEL, the Products (as defined below) throughout the Territory (as defined below).

         b.      Distributor is a leading distributor of beverages throughout the Territory (as defined below) and
  has substantial experience in the distribution of beverages. Distributor has developed and implemented
  successful marketing plans and/or systems for such distribution and which are substantially associated with the
  trademarks and trade name of The Coca-Cola Company (“KO”). KO has designated Distributor, and MEL
  wishes to appoint Distributor, as a distributor of Products (as defined below) as part of Distributor’s business
  operations and systems, with performance to commence as of ___________________, 2015, or such other date
  as may be mutually agreed by the parties in writing, but which in no event shall be later than
  _________________, 2015 (the “Commencement Date”).

          c.       When used herein: (i) the word “Products” means (x) all Energy Drinks (as defined below) in any
  form, that are offered, packaged and/or marketed by MEC or any of its Affiliates at any time after the Effective
  Date in the Territory under the primary brand name “Monster” or any other primary brand name having
  “Monster” as a derivative or part of such name, and/or containing the “ 'IT” as a primary brand component, and
  which may, but are not required, to contain the “ 'IT” mark, and/or the “M” icon, and (y) such additional beverage
  products, whether marketed under the Trademarks (as defined below) or otherwise, as MEL and Distributor shall
  agree from time to time by executing a mutually agreed upon amended Exhibit A. MEL and Distributor shall
  use commercially reasonable efforts to periodically review and update Exhibit A on a reasonable basis
  throughout the Term. The Products shall include all sizes of SKUs as may be determined by MEC and offered,
  packaged and/or marketed by MEC or any of its Affiliates in good faith from time to time; (ii) the word
  “Territory” means the territory identified in Exhibit B hereto; (iii) the words “Distributor’s Accounts” mean all
  accounts or classes of accounts in the Territory (including those set forth as exclusive or non-exclusive
  Distributor’s Accounts on Exhibit C hereto), other than those reserved for MEL as identified on Exhibit C;
  (iv) the word “Trademarks” means those names and marks identified on Exhibit D hereto; (v) the words “Energy
  Drink/s” mean any shelf-stable, in ready-to-drink, powdered, drops or concentrate form, non-alcoholic beverage
  that satisfies all of the following conditions: (A) it is




  marketed or positioned to consumers as an energy beverage, (B) it contains one or more of the following
  ingredients: guarana, taurine, panax ginseng, L-carnitine, B-2 vitamins, B-6 vitamins, B-12 vitamins, L-arginine,
  astralagus, glucuronolactone or inositol (or, to the extent approved by KO, which approval shall not be
  unreasonably withheld, conditioned or delayed, any ingredients substituting for or supplementing any of the
  foregoing ingredients) and (C) it has at least five (5) milligrams of caffeine per ounce (the “Caffeine
  Requirement”), except that (1) Products under the brand Monster Energy Unleaded (substantially as such
  Products are formulated, manufactured, marketed and/or sold as of the date hereof, and any line extensions or
  expansions of such Products marketed under such brand) shall not be required to meet the Caffeine
  Requirement; and (2) the Caffeine Requirement shall be reduced in respect of any particular territory to the
  extent that any final law applicable to MEL in such territory imposing restrictions on the on-going business
  activities of MEL is enacted by a Governmental Entity having jurisdiction over such territory that either
  (I) specifically establishes a maximum caffeine concentration that is lower than the Caffeine Requirement (in
  which case the Caffeine Requirement applicable to such territory shall be the maximum caffeine concentration
  permitted by such law) or (II) is reasonably expected, based on the good faith judgment of MEL, to have an
  adverse impact on MEL’s business, sales or profitability in such territory due to the caffeine concentration of the
  Products exceeding a specified level (including, for example, a material tax imposed on beverages with caffeine
  concentrations above a stated amount but excluding, for the avoidance of doubt, any age or similar restriction on
  the manner of sale of such beverages) (in which case the Caffeine Requirement applicable to such territory shall
  be the maximum caffeine concentration that would not have such adverse impact); it being agreed that affected
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  Products in any affected territory may be reformulated          #:5251
                                                                      by MEL to the extent necessary to comply with any such
  law or to avoid such adverse impact; (vi) the word “Affiliates” means as to any Person, any other Person that,
  directly or indirectly through one or more intermediaries, controls or is controlled by or is under common
  control with such Person, as such terms are used in and construed under Rule 405 under the Securities Act of
  1933 of the United States of America; (vii) the word “Person” means an individual or firm, corporation,
  partnership, trust, incorporated or unincorporated association, joint venture, limited liability company, joint stock
  company, government (or an agency or subdivision thereof) or other entity of any kind; and (viii) the words
  “Governmental Entity” mean any (A) nation, state, county, city, town, village, district, or other jurisdiction of
  any nature, (B) federal, state, local, municipal, foreign, or other government, (C) governmental or quasi-
  governmental authority of any nature (including any governmental agency, branch, department, official, or entity
  and any court or other tribunal), or (D) body exercising, or entitled to exercise, any administrative, executive,
  judicial, legislative, police, regulatory, or taxing authority or power of any nature. All Exhibits referred to in this
  Agreement shall be deemed to be incorporated into this Agreement.

  2.       Appointment.

          a.       With effect from the Commencement Date, MEL appoints Distributor, and Distributor accepts
  appointment, as a distributor and seller of Products to Distributor’s Accounts within the Territory. Such
  appointment shall be exclusive with respect to each of Distributor’s Accounts, except if and to the extent
  specifically designated as non-exclusive on Exhibit C hereto. Such appointment shall exclude any SKU/s
  deleted from distribution pursuant to Sections 13(b) or 13(f) below. Those categories of customers which are
  excluded from the definition of Distributor’s Accounts are expressly reserved for MEL, or such other
  distributors as MEL may from time to time appoint. Distributor shall be entitled to appoint sub-distributors
  within the Territory provided that the terms of such appointment shall provide that the sub-distributors shall not
  actively seek or solicit customers for the Products

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  outside the Territory or any customers located within the Territory other than Distributor’s Accounts, and the
  terms of such appointments shall not be inconsistent with the terms and conditions of this Agreement and shall
  be subject to MEL’s rights hereunder. Distributor’s appointment of sub-distributors shall be to supplement and
  augment, but not to replace or substitute, wholly or partially, Distributor’s resources, performance capabilities
  and/or ability to fully perform all of Distributor’s obligations in the Territory under this Agreement, including
  without limitation, as provided in Section 3 below. Distributor will remain liable for the actions, omissions and
  performance of all of Distributor’s sub-distributors.

          b.         Distributor shall not directly or indirectly, alone or in conjunction with any other Person
  (i) actively seek or solicit customers or accounts for the Products outside the Territory or any customers or
  accounts located within the Territory other than Distributor’s Accounts (in particular, but without limiting the
  above, Distributor shall not actively approach customers outside the Territory or accounts other than
  Distributor’s Accounts in the Territory, whether by direct mail, visits, promotions or media advertising targeted
  at such customers, or otherwise), and/or (ii) actively sell, market, distribute or [actively] otherwise dispose of
  any Products to any Persons located outside the Territory [or to any Persons located within the Territory who
  Distributor knows or reasonably believes will distribute or resell the Products outside the Territory][NTD: TO
  BE OMITTED FROM EU AGREEMENTS], except that, subject to all of the terms and conditions of this
  Agreement, Distributor may sell, market, distribute, assign or otherwise transfer Products to other bottlers or
  distributors designated by KO that are authorized in writing by MEL for sale, marketing, distributing, assigning
  or otherwise transferring into such distributor’s or bottler’s territory. During the Term, Distributor shall purchase
  exclusively and directly from MEL or its nominees (and from no other Person) all of its requirements for
  Products. In the event Products distributed or sold by Distributor are found outside the Territory, upon MEL’s
  reasonable request therefor, Distributor shall use Best Efforts (as defined below) to make available to
  representatives of MEL such sales agreements and other records relating to applicable Products as may be
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  reasonably required for, and otherwise reasonably cooperate   #:5252 with MEL in, all MEL investigations relating to the
  sale and distribution of the Products outside the Territory, in each case, subject to confidentiality and other
  obligations to third parties and solely to the extent permissible under applicable law. Distributor shall use Best
  Efforts to promptly inform MEL if at any time any solicitation or offer to purchase Products is made to
  Distributor in writing by a third party which Distributor knows would result in a breach of this Section 2(b), in
  each case, subject to confidentiality and other obligations to third parties and solely to the extent permissible
  under applicable law. “Best Efforts” means the efforts a prudent Person desiring in good faith to achieve a result
  would use in the circumstances to ensure such result is achieved as expeditiously as possible but does not require
  the Person subject to such obligation to take actions that would result in any materially adverse change, or any
  financial change which in the aggregate, or over a period of time, would result in any materially adverse change,
  in the benefits to such Person under this Agreement or require such Person to expend funds or extend other
  economic incentives, unless otherwise expressly required under this Agreement.

          c.      Distributor acknowledges and agrees that it has no right to distribute any products of MEC other
  than the Products. Any sales by MEL to Distributor of any products of MEC that are not the Products, and/or
  any products sold by MEL to Distributor and/or its sub-distributor(s) beyond the scope, Term (as defined below)
  or after the termination of this Agreement, with or without cause, for any reason or no reason at all (i) shall not
  constitute, be construed as, or give rise to, any express or implied distribution agreement, course of conduct or
  other relationship between MEL and Distributor,

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  (ii) shall not confer upon Distributor or its sub-distributor(s) any rights of any nature whatsoever, including
  without limitation to purchase, sell, market or distribute or continue to purchase, sell, market or distribute any
  products, including Products, or use the Trademarks other than with respect to products sold and delivered by
  MEL to Distributor, and (iii) shall constitute a separate transaction for each shipment of products actually
  delivered by MEL to Distributor and/or sub-distributor(s), in MEL’s sole and absolute discretion, which MEL
  shall be entitled to exercise, vary, withdraw and/or cease, on a case by case basis, at any time in MEL’s sole and
  absolute discretion. Distributor irrevocably waives, releases and discharges any claims, liabilities, actions and
  rights, in law or in equity, against MEL including without limitation for damages (including without limitation,
  consequential, special or punitive damages), compensation or severance payments or any other claims of
  whatsoever nature by Distributor arising from or in connection with the matters referred to in this
  Section 2(c) and/or any acts, omissions or conduct of MEL with regard to such matters.

          d.       MEL and Distributor shall reasonably cooperate with respect to obtaining any import licenses,
  permits, certificates, and governmental approvals which are necessary to permit the sale of Products in the
  Territory. To the extent MEL reasonably requests that Distributor obtain any such licenses, permits, certificates,
  or governmental approvals, Distributor shall, at MEL’s sole expense, use Best Efforts to obtain such import
  licenses, permits, certificates, and governmental approvals which are necessary to permit the sale of Products in
  the Territory. Distributor acknowledges and agrees that all such licenses, permits, certificates, and governmental
  approvals are obtained for the benefit of MEL, and are subject to Distributor’s obligation to comply with the
  provisions of Sections 3(x) and 12(e)(vi) below. Distributor shall also comply with any and all governmental
  laws, regulations, and orders which are applicable to Distributor by reason of its execution and performance of
  this Agreement, including any and all laws, regulations or orders in the Territory which govern or affect the
  ordering, export, shipment, import, sale, delivery or redelivery of Products in the Territory. Distributor shall also
  notify MEL of the existence and content of any provision of law which, to Distributor’s knowledge, conflicts
  with any provisions of this Agreement at the time of its execution or thereafter. In the export of Products from
  the United States, Distributor shall further comply with the applicable law of the Territory, as well as U.S. laws
  and regulations governing exports, including the Export Administration Act and regulations thereunder, and the
  U.S. Boycott Regulations. Distributor shall use Best Efforts to provide MEL all reasonably necessary assistance
  in ensuring compliance by MEL, Distributor and the Products with any applicable governmental laws,
  regulations, orders and registration requirements for, and translations of, the Products, Product labels and any
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  other written information as may be necessary #:5253          in the Territory, in each case without limiting MEL’s
  representations, warranties or obligations hereunder.

           e.         MEL and its Affiliates (if applicable) will use commercially reasonable efforts to include
  provisions comparable to subsections 2(b)(i) and 2(b)(ii) above in its distribution agreements with distributors in
  territories within the European Economic Area that are entered into after the Effective Date. If any other
  distributor appointed by MEL in the European Economic Area (i) actively seeks and solicits customers in
  Distributor’s Accounts (other than such non-exclusive Distributor’s Accounts as identified on Exhibit C) for
  Products in the Territory, or (ii) actively sells, markets, distributes or otherwise disposes of any Products, either
  directly or indirectly to any Persons located within its territory who such distributor knows or reasonably
  believes will distribute or resell the Products inside the Territory, MEL will take commercially reasonable steps
  to (A) enforce MEL’s rights under any distribution agreement, to the extent enforceable under such distribution
  agreement and applicable law, [to address the importation of Products into the Territory in violation of any

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  applicable distribution agreement relating to the Products, (B) enforce MEL’s rights against any other
  distributors to address the importation of Products into the Territory in violation of applicable distribution
  agreements with such other distributors relating to the Products to which MEL or its Affiliates are a party, but
  only to the extent enforceable under such applicable distribution agreements and applicable law][NTD: TO BE
  OMITTED FROM EU AGREEMENTS], and (C) prevent such other distributors from breaching provisions
  comparable to subsections 2(b)(i) and 2(b)(ii), above, but only, to the extent that MEL shall be entitled to do so
  pursuant to the terms of its distribution agreements with such distributors and to the extent enforceable under
  applicable law. Distributor shall cooperate and, if necessary and required by MEL, join with MEL in all such
  proceedings in accordance with the foregoing. Distributor shall have no claim, and MEL shall have no liability,
  arising from the sale of Products by such other distributors in the Territory, except to require MEL to enforce the
  above-mentioned provisions in the applicable distribution agreements.

          f.           If Distributor becomes aware that corrective labeling of Products delivered by MEL to
  Distributor is required in order to comply with applicable law in the Territory, Distributor shall provide to MEL
  for MEL’s written consent, which shall not be unreasonably withheld (i) written notice including details of the
  applicable law/s, (ii) the corrective Product label proposed by Distributor, and (iii) the estimated costs of
  relabeling the applicable Products. Upon receipt of MEL’s written consent (which shall not be unreasonably
  withheld), Distributor shall affix the corrective labeling to the Products at MEL’s cost provided that such cost
  has been approved by MEL in writing, which approval shall not be unreasonably withheld. All right, title and
  interest of every kind and nature in and to such corrective labeling shall be the sole and exclusive property of
  MEL for all purposes or uses. Distributor hereby assigns to MEL all of Distributor’s right, title and interest, if
  any, in and to such corrective labeling, and agrees to execute any documents and take any action MEL may
  deem reasonably necessary or appropriate to effectuate such assignment, at MEL’s reasonable request and
  expense.

         g.        The parties acknowledge that it is their current mutual intention that they will consider in due
  course entering into a written agreement on mutually acceptable terms to provide for the manufacture of certain
  Products in the Territory. This subsection 2(g) shall not be enforceable against either party unless and until an
  enforceable agreement has been executed by both parties.

          h.           Subject to and without limiting MEL’s and its Affiliates’ obligations to KO under the
  International Distribution Coordination Agreement (as defined below), if Distributor declines to distribute,
  declines to continue to distribute, or proposes not to distribute (each a “Distribution Refusal”) (i) substantially all
  Products, as the case may be, designated by MEL in good faith for sale in the Territory, MEL shall have the right
  to sell any or all of the Products so designated by MEL for sale in the Territory directly or through other
  distributors in the Territory, to the exclusion of Distributor, or (ii) one or more of MEL’s SKUs designated by
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  MEL for sale in the Territory, MEL shall have the right       #:5254
                                                                     (without prejudice to its right in clause (i) above) to sell
  such declined SKU/s directly or through other distributors in the Territory, to the exclusion of Distributor, in
  each case (i) and (ii) upon forty-five (45) days written notice to Distributor and KO of its intention to do so;
  provided that such Distribution Refusal continues to exist for such forty-five (45) day period. MEL’s right to sell
  or have sold such Products shall be limited to the portion of the Territory for which such distribution has been
  declined. The “International Distribution Coordination Agreement” means the Amended and Restated
  International Distribution Coordination Agreement dated [DATE] between KO and MEL and MEC.

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          i.       If, after the Effective Date, MEL determines to sell or otherwise distribute any Product or any
  SKU of any Product (“Product SKUs”) in the Territory not previously sold or distributed by Distributor (each a
  “New Product SKU”), prior to launching or otherwise commencing the sale or other distribution of such New
  Product SKU, MEL shall provide Distributor the right to distribute such New Product SKUs, subject to the terms
  of this Agreement (and subject to and without limiting MEL’s obligations to KO under the International
  Distribution Coordination Agreement). If Distributor declines to sell and distribute such New Product SKUs in
  the Territory within fifteen (15) days of MEL’s request that such New Product SKUs be added, then MEL shall
  have the right and option, in MEL’s sole and absolute discretion, to sell and distribute such refused New Product
  SKUs directly or through other distributors selected by MEL, to the exclusion of Distributor; provided that MEL
  gives such Distributor an additional fifteen (15) days written notice of MEL’s intention to do so and Distributor
  does not commence and continue purchasing from MEL and selling such refused New Product SKUs within
  such additional fifteen (15) day period. MEL’s right to sell or have sold such New Product SKUs shall be
  limited to the portion of the Territory for which such distribution has been declined.

  3.       Distributor’s Duties. Distributor shall:

           a.     Use commercially reasonable good faith efforts (i) to actively and diligently promote, solicit and
  push vigorously the wide distribution and sale of the Products to Distributor’s Accounts in the Territory, and
  (ii) to develop and exploit the full potential of the business of distributing, Marketing (as defined below) and
  selling the Products throughout the Territory by creating, stimulating and expanding continuously, the future
  demand for the Products and satisfying fully and in all respects, the current demand therefor (except to accounts
  reserved for MEL pursuant to Exhibit C and those MMM Accounts (as defined below) that are serviced directly
  by MEL in accordance with Section 14). For the purposes of this Section 3 and Section 13(a) below,
  “Marketing” means trade marketing, local marketing and local Product promotions in the Territory;

         b.       Use commercially reasonable good faith efforts to actively and diligently develop new business
  opportunities for Products in Distributor’s Accounts in the Territory;

          c.          Use commercially reasonable good faith efforts to actively and diligently manage all of
  Distributor’s sub-distributors throughout the Territory to gain system alignment to promote the sale and
  distribution of Products;

         d.       Secure extensive in-store merchandising and optimal shelf positioning in Distributor’s Accounts
  in the Territory with respect to Products, except for those MMM Accounts serviced directly by MEL in
  accordance with Section 14 below;

          e.     Perform complete and efficient distribution functions to and in Distributor’s Accounts throughout
  the Territory;

         f.        Fully implement the Annual Business Plan (as defined and to be agreed upon from time-to-time
  in accordance with Section 13(b) below), and use commercially reasonable good faith efforts to achieve and
  maintain all of the objectives set with respect thereto as contemplated in Section 13(b) below;
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         g.     Achieve and maintain the Performance Targets (as defined and determined each calendar year in
  accordance with Section 13(d) below);

         h.           In relation to the sales of the Products only, permit MEL representatives to accompany
  Distributor’s salesmen on sales routes in the Territory, upon reasonable advance notice to Distributor;

          i.      Achieve optimum ambient and cold space, position, prominence, and visibility of the Products in
  all Distributor’s Accounts in the Territory, except for those MMM Accounts serviced directly by MEL in
  accordance with Section 14 below;

         j.        Promote and maintain an efficient, viable and financially sound system of distribution for the
  Products in Distributor’s Accounts throughout the Territory, except for those MMM Accounts serviced directly
  by MEL in accordance with Section 14 below;

         k.      Provide the resources necessary for the sale, delivery, Marketing, promotion and servicing of the
  Products in Distributor’s Accounts within the Territory, except for those MMM Accounts serviced directly by
  MEL in accordance with Section 14 below;

          l.      Achieve and maintain Minimum Distribution Levels for the Products in Distributor’s Accounts
  (other than such non-exclusive Distributor’s Accounts as identified on Exhibit C) as agreed upon or determined
  in accordance with Section 13(c) below from time to time;

           m.       Perform and satisfy its obligations specified in Sections 10 and 13 below;

         n.     Provide such sales and Marketing information in relation to the Products as may be reasonably
  requested by MEL;

          o.       Comply with any applicable laws and regulations of or applicable in the Territory and shall be
  responsible for ensuring that all Product deliveries by Distributor within the Territory comply with all health,
  safety, environmental and other standards, specifications and other requirements imposed by law, regulation or
  order in the Territory, and applicable to the Products;

         p.     Assign such article numbers as may be utilized by Distributor from time to time for each Product
  and Product package to track sales information by its sales data collection system;

          q.        Cause all of its promotional and Marketing efforts and/or activities under this Agreement to be
  devoted solely to the Products. Unless approved by MEL’s prior written consent, it shall be a violation of this
  subsection for (i) Products to be placed by Distributor in Equipment (as defined below) branded with the
  trademark of an Energy Drink other than a Product, it being agreed that Distributor may place Products in
  Equipment branded with another beverage other than an Energy Drink; (ii) Energy Drinks other than Products to
  be placed by Distributor in Equipment branded for Products; (iii) sales materials for Products created by
  Distributor to include trademarks of products or Energy Drinks other than Products; (iv) Distributor distributing
  sales material created by Distributor including trademarks of Products; and (v) Distributor’s promotional pricing
  and/or promotional and/or Marketing activities and/or promotional and/or Marketing programs to apply to all or
  any Products in combination with all or any Energy Drinks other than Products sold by Distributor. It is not a
  violation of this subsection for Products to be ordered, sold, delivered, or merchandised by the same Person or in
  the same vehicles as other products;

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          r.           Invest all the capital and obtain and expend all the funds required for the organization,
  installation, operation, maintenance and replacement within the Territory of such warehousing, Marketing,
  distribution, delivery, transportation and other facilities and equipment as shall be necessary for Distributor to
  comply with its obligations under this Agreement;

          s.      For its own account, budget and expend such funds for advertising, Marketing and promoting the
  Products in the Territory as may be reasonably required by MEL to create, stimulate and sustain the demand for
  the Products in the Territory, provided that Distributor shall submit all advertising, Marketing and promotional
  projects relating to the Trademarks or the Products to MEL for its prior approval, and shall use, publish,
  maintain or distribute only such advertising, Marketing or promotional material relating to the Trademarks or the
  Products as MEL shall approve and authorize. MEL may agree from time to time and subject to such terms and
  conditions as it shall stipulate in each case to contribute financially to Distributor’s Marketing programs. MEL
  may also undertake, at its own expense and independently from Distributor, any additional advertising or sales
  promotion activities in the Territory it deems useful or appropriate;

          t.         Use commercially reasonable good faith efforts to allocate Products in Distributor Equipment
  consistent with the Annual Business Plan and to the extent (and in the form and manner) agreed between
  Distributor and MEL, including without limitation by including ***. “Distributor Equipment” shall mean any
  refrigeration equipment, coolers, barrels, vending machines or similar equipment provided by Distributor, or
  placed and maintained by Distributor in premises of Distributor’s customers within the Territory for use in
  relation to the refrigeration, display, Marketing, promotion, and/or sale of all or any beverages distributed and
  sold by Distributor in the Territory. “MEL Equipment” shall mean any refrigeration equipment, coolers, barrels,
  vending machines or similar equipment funded by MEL and/or its Affiliate/s or provided by MEL and/or its
  Affiliate/s to Distributor and placed in premises of Distributor’s customers within the Territory by Distributor for
  use in relation to the refrigeration, display, Marketing, promotion, and/or sale of all or any Products distributed
  and sold by Distributor in the Territory, *** and/or as may otherwise be agreed by the parties in writing from
  time to time. The appearance and branding of MEL Equipment shall be determined by MEL and/or its
  Affiliate/s in its discretion. Distributor Equipment and MEL Equipment shall be referred to collectively as the
  “Equipment;”

           u.        Take such steps and execute such documents as may be necessary to ensure that any MEL
  Equipment for use in relation to the refrigeration, display, Marketing, promotion, and/or sale of Products, and
  any licenses, entitlements, consents or other rights relating to the placement or location of MEL Equipment in a
  customer’s premises remains the exclusive, unencumbered property of MEL. Distributor shall maintain the MEL
  Equipment in good condition throughout the Term of this Agreement, ordinary wear and tear excepted. Upon
  termination of this Agreement Distributor shall deliver the MEL Equipment to MEL and/or its Affiliate/s at the
  location of such Equipment in the customers’ premises. As the bona fide depository of the MEL Equipment,
  Distributor undertakes to take all commercially reasonable steps for the proper storage, preservation and use of
  the MEL Equipment for as long as such MEL Equipment remains serviceable, and shall be responsible for any
  failure to do so. If for any reason any of the MEL Equipment is removed and not recovered,

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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  Distributor shall be liable for all loss and damages arising from Distributor’s breach of this Section 3(u).
  Distributor hereby agrees to pay MEL any loss or damages incurred by MEL with respect to replacing the MEL
  Equipment and securing the placement of the MEL Equipment. Distributor further agrees to maintain and to
  replace such Equipment at such reasonable intervals as are reasonably necessary;
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          v.       Use commercially reasonable good faith efforts to protect the reputation and goodwill of MEL,
  the Products, and the Trademarks, conduct business in a proper and businesslike manner and otherwise act in the
  best interests of MEL in relation to its Products, reputation and goodwill. Distributor shall not act or fail to act
  in any manner that would reasonably be expected to be detrimental to the brand image of MEL or the Products.
  [Distributor shall sell Products only to reputable and suitable Distributor’s Accounts consistent with the
  reputation and quality of MEC’s global brand.][NTD: TO BE OMITTED FROM EU AGREEMENTS]
  Distributor shall not engage in any activities or practices, or fail to engage in activities or practices, that would
  reasonably be expected to impair the value of or otherwise damage the reputation or goodwill of MEL, the
  Products, or the Trademarks;

          w.      Maintain in stock at all times a reasonably sufficient quantity of each Product/s in relation to the
  demand from Distributor’s Accounts in the Territory for at least a reasonable period based on such demand,
  subject to availability as provided by MEL; and

          x.        Promptly upon MEL’s reasonable request and at MEL’s expense, take such action and execute
  such document/s as may be necessary to assign or otherwise transfer to MEL or MEL’s designee, any
  registrations, licenses, permits, certificates, and governmental approvals that Distributor may have acquired in
  connection with, and only to the extent it solely relates to, the sale of Products in the Territory, in each case
  subject to and to the extent permissible under applicable law.

  4.       Prices.

          a.      The prices (“Selling Price”) to be paid by Distributor to MEL for the Products shall be reviewed
  and determined annually by MEL for the forthcoming year in its sole discretion after discussion with Distributor
  but shall be subject to adjustment in accordance with Section 4(c) below. The annual increases to the Selling
  Price will be communicated to Distributor no later than three (3) calendar months prior to implementation of
  price increases in a country within the Territory.

          b.      It is acknowledged that from time to time Distributor may be required by its customer/s to fix, for
  a period of up to twelve (12) months, the prices that Distributor may charge to its customer/s for certain
  Products. In such event, Distributor may request that MEL fix the prices to be paid by Distributor for the
  applicable Product/s to be resold to such customer/s. MEL shall promptly discuss such a request with
  Distributor in good faith and the parties will prepare and record any agreement in writing. Provided that MEL
  agrees to the foregoing in writing, MEL shall not adjust, for the same period that Distributor’s prices are fixed,
  the prices to be paid by Distributor for the applicable Product/s to the extent that (i) the applicable Product/s are
  to be supplied by Distributor to the customer in question, and (ii) Distributor is not entitled to pass on any price
  adjustments to such customer. Nothing contained in this Section 4(b) shall be construed as imposing any
  agreement or restriction on the right of either MEL to unilaterally determine the Selling Price or the right of
  Distributor to unilaterally determine Distributor’s own resale prices and terms of business.

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          c.         Notwithstanding anything to the contrary contained in this Agreement, in the event of any
  material change in the costs associated with production of the Products (including, but not limited to, a material
  change in the costs of ingredients, packaging materials, energy or freight costs related to the production and
  shipping of Products) at any time, then MEL may adjust the Selling Price of Products to Distributor to reflect
  such cost increase, effective thirty (30) days after written notice from MEL to Distributor of such change. MEL
  shall provide reasonable supporting documentation evidencing the material change in its costs of production and
  delivery, if requested by Distributor.


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          d.       All Selling Prices are exclusive of (i)      #:5258
                                                                    any costs of carriage and insurance of the Products, and
  (ii) any applicable value added or any other sales or similar tax, which shall be payable by Distributor.

  5.      Orders. All purchase orders for Products shall be transmitted in writing or electronically, shall specify a
  reasonable date and time for delivery to locations in the Territory agreed upon in writing between the parties
  from time to time with a lead time of at least ten (10) days and shall be subject to acceptance by MEL in MEL’s
  reasonable discretion. If MEL is unable to accept an order for any reason, then MEL will use commercially
  reasonable efforts to equitably allocate available Products to fill orders from its distributors and customers,
  including Distributor. In the event of any conflict or inconsistency between the terms of this Agreement and any
  purchase order, the terms of this Agreement shall govern. All such purchase orders shall be deemed acceptances
  of MEL’s offers to sell Products and shall limit acceptance by Distributor to the terms and conditions thereof.

  6.         Payment. MEL shall invoice Distributor on a monthly or other mutually agreed periodic basis and
  Distributor shall promptly pay MEL for the Products (a) in Sterling for Products sold in Great Britain, (b) in
  Euros for Products sold in Europe and (c) in a currency selected by MEL from time to time in all other
  Territories, provided that MEL provides Distributor twelve (12) months advance notice of any change in the
  currency selected for each such Territory and provided that such change is permitted by applicable laws, in full
  (without set off, deduction or counter claim) by electronic transfer within *** of the date of the relevant invoice
  or such other period as may be agreed by MEL from time to time in writing. Distributor and MEL shall use a
  mutually agreeable method of electronic settlement of accounts that Distributor reasonably approves which may
  include ACH or Xign, Distributor’s current electronic invoice presentment system. If Distributor is delinquent
  in payment upon presentation of invoice and remains delinquent for seven (7) days after written notice calling
  upon Distributor to pay, Distributor shall reimburse MEL for any costs and expenses incurred by MEL in
  collecting such delinquent amounts, including, without limitation, legal fees and costs including fees of
  collection agencies, and interest computed at the *** percent *** per month or part thereof from the due
  date(s) or the maximum legally permissible rate. MEL reserves the right by giving reasonable notice to
  Distributor to establish in its sole discretion the conditions of shipment and payment and, subject to the first
  sentence of this Section 6, the currency or currencies acceptable to MEL in payment and to designate the supply
  point and/or alternate supply points for each of the Products.

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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  7.     Title and Risk of Loss. Title and risk of loss to the Products shall pass to Distributor upon delivery of the
  Products to Distributor.

  8.       Forecast and Delivery.

          a.      Distributor shall provide MEL with *** forecasts describing the volume of each SKU of Products
  that Distributor projects will be ordered during each *** period during the Term (as defined below) of this
  Agreement. Distributor shall submit each updated forecast monthly in a format reasonably acceptable to MEL
  no later than the first day of each month during the Term.

          b.     Unless otherwise agreed in writing by the parties to this Agreement, the Products will be tendered
  by MEL for delivery to Distributor in full truckload quantities of particular Product lines and extensions but
  without combining different Product lines in the same truckloads. By way of example, Monster Green (i.e.
  Monster’s original product) and its extensions and Java Monster and its extensions are different particular
  Product lines. Subject to Distributor providing MEL forecasts in accordance with Section 8(a) above, MEL
  agrees to use commercially reasonable good faith efforts to deliver Products to Distributor within *** of receipt
  by MEL of the applicable purchase orders for Products in compliance with Sections 5 and 8(a) above to
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  (i) Distributor, in the case of Products delivered #:5259      from the point of manufacture to Distributor by ground
  transportation, and (ii) the shipper, in the case of delivery of the Products to Distributor which involves shipment
  by sea. MEL shall deliver to Distributor Products with at least *** shelf life remaining at the time of delivery or
  such other period as may be agreed to between MEL and Distributor with respect to any specific Products.
  Notwithstanding the foregoing, Distributor acknowledges that delivery dates set forth in purchase orders for
  Products accepted by MEL are merely approximate and that MEL shall have no liability for late deliveries,
  except only for fines, penalties and assessments imposed by Distributor’s customers and actually paid by
  Distributor which arise solely and directly as a result of MEL’s failure to comply with its obligations under this
  Section 8.

  9.       Trademarks.

          a.           Distributor acknowledges the respective exclusive right, title, and interest in and to the
  Trademarks and trade names of MEC and/or its Affiliates, whether or not registered, patents, patent applications,
  and all rights in inventions (whether or not patentable) (collectively, “Patents”), copyrights and copyrightable
  material (collectively, “Copyrights”) and trade secrets and know-how (collectively, “Know-How”) which MEC
                                    -
  and/or its Affiliates may have at any time created, adopted, used, registered, or been issued in the United States
  of America, the Territory or in any other location in connection with MEC’s business or the Products and
  Distributor shall not do, or cause or permit to be done, any acts or things contesting or in any way impairing or
  tending to impair any portion of MEC’s right, title, and interest in and to the Trademarks, trade names, Patents,
  Copyrights, and Know-How. Any approval by MEL for Distributor to use any Trademarks, trade names,
  Patents, Copyrights, trade secrets and Know-How in connection with the distribution and sale of the Products
  shall be a mere temporary permission, uncoupled with any right or interest, and without payment of any fee or
  royalty charge for such use.

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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          b.      Distributor shall not use any trademark, name, brand name, logo or other production designation
  or symbol in connection with Products other than the Trademarks, subject to the terms of this Section 9. It will
  not be a breach of this Section for the Products to be delivered by Distributor in vehicles, or using employees,
  agents, assigns or sub-distributors wearing clothing, displaying any other trademark, name, brand name, logo or
  other products designation or symbol. Distributor acknowledges that it has no right or interest in the Trademarks
  (except as expressly permitted hereunder) and that any use by Distributor of the Trademarks will inure solely to
  MEC’s benefit. Distributor may only use the Trademarks in strict accordance with MEL’s policies and
  instructions, and MEL reserves the right, from time to time and at any time, at its discretion, to modify such
  policies and instructions then in effect.

          c.       Any proposed use by Distributor of the Trademarks (to the extent that it either has not been
  previously approved by MEL in writing or differs materially from a use previously approved by MEL in writing)
  shall be subject to the prior written consent of MEL, which MEL may withhold in its sole and absolute
  discretion. Distributor shall submit to MEL in writing each different proposed use of the Trademarks in any
  medium.

         d.        Distributor shall not at any time alter the Trademarks or the packaging of Products, use the
  Trademarks for any purpose other than the promotion, advertising and sale of Products hereunder, or challenge
  the validity, or do or refrain from doing any act which might result in impairment of the value, of the
  Trademarks. Distributor shall not cause or permit its business name to include any of the Trademarks or its
  business to be operated in a manner which is substantially associated with any of the Trademarks.

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          e.       In advertising, promotions or in any#:5260     other manner so as to identify Products, Distributor shall
  clearly indicate MEC’s ownership of the Trademarks. Distributor further agrees that before distributing or
  publishing any sales literature, promotional or descriptive materials, MEL shall have the right, upon request, to
  inspect, edit and approve such materials which illustrate, describe or discuss the Products. Distributor shall
  comply with any Trademark usage guidelines that MEL provides to it in writing.

         f.          Upon the termination of this Agreement, the temporary permission granted under sub-
  Section 9(a) above will terminate and Distributor shall immediately cease and desist from any use of the
  Trademarks and any names, marks, logos or symbols similar thereto and the use of any Patents, Copyrights and
  Know-How.

          g.          Distributor shall (i) notify MEL of any actual or suspected misuse or infringement of any
  Trademark, brand name, logo or other production designation or symbol in the Territory, (ii) at MEL’s expense
  and upon MEL’s request, assist in such legal proceedings as MEL will deem necessary for the safeguard of any
  Trademark, brand name, logo or other production designation or symbol in the Territory, and execute and deliver
  in accordance with MEL’s request such documents and instruments as may be necessary or appropriate in the
  conduct of such proceedings, and (iii) at MEL’s expense, assist MEC and MEL in the registration and/or renewal
  of registration of any Trademark, brand name, logo or other production designation or symbol in the Territory as
  MEC or MEL may determine to be necessary or desirable, and execute such documents and instruments as may
  be necessary to register or to apply for the registration (or registration renewal) of such Trademark, brand name,
  logo or other production designation or symbol.

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          h.       Distributor shall not acquire or attempt to acquire, for itself or for others, any rights in or to the
  Patents, Copyrights, Know-How, Trademarks, or any names, marks, logos or symbols confusingly similar
  thereto, either through registration or use. All rights granted to Distributor concerning the Trademarks, Patents,
  Copyrights, and Know-How are personal to Distributor, and are not assignable (except in accordance with
  Section 23) or sublicensable (except to a sub-distributor in accordance with Section 2(a)). Subject to
  Distributor’s rights under Sections 2 and 23, Distributor shall not grant or attempt to grant any rights in or to the
  Trademarks, Patents, Copyrights, and Know-How to any other Person.

          i.         If during the Term a third party institutes against MEC, MEL or Distributor any claim or
  proceeding that alleges that the use of any Trademark or any Know-How, Patent, trade secret or Copyright in
  connection with the distribution, marketing, promotion, merchandising and/or sales of the Products under this
  Agreement infringes the intellectual property rights held by such third party, then MEL shall, in its sole
  discretion, and at its sole expense, contest, settle, and/or assume direction and control of the defense or
  settlement of, such action, including all necessary appeals thereunder. Distributor shall use all reasonable efforts
  to assist and cooperate with MEL in such action, subject to MEL reimbursing Distributor for any reasonable out-
  of-pocket expenses incurred by Distributor in connection with such assistance and cooperation. If, as a result of
  any such action, a judgment is entered by a court of competent jurisdiction, or settlement is entered by MEL,
  such that any Know-How, Patent, trade secret, Copyright or Trademark cannot be used in connection with the
  distribution, marketing, promotion, merchandising and/or sales of the Products under this Agreement without
  infringing upon the intellectual property rights of such third party, then MEC, MEL and Distributor promptly
  shall cease using such affected Know-How, Patent, trade secret Copyright or Trademark in connection with the
  distribution, marketing, promotion, merchandising and/or sale of the Products under this Agreement. Except as
  otherwise specified in this Agreement, neither party shall incur any liability or obligation to the other party
  arising from any such cessation of the use of the affected Trademark.

          j.      If MEL, for the purposes of this Agreement, should reasonably require that, in accordance with
  applicable laws governing the registration and licensing of intellectual property, Distributor be recorded as a
  registered user or licensee of the Trademarks then, at the request and expense of MEL, Distributor will execute
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  any and all agreements and such other documents as            #:5261
                                                                  may be necessary for the purpose of entering, varying or
  canceling the recordation.

  10.        Promotion and Trade Marketing of Products. Distributor shall be responsible for promotion and
  Marketing of the Products to Distributor’s Accounts within the Territory. Distributor shall use commercially
  reasonable efforts to actively and diligently distribute and encourage the utilization of merchandising aids and
  promotional materials in all Distributor’s Accounts throughout the Territory. Without in any way detracting
  from the foregoing, Distributor shall reasonably participate in and diligently implement all Marketing and
  promotional programs that are mutually agreed upon by MEL and Distributor from time to time. Distributor
  acknowledges that (a) MEL has no obligation to market and promote the Products, and (b) MEL makes no, and
  hereby disclaims any, express or implied warranty, representation, or covenant relating to or in connection with
  MEL’s marketing and promotional activities including any Global Branding and Marketing activities (as defined
  in Section 13(a) below), including without limitation, as to the value, performance, extent, effectiveness,
  quantity, quality, success or results of any such activities or the lack thereof. Except as expressly provided in
  Section 19 below, Distributor shall have no claim against MEL and its Affiliates and hereby releases

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  MEL and its Affiliates from all and any claims by, and/or liability to, Distributor of any nature for their failure to
  market and promote, or adequately market and promote, the Products or arising from or relating to or in
  connection with any Global Branding and Marketing activities procured, provided or performed by MEL and/or
  its Affiliates or MEL’s and/or its Affiliates’ failure to procure, provide or perform such activities.

  [NTD: Alternate provision for use with NON EEA Agreements. If this provision is used, delete the
  alternative Section 11 below.]

  11.     Term. Unless terminated by either party pursuant to the terms of this Agreement, the initial term of this
  Agreement shall commence on the Effective Date and shall end on the fifth (5th) anniversary of the
  Commencement Date (the “Initial Term”). After the Initial Term, this Agreement may be renewed for up to
  three (3) further successive five (5)-year terms (“Additional Term/s”) if (a) either party gives written notice to
  the other at least one hundred twenty (120) days prior to the end of the Initial Term or applicable Additional
  Term, as the case may be, of its intention to renew the Agreement for an Additional Term, and (b) the provisions
  of Sections 2(a), 2(b) and 21 of this Agreement are valid and enforceable in accordance with their respective
  terms during the applicable Additional Term. If MEL reasonably determines that it is necessary or desirable that
  the parties execute an additional agreement or instrument in order for the provisions of Sections 2(a), 2(b) and
  21 to be valid and enforceable, then the parties agree to execute such documents as may reasonably be required
  to give effect to the foregoing. A “Contract Year” means any calendar year during the Term and the period from
  the Commencement Date until the close of business on December 31st of the calendar year in which the
  Commencement Date falls. The Initial Term and any Additional Terms are collectively referred to as the
  “Term.”

  [NTD: Alternate provision for use with EEA Agreements. If this provision is used, delete the alternative
  Section 11 above.]

  11.     Term. Unless terminated by either party pursuant to the terms of this Agreement, the initial term of this
  Agreement shall commence on the Effective Date and shall end on the fifth (5th) anniversary of the
  Commencement Date (the “Initial Term”). After the Initial Term, this Agreement may be renewed for up to
  three (3) further successive five (5)-year terms and one (1) further successive term of such duration that, if all
  renewals occur, the aggregate period of the Initial Term and all Additional Terms (including the fourth and final
  Additional Term) shall equal two hundred forty (240) months, but in no event shall such fourth and final
  Additional Term exceed twenty four (24) months (“Additional Term/s”) if (a) either party gives written notice
  (the “Renewal Notice”) to the other at least one hundred twenty (120) days but not more than one hundred
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  eighty (180) days prior to the end of the Initial Term       #:5262
                                                                  or applicable Additional Term, as the case may be, of its
  intention to renew the Agreement for an Additional Term, and (b) the provisions of Sections 2(a), 2(b) and 21 of
  this Agreement are valid and enforceable in accordance with their respective terms during the applicable
  Additional Term. If Distributor gives the Renewal Notice, the applicable Additional Term shall commence with
  effect from the date of exercise of the applicable renewal option. If MEL gives the Renewal Notice, then
  Distributor shall have the option to reject such renewal by giving MEL written notice of such rejection (the
  “Rejection Notice”) within thirty (30) days of the date of MEL’s exercise of its right to renew the Agreement
  (the “Objection Period”). If Distributor gives MEL the Rejection Notice within the Objection Period, then this
  Agreement shall not be renewed and shall expire at the end of the Initial Term or applicable Additional Term, as
  the case may be. If Distributor fails to give

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  MEL the Rejection Notice within the Objection Period, then this Agreement shall be deemed to have been
  renewed (and the applicable Additional Term shall commence) with effect from the end of the Objection Period.
  Without prejudice to Distributor’s right to reject MEL’s renewal as provided above, if MEL reasonably
  determines that it is necessary or desirable that the parties execute an additional agreement or instrument in order
  for the provisions of Sections 2(a), 2(b) and 21 to be valid and enforceable, then the parties agree to execute
  such documents as may reasonably be required to give effect to the foregoing. A “Contract Year” means any
  calendar year during the Term and the period from the Commencement Date until the close of business on
  December 31st of the calendar year in which the Commencement Date falls. The Initial Term and any
  Additional Terms are collectively referred to as the “Term.”

  12.      Termination.

           a.       Termination for Cause.

               i.      Termination By Either Party. Without prejudice to its other rights and remedies under this
  Agreement and those rights and remedies otherwise available in equity or at law, either party may terminate this
  Agreement on the occurrence of one or more of the following:

                         A.       Breach. A party’s material breach of a provision of this Agreement and failure to
  cure such breach within thirty (30) days after receiving written notice describing such breach in reasonable detail
  from the non-breaching party; provided, however, if such breach is of a nature that it cannot reasonably be cured
  within thirty (30) days, then the breaching party shall have an additional forty-five (45) day period to cure such
  breach, providing it immediately commences, and thereafter diligently prosecutes, in good faith, its Best Efforts
  to cure such breach. In the event that either MEL or Distributor exercises its right to terminate this Agreement
  in accordance with this Section 12(a)(i)(A), the breaching party shall be obligated to pay the other party a
  severance payment measured as a genuine pre-estimate of the other party’s losses and not as a penalty (the
  “Breach Severance Payment”) in the amount calculated as follows: Distributor’s “average gross profit per case”
  (as defined below) multiplied by the number of cases of Products sold by Distributor during the most recently
  completed twelve (12) month period ended on the last day of the month preceding the month in which this
  Agreement is terminated. Distributor’s “average gross profit per case” shall mean Distributor’s actual selling
  price less (1) promotion allowances, discounts, free cases and allowance programs, and (2) Distributor’s laid in
  cost of the Products.

                          B.      Insolvency. The other party (1) makes any general arrangement or assignment for
  the benefit of creditors, (2) becomes bankrupt, insolvent or a “debtor” as defined in 11 U.S.C. § 101, or any
  successor statute (unless such petition is dismissed within sixty (60) days after its original filing), (3) has
  appointed a trustee or receiver to take possession of substantially all of such party’s assets or interest in this
  Agreement (unless possession is restored to such party within sixty (60) days after such taking), or (4) has
  substantially all of such party’s assets or interest in this Agreement (unless such attachment, execution or judicial
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  seizure is discharged within sixty (60) days after #:5263      such attachment, execution or judicial seizure) attached,
  executed, or judicially seized.

                             C.      Agreement. Mutual written agreement of the parties.

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                             D.       Deadlock.

                                 (1)        If (a) the parties are unable to agree upon Performance Targets, Annual
  Business Plan or Minimum Distribution Levels, or (b) if Distributor has failed to achieve the applicable
  Performance Targets, Annual Business Plan or Minimum Distribution Levels or fails to comply with any
  specific requirements of Distributor under this Agreement, including Section 3 (Distributor’s Duties), Section 10
  (Trade Marketing and Promotional Programs), Section 13(f) (sales velocity), and Section 13(g) (promotional
  activities), in any material respect, commencing with the [2015] Contract Year in accordance with Sections
  13(b), 13(c) and 13(d) respectively, (clauses (a) and (b) above, collectively referred to as a “Deadlock”) then
  either party may, at any time after providing the other party with written notice identifying the specific issues
  resulting in the Deadlock and making a good faith attempt to resolve the Deadlock with the other party, but not
  more than three (3) times per twelve (12) month period, upon written notice to the other party (the “Meet and
  Confer Notice”), require that representatives of the other party’s senior management meet and confer with
  representatives of the notifying party’s senior management at the dates, times and place reasonably agreed by the
  parties. Such meet and confer shall begin no later than seven (7) days after the other party’s receipt of such
  Meet and Confer Notice and shall end no later than fifteen (15) days after the other party’s receipt of such Meet
  and Confer Notice (the “Initial Meeting Period”). Representatives of the parties’ senior management shall meet
  and confer during such Initial Meeting Period until (x) resolution of the Deadlock to the parties’ mutual
  satisfaction or (y) conclusion of the Initial Meeting Period, whichever occurs first.

                                 (2)        If the parties are unable to resolve the Deadlock in accordance with
  Section 12(a)(i)(D)(1) above, then either party may, at any time after the Initial Meeting Period, upon written
  notice to the other party and to KO (the “Second Meet and Confer Notice”), require representatives of the other
  party’s senior management and representatives of management of the applicable KO business unit (and/or at
  MEL’s reasonable request, such other representative of senior management of KO), to meet and confer with
  representatives of the notifying party’s senior management at the dates, times and place reasonably agreed by
  MEL, Distributor and KO (including via videoconference or teleconference). Such meet and confer shall begin
  no later than seven (7) days after the other party’s and KO’s receipt of such Second Meet and Confer Notice and
  shall end no later than twenty-one (21) days after the other party’s and KO’s receipt of such Second Meet and
  Confer Notice (the “Second Meeting Period”). Representatives of the parties’ and the applicable KO business
  unit’s senior management (and/or at MEL’s reasonable request, such other representative of senior management
  of KO), shall meet and confer during such Second Meeting Period until (x) resolution of the Deadlock to the
  parties’ and KO’s satisfaction or (y) conclusion of the Second Meeting Period, whichever occurs first. For the
  avoidance of doubt and without limiting Section 12(a)(i)(D)(5) below, in the event that, after KO’s receipt of the
  Second Meet and Confer Notice, such representative of KO’s applicable business unit does not participate in
  accordance with the foregoing, MEL shall have the option of waiving such requirement that such KO
  representative participate and proceeding with the Second Meeting Period without a KO representative.

                                (3)    If, after the Second Meeting Period, the parties are unable to resolve the
  Deadlock in accordance with Section 12(a)(i)(D)(1) and Section 12(a)(i)(D)(2) above, then the Deadlock shall
  be resolved by reference as follows:

                                         (x)      Reference proceedings may be commenced by either party by
  giving the other party written notice thereof. Any such reference shall take place before a single referee only in
  Orange County, California or via videoconference or teleconference. The referee
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  shall be an experienced industry expert selected jointly by the parties, or if they cannot agree on a referee within
  ten (10) days from the commencement of the reference proceedings, then, upon the petition of either party, the
  experienced industry expert shall be appointed within ten (10) days by the American Beverage Association.

                                        (y)     The Deadlock shall be submitted to the referee within ten (10) days
  after the referee is appointed. No discovery will be permitted and no hearing will be held, except such informal
  proceedings as the referee may require. Each party shall submit to the referee and the other party within such
  ten (10) day period such written information and statements as that party deems appropriate in support of its
  claim not exceeding five (5) pages in length (excluding exhibits), together with such information as the referee
  may require. Each party shall concurrently submit to the referee and exchange with each other its last and best
  position with respect to each separate issue subject to Deadlock (“Position”) to resolve the Deadlock. Within
  fourteen (14) days of the date that the parties were required to submit their respective written submissions, the
  referee shall select one of the two written Positions submitted with respect to each separate issue subject to
  Deadlock, without change or modification.

                                       (z)       Each party shall pay one-half of the referee’s fees and otherwise
  bear its own costs associated with the reference proceeding; provided, that the party whose Position is not
  selected by the referee (the “Non-Prevailing Party”) shall not be obligated to reimburse the party whose position
  was selected by the referee (the “Prevailing Party”) for the referee’s fees and costs relating to the proceeding
  paid by such party.

                                 (4)      The Non-Prevailing Party shall have no right to terminate this Agreement
  or seek any other remedy with respect to the issue for which it was the Non-Prevailing Party, and the Position
  selected by the referee shall be binding upon the parties.

                               (5)     Notwithstanding anything to the contrary contained in this Section 12(a)(i)
  (D), the parties acknowledge and agree that:

                                 (x) the failure of KO or its applicable business unit’s senior management to attend
  or participate in, or otherwise perform, all or any of the duties, functions or activities described above will not
  affect the validity or enforceability of any part or result of the procedure in this Section 12(a)(i)(D).

                                  (y) If either party is the Prevailing Party two consecutive times in any twelve (12)
  month period for any issue resulting in a Deadlock, then, after providing at least five (5) days written notice to
  KO, with a copy to KO’s Chief Executive Officer and Chief Financial Officer, of MEL’s intention to terminate
  this Agreement (if MEL is the Prevailing Party), such Prevailing Party shall have the option to terminate this
  Agreement upon thirty (30) days written notice to the other party; provided that if MEL is such terminating
  party, MEL shall pay Distributor a Breach Severance Payment (and neither party shall be liable by reason of
  such termination of this Agreement or Deadlock pursuant to this Section 12(a)(i)(D) for payment of any other
  amount, including, without limitation, for compensation, reimbursement or damages of whatsoever nature
  including for loss of prospective compensation or earnings, goodwill or loss thereof, or expenditures,
  investments, leases of any type or commitment or type of commitment made in connection with the business of
  either party or in reliance on the existence of the Agreement).

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                                  (z) If the Non-Prevailing    #:5265 Party materially fails to comply with the Position
  selected by the referee within a sixty (60) day period (or, if the Non-Prevailing Party cannot reasonably comply
  with such Position within such sixty (60) days, an extended period of no longer than an additional four
  (4) months) following such selection, then, after providing at least five (5) days written notice to KO (with a
  copy to KO’s Chief Executive Officer and Chief Financial Officer) of the Prevailing Party’s intention to
  terminate this Agreement, the Prevailing Party may, without prejudice to any other rights or remedies available
  to it under this Agreement or applicable law, give notice of such breach in accordance with, and thereafter
  invoke the remedy provided under, Section 12(a)(i)(A) above; provided that neither party shall be required to
  pay a Breach Severance Payment in such event (and neither party shall be liable by reason of such termination of
  this Agreement or Deadlock pursuant to this Section 12(a)(i)(D) for payment of any other amount, including,
  without limitation, for compensation, reimbursement or damages of whatsoever nature including for loss of
  prospective compensation or earnings, goodwill or loss thereof, or expenditures, investments, leases of any type
  or commitment or type of commitment made in connection with the business of either party or in reliance on the
  existence of the Agreement).

                        (6)       Nothing contained in this Section 12(a)(i)(D) shall be construed as limiting,
  restricting or delaying either party’s ability to exercise its rights and/or remedies under Section 12(a)(i)
  (A) above.

                    ii.      Termination by MEL. MEL may terminate this Agreement at any time:

                         A.        Upon written notice, and such termination will be effective immediately upon
  Distributor’s receipt of such notice, (x) if Distributor sells, assigns, delegates or transfers any of its rights and
  obligations under this Agreement without having obtained MEL’s prior written consent thereto (which consent
  may be withheld in MEL’s sole discretion), provided that MEL shall not withhold its consent if such sale,
  assignment, delegation or transfer is (1) to a Primary KO Distributor (as defined below), (2) to KO or an
  Affiliate of KO, or (3) a result of an Approved Change of Control (as defined below), or (y) if there is any
  material change in the control of Distributor or Distributor sells all or substantially all of its assets without the
  prior written consent of MEL, other than if such material change in control or sale is (1) to a Primary KO
  Distributor, (2) to KO or an Affiliate of KO, or (3) to any Person to the extent Distributor remains a Primary KO
  Distributor. “Primary KO Distributor” means a KO Distributor holding the exclusive right to distribute (or that
  otherwise is the primary distributor of) Coca-Cola brand products in an applicable territory. “Approved Change

                                                                                                    -
                                                                                                        -
  of Control” means any change of control of Distributor or sale of all or substantially all of Distributor’s assets
  that is consented to by MEL or for which MEL’s consent is not required hereunder.

                        B.      Upon the occurrence of an MEC Change of Control (as defined in the International
  Distribution Coordination Agreement), MEL shall have the option to terminate (1) this Agreement in its entirety
  (a “Complete Termination”) or (2) if the Territory comprises more than one market, Distributor’s right to sell
  Products in a portion of the Territory (a “Partial Territory Termination”), which option may be exercised within
  sixty (60) days of the occurrence of such MEC Change of Control, by written notice by MEL to Distributor.
  Any such termination shall be effective upon Distributor’s receipt of MEL’s written notice of termination.
  MEL’s right to terminate this Agreement under this Section 12(a)(ii)(B) shall be MEL’s sole right to terminate
  this Agreement for an MEC Change of Control and independent of any other rights or remedies of MEL under
  this Agreement.

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                                       (x)     In the event of a Complete Termination, MEL or its successor, as
  the case may be, shall pay to Distributor an amount equal to a Breach Severance Payment calculated in
  accordance with Section 12(a)(i)(A) above (the “Product Severance Payment”).


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                                            (y)             In #:5266
                                                                the event of a Partial Territory Termination, MEL or its
  successor, as the case may be, shall pay to Distributor a severance payment with respect to the Products which
  are the subject of the termination, calculated on the same basis as the Breach Severance Payment in accordance
  with Section 12(a)(i)(A) above, but only with respect to that portion of the Territory which is the subject of the
  Partial Territory Termination (the “Territory Severance Payment”).

                                      (z)      Any Product Severance Payment or Territory Severance Payment
  payable by MEL to Distributor in accordance with Section 12(a)(ii)(B)(x) or 12(a)(ii)(B)(y) shall be paid by
  MEL to Distributor within thirty (30) days of the later of (I) the date of the applicable termination, and
  (II) MEL’s receipt of all information reasonably necessary to support computation of the Product Severance
  Payment or Territory Severance Payment, as the case may be, in a form and substance satisfactory to MEL.

                    iii.     [INTENTIONALLY OMITTED]

                  iv.      Termination Upon the Occurrence of Certain Changes. If, after the Effective Date, a
  change in legal or regulatory conditions in the Territory occurs including, without limitation, any change in any
  applicable law, regulation or order, or the interpretation of any law, regulation or order in the Territory which has
  had or would be reasonably expected to (A) have a material adverse effect on the business of distributing
  Products in that Territory, (B) prevent Distributor from legally obtaining foreign exchange to remit abroad
  payment for the Products; or (C) result in any part of this Agreement ceasing to be in conformity with the laws
  or regulations applicable in the Territory and, as a result thereof, or as a result of any other laws affecting this
  Agreement, any one of the material provisions of this Agreement cannot be legally performed and/or the
  Products cannot be stored, transported, handled, distributed or sold in accordance with this Agreement, either
  party may, upon written notice, suspend or terminate the parties’ respective rights and obligations under this
  Agreement solely with respect to (1) the affected Products in the Territory, or, (2) to the extent such change and
  conditions affects the business of distribution of all or substantially all of the Products in the Territory, all
  Products in the affected portion of the Territory without liability for damages; provided that neither MEL nor
  any of its Affiliates shall be permitted to sell any such Products subject to suspension or termination in the
  affected Territory without first providing Distributor the option to remove the cause for such suspension or re-
  enter into the Agreement with respect to such Products and Territory. In the event of any such suspension that
  materially adversely effects Distributor’s benefits or obligations hereunder, Distributor shall have the option to
  terminate this Agreement in its entirety upon written notice to MEL.

         b.      Optional Termination. MEL shall have the right to terminate this Agreement upon written notice
  to Distributor (i) in the event of termination or expiration of the International Distribution Coordination
  Agreement pursuant to and in accordance with its terms and/or (ii) if Distributor is no longer a party to any
  agreement with KO regarding the distribution of Coca-Cola brand products in the Territory. Neither KO, MEL
  nor Distributor shall be liable to any other party or otherwise obligated to pay to any other party any severance
  payment or other amount by reason of

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  such termination for compensation, reimbursement or damages of whatsoever nature including, for (A) loss of
  prospective compensation or earnings, (B) goodwill or loss thereof, or (C) expenditures, investments, leases of
  any type or commitment or type of commitment made in connection with the business of either party or in
  reliance on the existence of this Agreement, other than any fees required to be paid by MEL pursuant to the
  International Distribution Coordination Agreement.

          c.       International Distribution Coordination Agreement. Notwithstanding anything to the contrary
  herein, MEL shall not have the right to terminate this Agreement with respect to any action or circumstance
  approved by MEL pursuant to Section 4.8 of the International Distribution Coordination Agreement, unless KO
  consents to such termination in writing in advance.
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           d.       Sole Remedy.

                  i.          The Breach Severance Payment, Product Severance Payment and/or the Territory
  Severance Payment payable by MEL to Distributor, pursuant to the provisions of this Section 12, if any, and
  MEL’s repurchase of Distributor’s inventory of Products, advertising materials and MEL Equipment pursuant to
  Section 12(e)(iv) below, or Distributor’s right to sell such inventory if not so repurchased by MEL, shall
  constitute Distributor’s sole and exclusive remedy for the termination or non-renewal of this Agreement,
  including, without limitation, in the case of a breach and shall be in lieu of all other claims that Distributor may
  have against MEL as a result thereof. Without in any way detracting from or limiting the provisions of Sections
  12(e)(iii) and 12(e)(v) below and, in addition thereto, under no circumstances shall MEL be liable to Distributor
  by reason of the termination or non-renewal of this Agreement for compensation, reimbursement or damages of
  whatsoever nature including, without limitation, for (A) loss of prospective compensation or earnings,
  (B) goodwill or loss thereof, or (C) expenditures, investments, leases of any type or commitment or type of
  commitment made in connection with the business of Distributor or in reliance on the existence of this
  Agreement.

                  ii.     The Breach Severance Payment payable by Distributor to MEL pursuant to the provisions
  of this Section 12, if any, and MEL’s repurchase of Distributor’s inventory of Products, advertising materials and
  MEL Equipment pursuant to Section 12(e)(iv) below, or Distributor’s right to sell such inventory if not so
  repurchased by MEL, shall constitute MEL’s sole and exclusive remedy for the termination or non-renewal of
  this Agreement, including, without limitation, in the case of a breach and shall be in lieu of all other claims that
  MEL may have against Distributor as a result thereof. Without in any way detracting from or limiting the
  provisions of Sections 12(e)(iii) and 12(e)(v) below and, in addition thereto, under no circumstances shall
  Distributor be liable to MEL by reason of the termination or non-renewal of this Agreement for compensation,
  reimbursement or damages of whatsoever nature including, without limitation, for (A) loss of prospective
  compensation or earnings, (B) goodwill or loss thereof, or (C) expenditures, investments, leases of any type or
  commitment or type of commitment made in connection with the business of MEL or in reliance on the
  existence of this Agreement.

         e.      Other Terms Pertaining to Termination. In the event of the termination of this Agreement for any
  reason whatsoever (and whether such termination is due to the breach of any of the provisions of this Agreement
  by any party and/or itself is in breach of the Agreement or otherwise):

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                i.         MEL shall have the right to cancel all of Distributor’s purchase orders for affected
  Products accepted but remaining unfilled as of the date of termination;

                ii.     All amounts payable by Distributor to MEL or by MEL to Distributor shall be accelerated
  and shall immediately become due unless such termination results from the other’s breach of this Agreement;

                  iii.     Except for the sole remedy provisions in Sections 12(d)(i) and (ii), neither party shall be
  liable to the other party in contract, tort or on any other theory of liability for any damage, loss, cost or expense
  (whether general, special, indirect, incidental, consequential or punitive) suffered, incurred or claimed by the
  other party as a result of or related to such breach and/or termination (even if the termination results from a
  breach and the breaching party has been advised of the possibility of such damages), including, without
  limitation, loss of anticipated profits or goodwill, loss of or damage to goodwill or business reputation or any
  loss of investments or payments made by either party in anticipation of performing under this Agreement;

                 iv.      MEL and Distributor shall each have the option, exercisable upon written notice to the
  other within thirty (30) days after the date of termination hereof, to cause MEL to (A) repurchase all affected
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  Products in Distributor’s inventory and current advertising    #:5268 materials (providing such Products and advertising
  materials are in saleable condition) at the prices paid or payable for such Products by Distributor (less any
  freight and insurance charges), F.O.B., Distributor’s premises and (B) purchase all of Distributor’s right, title and
  interest in, and all applicable rights in, related to, or associated with, all MEL Equipment and the placement or
  location of such MEL Equipment at all Distributor’s customers’ locations or premises by Distributor at the fair
  market value of Distributor’s interest, if any, in each such item of MEL Equipment with no amount or
  compensation allocated to, or payable for, the maintenance, placement or location of the MEL Equipment;

                  v.        Any Breach Severance Payment, Product Severance Payment, or Territory Severance
  Payment (each, a “Severance Payment”) payable in accordance with this Agreement by either MEL or
  Distributor in the event of termination of this Agreement shall constitute reasonable liquidated damages and is
  not intended as a forfeiture or penalty. MEL and Distributor agree that it would be impractical and extremely
  difficult to estimate the total detriment suffered by either party as a result of termination of this Agreement
  pursuant to this Section 12 or otherwise, and that under the circumstances existing as of the Effective Date, the
  applicable Severance Payment represents a reasonable estimate of the damages which either MEL or Distributor
  will incur as a result of such applicable termination. Therefore, MEL and Distributor agree that a reasonable
  estimate of the total detriment that either party would suffer in the event of termination of this Agreement
  pursuant to this Section 12 or otherwise is an amount equal to the applicable Severance Payment. The foregoing
  provision shall not waive or affect either party’s indemnity obligations or the parties’ respective rights to enforce
  those indemnity obligations under this Agreement, or waive or affect either party’s obligations with respect to
  any other provision of this Agreement which by its terms survives the termination of this Agreement;

                 vi.     Distributor acknowledges and agrees that the payment of any Severance Payment by MEL
  to Distributor shall be conditional upon (A) Distributor cooperating in good faith with MEL in effecting a
  smooth transition of or otherwise transferring any distribution or similar rights under this Agreement to MEL (as
  determined is appropriate by MEL), or in MEL’s sole discretion, to a

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  third party distributor appointed by MEL, provided that MEL may only withhold payment of such Severance
  Payment if Distributor materially fails to comply with specific requests of MEL to take actions that are
  reasonably required to effect such transition and would not impose material costs on Distributor (except to the
  extent MEL reimburses the same), (B) Distributor, at MEL’s request and expense, taking such reasonable action
  as is necessary to terminate Distributor’s registration as MEL’s distributor, and/or an authorized importer of
  Products and/or holder of any health certificate and/or import permit with respect to the Products, with any
  Governmental Entity, in each case subject to applicable law and (C) Distributor performing its obligations under
  Section 12(g)(i) below in all material respects. Distributor shall cooperate in good faith with MEL in assigning
  or otherwise transferring to MEL (as determined is appropriate by MEL), or in MEL’s sole discretion, to a third
  party distributor, any such registration or approval including, without limitation, any licenses, permits,
  certificates, and governmental approvals (or the functional equivalent in the Territory) that Distributor may have
  acquired in connection with carrying out its obligations under this Agreement. MEL shall not invoke the right to
  withhold payment of any Severance Payment unless MEL shall have given Distributor at least twenty (20) days
  written notice of its failure to perform any of its obligations set forth in this Section 12(e)(vi) and Distributor has
  failed to cure such failure during such twenty (20) days; and

                  vii.    Upon any notice of termination of this Agreement provided in accordance with the terms
  hereof and during the applicable notice period, nothing in this Agreement shall be deemed to prohibit MEL, in
  its sole discretion from negotiating and/or granting distribution rights to any third party or engage directly in
  transactions concerning the sale and distribution of the Products in the Territory.

         f.          Continued Supply of Products After Termination. In the event MEL continues to supply
  Products to Distributor for any reason following the termination of this Agreement, Distributor acknowledges
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  and agrees that any such action shall not constitute          #:5269
                                                                     a waiver of MEL’s rights under this Agreement or a
  reinstatement, renewal or continuation of the Term of this Agreement. MEL and Distributor agree that if MEL
  continues to supply Products to Distributor following the termination of this Agreement, (i) Distributor shall not
  actively seek or solicit customers for the Products outside the Territory or any customers located within the
  Territory other than Distributor’s Accounts, (ii) Distributor shall promptly pay the prices of the Products in full
  (without deduction or set-off for any reason) in accordance with the payment terms set forth in MEL’s invoice,
  and (iii) MEL shall have the right, in its sole discretion, to discontinue supplying Products to Distributor at any
  time, without notice to Distributor.

           g.       Distributor’s Obligations After Notice of Termination.

                 i.          During any period after either party gives the other notice of termination of this
  Agreement and until actual termination of this Agreement, Distributor shall (A) continue to perform all of
  Distributor’s obligations under this Agreement, including without limitation, all of Distributor’s obligations
  under Section 3 above, (B) not cause or permit the Products or the Trademarks to be prejudiced in any manner,
  (C) not eliminate, reduce or replace the listings, shelf space, positioning and/or other benefits enjoyed by the
  Products, (D) continue to conduct its business relating to the distribution and sale of Products in the ordinary
  course and consistent with its prior practices including, without limitation, by not purchasing more inventory
  than customarily purchased by Distributor of Products [or offering its customers prices, terms or benefits not
  customarily offered by Distributor such

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  as discounts, rebates or sales promotion allowances (except to the extent permitted hereunder)][NTD: TO BE
  OMITTED FROM EU AGREEMENTS], and (E) generally cooperate with MEL in relation to the transition to
  any new distributor appointed by MEL for the Territory.

                 ii.          For a period of thirty (30) days after termination of this Agreement for any reason,
  Distributor shall not tortiously interfere with any listings, shelf space, or positioning for the Products.

  13.      Annual Business Plan; Minimum Distribution Levels; Promotion.

          a.         During the Term, MEL shall have primary responsibility for the overall global branding and
  positioning of the Products, as well as brand and image Marketing for the Products, in such form and manner
  and of such nature and to such extent as may be determined by MEL in its sole and absolute discretion from time
  to time (“Global Branding and Marketing”). Distributor acknowledges and agrees that MEL makes no express
  or implied warranty, representation or covenant relating to or in connection with any Global Branding and
  Marketing activities, including without limitation, as to the value, performance, extent, effectiveness, quantity,
  quality, success or results of any such activities or the lack thereof. Except as set forth in Section 19 below,
  Distributor shall not have any claim against MEL and its Affiliates and hereby releases MEL and its Affiliates
  from all and any claims by, and liability to, Distributor of any nature for their failure to market and promote, or
  adequately market and promote, the Products or arising from or relating to or in connection with any Global
  Branding and Marketing activities procured, provided or performed by MEL and/or its Affiliates or MEL’s
  and/or its Affiliates’ failure to procure, provide or perform such activities.

          b.      Not less than sixty (60) days before the end of each Contract Year, MEL and Distributor shall
  mutually review the conditions of the marketplace, Distributor’s efforts to achieve sales and its results, including
  year over year performance, as well as a proposed annual sales, promotion, and trade marketing plan (“Annual
  Business Plan”) for the next Contract Year prepared by Distributor. Such review shall include discussion on
  marketing efforts and proposed programs to be implemented to improve the distribution and/or sales velocity of
  the very lowest selling (measured by sales velocity) SKU/s of Products, if appropriate, and/or the possible
  deletion from distribution, if appropriate, of the very lowest selling (measured by sales velocity) SKU/s of
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  Products but in accordance with and subject to the #:5270     provisions of Section 13(f) below. Such Annual Business
  Plan shall cover such matters as may be appropriate including specific account placement performance
  objectives, merchandising goals, specific account and channel objectives for specified distribution channels,
  distribution goals, a sales and marketing spending plan and a strategy for maximizing sales and growth of
  market share. Additionally, if the Territory has an ethnic market or concentration, the Annual Business Plan shall
  address such specific ethnic segments, including retail promotions, point-of-sale allocations and special events
  for ethnic segments. The Annual Business Plan shall not detract from the provisions of Section 10 above.
  Distributor shall use Best Efforts to implement such Annual Business Plan in the following Contract Year in
  accordance with Section 3(f) above.

          c.         Not less than sixty (60) days before the end of the then-current Contract Year, MEL and
  Distributor shall mutually agree, in writing, on minimum distribution levels to be achieved and maintained by
  Distributor for each of the Products throughout the next Contract Year (the “Minimum Distribution Levels”).
  Should the parties have failed, for whatsoever reason, to mutually agree upon the Minimum Distribution Levels
  to be achieved and maintained by Distributor for each of the

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  Products throughout the next Contract Year, the same shall be determined by reference to the process described
  in Section 13(d) below. The parties shall perform all of their respective obligations under this Section except
  that Distributor shall not be obligated to achieve and maintain the Minimum Distribution Levels until the
  expiration of the six (6) month period immediately following the Commencement Date of this Agreement. A
  commercially reasonable representation of SKUs of Products shall be required to be in distribution throughout
  the year in reasonable positioning on shelves, which shall take into account retailer willingness to sell all of the
  SKUs of Products, shelf space limitations and other commercially reasonable factors that may be applicable in
  the market.

         d.         MEL and Distributor shall also agree in writing to performance targets to be achieved and
  maintained by Distributor for the forthcoming calendar year of this Agreement (collectively, the “Performance
  Targets”). For the avoidance of doubt, neither Minimum Distribution Levels nor Performance Targets will
  include volume requirements. If the parties are unable to agree to the Performance Targets or Minimum
  Distribution Levels for any Contract Year commencing with the [2015] Contract Year and at least *** days prior
  to the commencement of each such Contract Year, then such disagreement shall be resolved pursuant to the
  procedure provided in Section 12(a)(i)(D) above.

          e.        The Minimum Distribution Levels for the Products that shall be required to be achieved and
  maintained by Distributor for the Products shall be reduced to the extent only that actual distribution levels are
  eroded as a direct result of (i) MEL’s failure to deliver Products in accordance with this Agreement, (ii) MEL’s
  failure to reimburse all costs pursuant to Section 13(g)(iv) below or (iii) MEL’s failure to contribute its agreed
  share of the parties funding obligation as set forth in Section 13(g)(iii).

          f.        In every calendar year commencing [2016], the parties agree to periodically meet in order to
  discuss performance of the lowest selling SKU/s of Products and to delete from distribution in the Territory any
  SKU/s the parties mutually agree in writing, provided that MEL will not unreasonably withhold its approval to
  the deletion of any applicable SKU/s. MEL may withhold its approval to deletion of any SKU/s if any applicable
  SKU/s has/have sufficient sales velocity or is or are capable of delivering sufficient sales velocity in any one or
  more of Distributor’s Accounts or any one or more regions or countries, as the case may be, to make such SKU/s
  economically viable to continue in distribution in such one or more of Distributor’s Accounts or in any one or
  more regions or countries, as the case may be. Notwithstanding the foregoing, unless mutually agreed in
  writing, in no event shall more than *** percent *** of the total number of SKUs, rounded down to the nearest
  whole number (unless *** percent *** of the total number of SKUs is less than one (1) but more than 0.5, in
  which case the number will be rounded up to one (1)), be deleted from distribution in any rolling *** period.
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           g.       Promotional activities shall be regulated as follows:

                 i.   The estimated costs of promotional activities shall be allocated as set forth in Exhibit E
  between MEL and Distributor thirty (30) days prior to the commencement of a calendar year on a cost per-case
  basis of Products.

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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                 ii.       The promotional activities costs are to be shared between Distributor and MEL as set
  forth in Exhibit E. The parties agree that the costs for the promotional activities shall be reconciled each quarter
  and that the estimate for the costs of promotional activities in the subsequent quarter may be adjusted provided
  there is mutual agreement.

                  iii.      MEL and Distributor shall periodically meet and may mutually agree to promotional
  activities including further programs and campaigns not included in the promotional activities contemplated in
  Exhibit E. The promotional activities costs that are so agreed to between the parties shall be shared between, and
  paid by, Distributor and MEL as may be agreed in writing from time to time.

                  iv.        If and to the extent previously approved by MEL in writing, MEL shall reimburse or
  credit Distributor for all of Distributor’s actual out-of-pocket expenses paid or incurred by Distributor in relation
  to the promotional and trade marketing of Products not otherwise provided for and/or dealt with pursuant to
  Section 13(g)(i), (ii) and (iii) above.

                  v.       Distributor shall continue its business in the ordinary course including the provision,
  utilization, and maintenance of coolers, other refrigeration equipment, and vending machines (including without
  limitation as provided in Section 3(t) above). Distributor shall be responsible for creating marketing materials
  for submission to MEL for its final written approval. Distributor shall not use marketing materials unless
  approved by MEL in writing; provided that if MEL does not notify Distributor that it objects to any suggested
  marketing materials within fifteen (15) days after receipt of such materials from Distributor, MEL shall be
  deemed to have approved such suggested marketing materials.

  14.      Distribution Accounts and MMM Accounts.

          a.        Distributor and its sub-distributors shall have the primary (except as specified in Exhibit C)
  relationship with retail and other customers throughout the Territory and shall be responsible for negotiating the
  terms of sale of the Products within the Territory; provided that without detracting from the foregoing, MEL
  may, in its sole and absolute discretion, elect to exercise the right to assume some or all of the elements in the
  primary relationship with any Large Accounts. For the purposes of this Agreement, “Large Account” mean any
  large accounts having multiple outlets within the Territory, which may include MMM Accounts. Such rights
  shall include, without limitation, the right to provide input to Distributor and its sub-distributors regarding sales
  strategy and other matters as well as to provide sales, marketing, promotional and merchandising support and
  programs to retail and other customers as well as the right to meet directly with and make presentations to retail
  and other customers within the Territory as may be appropriate from time to time; and provided further that
  MEL will advise Distributor of such meetings beforehand to the extent practicable and Distributor shall be
  entitled to accompany MEL to the meetings. Additionally, MEL may (i) accompany, assist and support
  Distributor and/or its sub-distributors from time to time on sales calls to Distributor Accounts in the Territory
  and to make independent calls on Large Accounts, (ii) to the extent KO extends an invite to MEL with respect to
  specific system-wide KO bottler meetings that relate in any part to Energy Drinks, attend such part of such
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  meetings relating to Energy Drinks, and (iii) arrange,#:5272  coordinate and administer a sales trip incentive program at
  least once per year. For the sake of clarity, MEL shall not offer or agree terms of supply and/or terms of sale of
  the Products within the Territory

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  to any of Distributor’s Accounts without the prior agreement of Distributor (subject to Section 14(c) below),
  which agreement will not be unreasonably withheld.

          b.       MEL shall have the right to attend and participate in regular performance review meetings with
  Distributor to facilitate efficient marketing and distribution of Products. Without detracting from the foregoing,
  Distributor will not oppose any additional actions the adoption of which are considered by MEL as necessary
  and justified in order to protect and improve the sales and distribution system for the Products, including, but not
  limited to those actions which might be adopted concerning the supply of large or special customers whose field
  of activity transcends the boundaries of the Territory.

           c.       “MMM Accounts” shall mean multi-market major accounts having multiple outlets in one or
  more market/s and/or country/ies in any territories for which Distributor has distribution rights for the applicable
  Products and/or having multiple outlets in one or more market/s and/or country/ies outside of the territories in
  which Distributor has distribution rights for the applicable Products. The parties recognize that it is in their
  respective interests to work together to formulate the approach to be followed by them jointly or separately with
  various customers and/or channels of trade, including MMM Accounts, from time to time, both to take
  advantage of a coordinated approach and to avoid the negative impact of a lack of coordination. MEL and
  Distributor therefore agree that an aligned customer/channel approach is a key part of each Annual Business
  Plan and that they will engage in regular communication to adopt such plans as well as to deal with further
  opportunities that may arise from time to time during each calendar year, so as to avoid either party acting in an
  uncoordinated way towards customers. Subject to Section 14(a) above, if MEL deems it desirable for Products
  to be sold to any MMM Account, MEL shall be entitled, in its discretion, to make arrangements directly with
  such MMM Account including the terms of sale of Products to the MMM Account and the MMM Pricing (as
  defined below), which shall take into account the prices and funding then offered by Distributor and its sub-
  distributors to MMM Accounts and similar categories of customers, in the Territory. Notwithstanding anything
  to the contrary herein, MEL shall be entitled to determine the business relationship with MMM Accounts,
  including, without limitation, the pricing offered to such MMM Accounts, which may be single pricing, multiple
  pricing or different pricing for (a) different customers in different territories or markets, or parts of different
  territories or markets, (b) the same customer in the same territory or market, or parts of such territory or market
  and/or (c) the same customer in different territories or markets, or parts of such territories or markets (the
  “MMM Pricing”). To the extent feasible, MEL will consult with Distributor with respect to the MMM Pricing.
  MEL shall use commercially reasonable efforts to arrange for all outlets of any such MMM Account within the
  Territory to be serviced by Distributor and/or its sub-distributors and for delivery of the Products and other
  arrangements with regard thereto, to be made directly by Distributor and its sub-distributors or their warehouse
  system. Notwithstanding the foregoing, should the MMM Account concerned not agree to its outlets within the
  Territory being serviced by Distributor or should Distributor elect not to service such outlets, MEL shall be
  entitled to service the outlets directly. In the event MEL services the outlets directly, MEL shall bear sole
  liability and responsibility related to such MMM Account and MEL shall pay to Distributor, during the
  remaining Term of this Agreement, an amount equal to *** percent *** of Distributor’s “average gross profit
  per case” per Product case SKU sold to and calculated with respect to MMM Accounts in the channel in
  question but otherwise in

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

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  accordance with the provisions of Section 12(a)(i)(A) above (or based on MEL’s actual selling price of such
  Product case SKU if such Product case SKU is not sold by Distributor), for each case of such Product case SKU
  sold by MEL to the outlets concerned [(but only on the excess of the amount by which the aggregate cases of
  such Product case SKU/s sold to such outlets in the Territory during each Contract Year exceeds the number of
  cases set forth on Exhibit F or the number of cases reduced pro rata for any period of less than one year)], within
  a reasonable time after receipt by MEL of all information necessary for the computation of the amount due
  under this Section 14, but in no event more frequently than twice per calendar year. For the purposes of this
  Agreement, the number of cases of Product case SKU/s sold by MEL to the outlets during any period shall be
  the actual number of cases reasonably determined by MEL, or if not determined by MEL then as determined by
  multiplying the total number of cases of Product case SKU/s sold by MEL directly to such MMM Account or
  regional division of such MMM Account, as the case may be, during the period concerned, by a fraction, the
  numerator of which shall be the number of outlets within the Territory and the denominator of which shall be the
  total number of outlets that the MMM Account has anywhere in the world participating in the applicable
  program.

  15.      Exclusion of Damages.

       a.     EXCEPT FOR DAMAGES DIRECTLY RESULTING FROM INDEMNITY OBLIGATIONS
  PROVIDED IN SECTION 19, WITHOUT IN ANY WAY DETRACTING FROM OR LIMITING THE
  PROVISIONS OF SECTIONS 12(d), 12(e)(iii) AND/OR 12(e)(v) ABOVE AND, IN ADDITION THERETO,
  NEITHER PARTY SHALL BE LIABLE FOR ANY CONSEQUENTIAL, INCIDENTAL, SPECIAL, OR
  EXEMPLARY DAMAGES (INCLUDING, WITHOUT LIMITATION, DAMAGES FOR LOSS OF PROFITS,
  LOSS OF GOODWILL, BUSINESS INTERRUPTION, LOSS OF BUSINESS OPPORTUNITY, OR ANY
  OTHER PECUNIARY LOSS) SUFFERED BY THE OTHER RELATED TO OR ARISING OUT OF THIS
  AGREEMENT, THE TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT, AND/OR THE USE OF
  OR INABILITY TO USE OR SELL THE PRODUCTS, AND/OR FROM ANY OTHER CAUSE
  WHATSOEVER, EVEN IF IT HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

        b.      EACH AND EVERY PROVISION OF THIS AGREEMENT WHICH PROVIDES FOR A
  LIMITATION OF LIABILITY OR WARRANTIES, DISCLAIMER, OR EXCLUSION OF DAMAGES, IS
  EXPRESSLY INTENDED TO BE SEVERABLE AND INDEPENDENT FROM ANY OTHER PROVISION,
  SINCE THOSE PROVISIONS REPRESENT SEPARATE ELEMENTS OF RISK ALLOCATION BETWEEN
  THE PARTIES, AND SHALL BE SEPARATELY ENFORCED.

  16.     Distributor’s Representations and Warranties. Distributor represents and warrants to MEL that (a) it has
  the right and lawful authority to enter into this Agreement, and (b) the execution, delivery and performance of
  this Agreement will not cause or require Distributor to breach any obligation to, or agreement or confidence
  with, any other Person.

  17.      MEL’s Representations and Warranties.

          a.      MEL represents and warrants to Distributor that (i) it has the right and lawful authority to enter
  into this Agreement, and (ii) the execution, delivery and performance of this Agreement will

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  not cause or require MEL to breach any obligation to, or agreement or confidence with, any other Person.

          b.      MEL warrants that all Products, all food additives in the Products, and all substances for use in,
  with, or for the Products, comprising each shipment or other delivery hereby made by MEL to, or on the order
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  of, Distributor are hereby guaranteed as of the date of       #:5274
                                                                   delivery to be, on such date, (i) for Products imported by
  Distributor from the United States, not adulterated or misbranded within the meaning of the Federal Food, Drug
  and Cosmetic Act, as amended, including the Food Additives Amendment of 1958 (the “Act”) and are not
  articles which may not under the provisions of Sections 404, 505, or 512 of the Act, be introduced into interstate
  commerce, and (ii) for all Products supplied by MEL to Distributor (whether or not imported from the United
  States) to be in compliance with all health, safety, and labeling standards and specifications imposed by law,
  regulation or order in the Territory in which the Products will be sold by Distributor and which are applicable to
  the Products.

           c.       MEL warrants that all Products shall be merchantable.

         d.       Distributor’s sole and exclusive remedy for MEL’s breach of MEL’s representations in Sections
  17(b) and 17(c) above shall be as provided for in Section 19(b) below.

  18.   Limitation of Warranty. MEL MAKES NO REPRESENTATIONS OR WARRANTIES, EXPRESS OR
  IMPLIED (INCLUDING THE IMPLIED WARRANTIES OF NON-INFRINGEMENT, MERCHANTABILITY
  AND FITNESS FOR A PARTICULAR PURPOSE) EXCEPT THOSE SET FORTH IN SECTION 17 ABOVE.

  19.      Indemnification.

          a.        Distributor shall indemnify, defend, and hold harmless MEL and its officers, directors, agents,
  employees, shareholders, legal representatives, successors and assigns, and each of them, from loss, liability,
  costs, damages, or expenses from any and all claims, actions and suits, instituted by any third party, whether
  groundless or otherwise, and from and against any and all third party claims, liabilities, judgments, losses,
  damages, costs, charges, attorney’s fees, and other expenses of every nature and character arising from the
  breach of Distributor’s express representations and warranties under this Agreement by Distributor or its agents,
  employees, subcontractors, sub-distributors or others acting on its behalf, provided that (i) MEL gives
  Distributor written notice of any indemnifiable claim and MEL does not settle any claim without Distributor’s
  prior written consent, and (ii) MEL does all things reasonably required by applicable law to mitigate the claim,
  loss, damage, liability, cost, suit, action, judgment or expense (including without limitation attorney’s fees) to the
  fullest possible extent.

           b.        MEL shall indemnify, defend, and hold harmless Distributor and its officers, directors, agents,
  employees, shareholders, legal representatives, successors, assigns, and customers, and each of them, from loss,
  liability, costs, damages, or expenses from any and all claims, actions and suits instituted by any third party,
  whether groundless or otherwise, and from and against any and all such third party claims, liabilities, judgments,
  losses, damages, costs, charges, attorney’s fees, and other expenses of every nature and character and all
  Distributor’s direct documented costs to store, transport, test and destroy all unsellable Products and advertising
  materials arising from (i) the breach of MEL’s express representations and warranties under this Agreement or
  those of its agents, employees, subcontractors or others acting on its behalf, (ii) any impurity, adulteration,
  deterioration in or

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  misbranding of any Products sold to Distributor by MEL, (iii) any prior distributor of Products in the Territory,
  (iv) any MEL marketing, advertising, promotion, labeling, Global Branding and Marketing, and the Trademarks,
  Copyrights, Patents, Know-How or other intellectual property relating to the Products, or (v) the fact that the
  Products (A) are not safe for the purposes for which goods of that kind are normally used or (B) do not comply
  with any applicable health, safety, or environmental laws, regulations, orders or standards imposed in the
  Territory; provided that (1) Distributor gives MEL written notice of any indemnifiable claim and Distributor
  does not settle any claim without MEL’s prior written consent, and (2) Distributor does all things reasonably

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  required by applicable law to mitigate the claim, loss,      #:5275
                                                                   damage, liability, cost, suit, action, judgment or expense
  (including without limitation attorney’s fees) to the fullest possible extent.

           c.      If any action or proceeding is brought against Distributor, MEL or any other indemnified party
  under Section 19(a) or 19(b) (the “Indemnified Party”), the Indemnified Party shall promptly notify the party
  required to provide indemnification (the “Indemnifying Party”) in writing to that effect. If the Indemnified Party
  fails to promptly notify the Indemnifying Party, the Indemnified Party shall be deemed to have waived any right
  of indemnification with respect to such claim to the extent (but only to the extent) any delay in such notice
  prejudices the Indemnifying Party’s ability to defend such action, suit or proceeding. The Indemnifying Party
  shall have the right to defend such action or proceeding at the Indemnifying Party’s sole cost by counsel
  satisfactory to Indemnifying Party. If the Indemnifying Party fails to promptly defend or otherwise settle or
  finally resolve such action, suit or proceeding, Indemnified Party may defend such action, suit or proceeding
  using counsel selected by Indemnified Party, and the Indemnifying Party shall reimburse Indemnified Party for
  any resulting loss, damages, costs, charges, attorney’s fees, and other expenses and the related costs of defending
  such action, suit or proceeding.

          d.        The parties agree that the provisions contained in this Section shall survive the termination or
  expiration of this Agreement.

  20.      Insurance. During the Term of this Agreement and for a period of two (2) years thereafter, MEL and
  Distributor agree to maintain policies of insurance of the nature and amounts specified below, which shall
  provide the other party as an additional insured (providing for a waiver of subrogation rights and endeavoring to
  provide for not less than thirty (30) days written notice of any modification or termination of coverage), and
  each party shall provide the other party with a certificate of insurance evidencing such insurance, in a form
  satisfactory to such party:

           ·       Commercial General Liability, including contractual liability coverage, with limits of at least
                   $1,000,000 per occurrence; Bodily Injury and Property Damage / $1,000,000; Personal and
                   Advertising Injury / $1,000,000; Products/Completed Operations / $2,000,000 General Aggregate.

           ·       Excess or Umbrella Liability with a limit of not less than $5,000,000 per occurrence over the
                   insurance coverage described above.

           ·       Other statutory insurance required by the applicable laws of the Territory.

         For any claims under this Agreement, the applicable party’s insurance shall be deemed to be primary and
  not contributing to or in excess of any similar coverage purchased by the other party. All

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  deductibles payable under an applicable policy shall be paid by the party responsible for purchasing such
  policy. All such insurance shall be written by companies authorized to do business in the state or states where
  the work is to be performed and having at least the ratings of the respective parties current insurers, unless not
  obtainable at commercially reasonable rates in light of previous premiums. The parties will ensure that the
  insurance policies obtained pursuant to this Section are effective and enforceable for any liability, claims or
  other insurable event arising in the Territory.

  21.         Competing Products. During the Term of this Agreement, Distributor shall not market, sell,
  manufacture, prepare, package, or distribute, directly or indirectly, or assist any third party in engaging in the
  business of manufacturing, marketing, selling, or distributing any Energy Drink/s or products reasonably likely
  to be confused with any of the Products in the Territory or reasonably likely to be perceived by consumers as
  confusingly similar to or be passed off as Products (“Competing Products”), except that Distributor may
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  manufacture, prepare, package, market, sell and distribute   #:5276 and otherwise engage or assist any third party in
  engaging in the business of manufacturing, marketing, selling or distributing in the Territory Competing
  Products that: (a) are owned, marketed, sold or distributed by KO or an Affiliate of KO, or (b) were internally
  developed by KO or any of its Affiliates, in each case (a) and (b), to the extent KO is not otherwise prohibited
  from marketing, selling or distributing such Competing Products pursuant to a written agreement between MEL
  or MEC and KO. If under the terms of any written agreement between MEL or MEC and KO, KO authorizes
  Distributor to sell Competing Products, then Distributor agrees that it shall be obligated at all times to allocate
  and devote at least such resources and efforts (in all material respects) to the promotion, marketing, sale, and
  distribution of the Products as are substantially proportional to the ratio that the volume of Distributor’s sales of
  Products bears to the volume of Distributor’s sales of Competing Products.

  22.       Amendment. Except to the extent otherwise expressly permitted by this Agreement, no amendment of,
  or addition to, this Agreement shall be effective unless reduced to a writing executed by the duly authorized
  representatives of both parties. KO’s approval of any amendment shall be necessary with respect to an
  amendment, modification, addition or deletion (a) that would reasonably be expected to materially impact KO’s
  rights or benefits under this Agreement or the International Distribution Coordination Agreement, or (b) to any
  of the following terms (or otherwise materially affecting such terms): definition of Products (to the extent KO
  has consent rights with respect thereto under the International Distribution Coordination Agreement), term,
  termination, deadlock procedures, placement in branded refrigerated equipment, distributor’s exclusivity,
  facilitation fee, distribution refusal, competing products or other non-competition, and amendment, in which
  case KO’s affirmative written approval shall be required.

  23.      Assignment. Neither party may assign its rights or delegate its obligations hereunder without the prior
  written consent of the other and KO; provided, that MEL shall have the right, in its sole and absolute discretion,
  to assign its rights and/or obligations under this Agreement to any Affiliate or subsidiary of MEL without the
  written consent of Distributor and/or KO, and any such transferee shall be deemed to be included within the
  defined term “MEL” for purposes of this Agreement. Any purported assignment or delegation, in the absence of
  such written consent, shall be void.

  24.     No Agency. The relationship between MEL and Distributor is that of a vendor to its vendee and nothing
  herein contained shall be construed as constituting either party the employee, agent, independent contractor,
  partner or co-venturer of the other party. Neither party shall have any authority to create or assume any
  obligation binding on the other party.

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  25.       Governing Law. This Agreement shall be governed by and interpreted in accordance with the laws of
  the State of California (without reference to its law of conflict of laws), and the provisions of the United Nations
  Convention On Contracts For The International Sale Of Goods will expressly be excluded and not apply. The
  place of the making and execution of this Agreement is California, United States of America. Distributor hereby
  waives any rights that it may otherwise have to assert any rights or defenses under the laws of the Territory or to
  require that litigation brought by or against it in connection with this Agreement be conducted in the courts or
  other forums of the Territory. For the sake of clarity, the parties record that their choice of law shall not include
  the California Franchise Relations Act or the California Franchise Investment Law, or any amendment or
  functionally equivalent statute, unless such law would otherwise apply, and nothing herein shall be deemed to
  extend or otherwise affect the scope or application of such statutes.

  [NTD: ALTERNATIVE SECTION 25 FOR USE WHEN ENGLISH GOVERNING LAW IS USED. DELETE
  IF NOT APPLICABLE. IF ALTERNATIVE SECTION 25 IS USED, DELETE SECTION 25 ABOVE.]

  25.     Governing Law. This Agreement shall be governed by and interpreted in accordance with the laws of
  England and Wales, and the provisions of the United Nations Convention On Contracts For The International
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  Sale Of Goods will expressly be excluded and not              #:5277
                                                                   apply. The place of the making and execution of this
  Agreement is London, United Kingdom. Distributor hereby waives any rights that it may otherwise have to
  assert any rights or defenses under the laws of the Territory or to require that litigation brought by or against it in
  connection with this Agreement be conducted in the courts or other forums of the Territory.

  26.      Arbitration. Any dispute, controversy or claim arising out of or relating to this Agreement or the breach
  or termination hereof shall be settled by binding arbitration conducted by JAMS (“JAMS”) in accordance with
  JAMS Comprehensive Arbitration Rules and Procedures (the “Rules”). The arbitration shall be heard by one
  arbitrator to be selected in accordance with the Rules, in Orange County, California. Judgment upon any award
  rendered may be entered in any court having jurisdiction thereof. Within seven (7) calendar days after
  appointment the arbitrator shall set the hearing date, which shall be within ninety (90) days after the filing date
  of the demand for arbitration unless a later date is required for good cause shown and shall order a mutual
  exchange of what he/she determines to be relevant documents and the dates thereafter for the taking of up to a
  maximum of five (5) depositions by each party to last no more than five (5) days in aggregate for each party.
  Both parties waive the right, if any, to obtain any award for exemplary or punitive damages or any other amount
  for the purpose or imposing a penalty from the other in any arbitration or judicial proceeding or other
  adjudication arising out of or with respect to this Agreement, or any breach hereof, including any claim that said
  Agreement, or any part hereof, is invalid, illegal or otherwise voidable or void. In addition to all other relief, the
  arbitrator shall have the power to award reasonable attorneys’ fees and costs to the prevailing party. The
  arbitrator shall make his or her award no later than seven (7) calendar days after the close of evidence or the
  submission of final briefs, whichever occurs later. The decision of the arbitrator shall be final and conclusive
  upon all parties. Notwithstanding anything to the contrary, if either party desires to seek injunctive or other
  provisional relief that does not involve the payment of money, then those claims shall be brought in a state or
  federal court located in Orange County, California, and the parties hereby irrevocably and unconditionally
  consent to personal jurisdiction of such courts and venue in Orange County, California in any such action for
  injunctive relief or provisional relief.

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  [NTD: ALTERNATIVE SECTION 26 FOR USE WHEN ENGLISH GOVERNING LAW IS USED. DELETE
  IF NOT APPLICABLE. IF ALTERNATIVE SECTION 26 IS USED, DELETE SECTION 26 ABOVE.]

  26.      Arbitration.

          a.         Subject to the provisions of Section 26(b), any dispute, controversy or claim arising out of or
  relating to this Agreement, including without limitation, the formation, existence, validity, interpretation, or the
  breach or termination of this Agreement shall be referred to and finally resolved by arbitration under the
  Rules of the London Court of International Arbitration (“LCIA”), which Rules are deemed to be incorporated by
  reference to this Section. The tribunal shall consist of one arbitrator who shall be appointed by a vice-president
  of the LCIA. The seat of the arbitration shall be London and the language shall be English.

          b.          MEL may in its absolute discretion bring proceedings in the courts of England and Wales in
  relation to any dispute, controversy or claim arising in connection with this Agreement, including any question
  regarding its existence, invalidity or termination and Distributor agrees to submit to the jurisdiction of the courts
  of England and Wales if MEL brings such proceedings.

  27.      Force Majeure.

          a.          Neither party shall be liable for any delays in delivery or failure to perform or other loss due
  directly or indirectly to circumstances unforeseen as of the Effective Date or causes beyond such party’s
  reasonable control (each, individually, a “Force Majeure Event”), including, without limitation: (i) acts of God,
  act (including failure to act) of any Governmental Entity (de jure or de facto), wars (declared or undeclared),
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  governmental priorities, port congestion, riots, revolutions,#:5278strikes or other labor disputes, fires, floods, sabotage,
  nuclear incidents, earthquakes, storms, epidemics; or (ii) inability to timely obtain either necessary and proper
  labor, materials, ingredients, components, facilities, production facilities, energy, fuel, transportation,
  governmental authorizations or instructions, material or information. The foregoing shall apply even though any
  Force Majeure Event occurs after such party’s performance of its obligations is delayed for other causes but only
  during the period of the applicable Force Majeure Event.

          b.         The party affected by a Force Majeure Event shall give written notice to the other party of the
  Force Majeure Event within a reasonable time after the occurrence thereof, stating therein the nature of the
  suspension of performance and reasons therefore. Such party shall use its commercially reasonable efforts to
  resume performance as soon as reasonably possible. Upon restoration of the affected party’s ability to perform
  its obligations hereunder, the affected party shall give written notice to the other party within a reasonable time.

  28.       Merger. This Agreement and the attached Exhibits contain the entire agreement between the parties to
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  this Agreement with respect to the subject matter of this Agreement, are intended as a final expression of such
  parties’ agreement with respect to such terms as are included in this Agreement, are intended as a complete and
  exclusive statement of the terms of such agreement, and supersede all negotiations, stipulations, understandings,
  agreements, promises, representations and warranties, whether written or oral, if any, with respect to such
  subject matter, which precede the execution of this Agreement. No other negotiations, stipulations,
  understandings, agreements, promises, representations,

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  or warranties, whether written or oral, either as an inducement to enter into this Agreement or as to its meaning
  or effect, have been made that are not contemplated herein.

  29.       Waivers. No waiver of any provision hereof or of any terms or conditions will be effective unless in
  writing and signed by the party against which enforcement of the waiver is sought. No relaxation or indulgence
  which either party may grant to the other shall in any way prejudice or be deemed to be a waiver or novation of
  any of such party’s rights under this Agreement.

  30.     Product Recall. If any Governmental Entity issues a recall or takes similar action in connection with the
  Products, or if MEL determines that an event, incident or circumstance has occurred which may require a recall
  or market withdrawal, MEL shall advise Distributor of the circumstances by telephone or facsimile. MEL shall
  have the right to control the arrangement of any Product recall, and Distributor shall cooperate in the event of a
  Product recall with respect to the reshipment, storage or disposal of recalled Products, the preparation and
  maintenance of relevant records and reports, and notification to any recipients or end users. MEL shall pay all
  reasonable expenses incurred by Distributor of such a recall, including the costs of destroying Products.
  Distributor, shall promptly refer to MEL for exclusive response to all customer or consumer complaints
  involving the health, safety, quality, composition or packaging of the Products, or which in any way could be
  detrimental to the image or reputation of MEL or the Products, and shall notify MEL of any governmental,
  customer or consumer inquiries regarding the Products about which Distributor becomes aware.

  31.       Interpretation. In the event any ambiguity or question of intent or interpretation arises, this Agreement
  shall be construed as drafted jointly by the parties and no presumption or burden of proof shall arise favoring or
  disfavoring any party by virtue of the authorship of any of the provisions of this Agreement. No provision of
  this Agreement shall be construed against any party on the grounds that such party or its counsel drafted that
  provision.

  32.      Partial Invalidity. Each provision of this Agreement will be valid and enforceable to the fullest extent
  permitted by law. If any provision of this Agreement or the application of the provision to any Person or
  circumstance will, to any extent, be invalid or unenforceable, the remainder of this Agreement, or the application
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  of the provision to Persons or circumstances other than      #:5279
                                                                   those as to which it is held invalid or unenforceable, will
  not be affected by such invalidity or unenforceability, unless the provision or its application is essential to this
  Agreement. The parties shall replace any invalid and/or unenforceable provision with a valid and enforceable
  provision that most closely meets the aims and objectives of the invalid and/or unenforceable provision.

  33.      Distributor Suppliers Guiding Principles. MEL has been informed by Distributor that the following are
  Distributor Suppliers Guiding Principles (the “Guiding Principles”). Notwithstanding anything set forth below,
  compliance with the Guiding Principles shall not constitute an obligation of MEL or Distributor under this
  Agreement. The Guiding Principles shall constitute unenforceable goals only of the parties and neither party
  shall be entitled to make any claim for breach against the other or enforce any remedy under this Agreement or
  terminate this Agreement as the result of non-compliance with, or a violation of, any Guiding Principle(s). The
  preceding sentence shall not detract from the parties’ respective rights and obligations under Section 19 above or
  any other representation, warranty or obligation expressly made in this Agreement.

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           ·     Laws and Regulations - Each party will use commercially reasonable good faith efforts to comply
               with all applicable local and national laws, rules, regulations and requirements in the manufacturing
               and distribution of Products.

           ·     Child Labor - Each party will use commercially reasonable good faith efforts to comply with all
               applicable local and national child labor laws.

           ·     Forced Labor - Each party will use commercially reasonable good faith efforts to not use forced,
               bonded, prison, military or compulsory labor.

           ·    Abuse of Labor - Each party will use commercially reasonable good faith efforts to comply with all
               applicable local and national laws on abuse of employees and will not physically abuse employees.

           ·     Freedom of Association and Collective Bargaining - Each party will use commercially reasonable
               good faith efforts to comply with all applicable local and national laws on freedom of association and
               collective bargaining.

           ·    Discrimination - Each party will use commercially reasonable good faith efforts to comply with all
               applicable local and national discrimination laws.

           ·   Wages and Benefits - Each party will use commercially reasonable good faith efforts to comply with
               all applicable local and national wages and benefits laws.

           ·      Work Hours and Overtime - Each party will use commercially reasonable good faith efforts to
               comply with all applicable local and national work hours and overtime laws.

           ·   Health and Safety - Each party will use commercially reasonable good faith efforts to comply with all
               applicable local and national health and safety laws.

           ·     Environment - Each party will use commercially reasonable good faith efforts to comply with all
               applicable local and national environmental laws.

  34.         Third-Party Beneficiaries. Nothing in this Agreement, express or implied, is intended or shall be
  construed to give any Person, other than the parties to this Agreement and their successors and permitted

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  assigns, any legal or equitable right, remedy or claim      #:5280
                                                                   under or in respect of any agreement or any provision
  contained in this Agreement.

  35.      Sales Information and Books and Records; Examination. Not later than thirty (30) days after the end of
  each calendar month Distributor shall deliver to MEL full, complete and accurate written details, separately in
  respect of each country within the Territory, of the following with respect to Distributor’s sale of Products in the
  Territory: (a) total sales, (b) taxes and/or duties, (c) discounts and sales allowances paid, accrued or credited,
  (d) Products returned during such period, (e) other permitted allowances, rebates, and allowance programs
  granted, paid, payable, reimbursed, credited or incurred by Distributor, and (f) other records containing data in
  sufficient detail reasonably necessary to determine all amounts payable to or reimbursable by MEL under this
  Agreement (collectively, the “Records”). Distributor shall keep and maintain complete and true books and other
  records containing

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  data in sufficient detail reasonably necessary to determine all amounts payable to or reimbursable by MEL under
  this Agreement. MEL shall have the right, at its own expense, on sixty (60) days prior written notice to have
  such books and records and the Records (and all reasonably related work papers and other reasonable
  information and documents necessary for any determination under this Agreement or other related agreements)
  kept by Distributor examined once per calendar quarter by a public accounting firm appointed by MEL to verify
  the completeness and accuracy of the Records.

  36.      TUPE:

          a.             This Section 36 applies to the extent that the provisions of the Transfer of Undertakings
  (Protection of Employment) Regulations 2006 or any equivalent legislation in the Territory which is derived
  from the Acquired Rights Directive (Directive 77/187 as amended by Directive 98/50/EC and consolidated in
  2001/23/EC) (the “Regulations”) apply in respect of those MEL employees working exclusively on the sales and
  marketing of the Products immediately prior to the Effective Date or in respect of those employees of Distributor
  or any sub-distributor working exclusively on the sales and marketing of the Products immediately prior to the
  date of termination or expiry of this Agreement (the “Employees”).

         b.             Subject to the provisions of Sections 36(c), (d), (e) and (f) below, MEL shall indemnify
  Distributor from and against all losses, costs, liabilities, expenses (including reasonable legal fees and
  disbursements), actions, proceedings, claims and demands (“Losses”) arising out of or in connection with:

                  i.       any claim by any Employee (or representative on the Employee’s behalf) for any remedy
  including but not limited to any breach of contract, unfair dismissal, redundancy, statutory redundancy, equal
  pay, unlawful discrimination, unlawful deduction from wages, a protective award, an award under the National
  Minimum Wage Act 1998 or the Working Time Regulations 1998 or for breach of statutory duty or of any other
  nature as a result of anything done or omitted to be done by MEL in relation to their employment or termination
  of such employment prior to the Effective Date;

                   ii.            any claim by any person (other than an Employee) who asserts that his rights and
  liabilities as a result of his employment with MEL or its distributors/sub-contractors (other than Distributor) (or
  the termination of such employment) whether before or after the Effective Date transfer to Distributor arising
  solely under the Regulations;

                  iii.     any failure to comply with its obligations under the Regulations, including but not limited
  to its obligations to inform and consult with the Employees in relation to the transfer of the sales and marketing
  services for the Products;

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         c.         In the event that the Regulations are       #:5281
                                                                   deemed or alleged to apply to transfer the employment of
  any person (other than an Employee) from MEL (or its distributors/sub-contractors other than Distributor) to
  Distributor at any time, Distributor shall have the right to terminate such employment with immediate effect and
  MEL shall indemnify Distributor and keep Distributor indemnified against all Losses arising out of such
  employment or termination of such employment subject to such termination of employment being carried out in
  accordance with the lawful and reasonable directions of MEL.

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          d.          In the event that either (i) Distributor informs MEL before the Effective Date that it does not
  require the services of any or all of the Employees or (ii) MEL informs Distributor before the Effective Date that
  it wishes to retain all or any of the Employees, then MEL shall be fully responsible for those Employees (even if
  the Regulations are alleged to apply) and Distributor shall have the right to terminate such Employees’
  employment with immediate effect (should the Regulations be alleged to apply) and MEL shall indemnify
  Distributor and keep Distributor indemnified against all Losses arising out of such employment or termination of
  such employment (including any protective award) subject to such termination of employment being carried out
  in accordance with the lawful and reasonable directions of MEL.

         e.         In the event that Distributor informs MEL within three (3) months of the Effective Date that it
  does not require the services of any or all of the Employees, then Distributor shall have the right to terminate
  such Employees’ employment with immediate effect and MEL shall indemnify Distributor and keep Distributor
  indemnified against all Losses arising out of such employment from the Effective Date and/or arising out of the
  termination of such employment (including any protective award) subject to such termination of employment
  being carried out in accordance with the lawful and reasonable directions of MEL.

        f.       Subject to the provisions of Sections 36(b), (c), (d) and (e) above, Distributor shall indemnify
  MEL from and against all Losses arising out of or in connection with:

                  i.       any claim by any Employee (or representative on the Employee’s behalf) for any remedy
  including but not limited to any breach of contract, unfair dismissal, redundancy, statutory redundancy, equal
  pay, unlawful discrimination, unlawful deduction from wages, a protective award, an award under the National
  Minimum Wage Act 1998 or the Working Time Regulations 1998 or for breach of statutory duty or of any other
  nature as a result of anything done or omitted to be done by Distributor or any sub-distributor in relation to their
  employment or termination of such employment after the Effective Date but prior to the date of termination or
  expiry of this Agreement;

                  ii.            any claim by any person (other than an Employee) who asserts that his rights and
  liabilities as a result of his employment with Distributor or its sub-distributor (or the termination of such
  employment) whether before or after the date of termination or expiry of this Agreement transfer to MEL or its
  distributors arising solely under the Regulations;

                   iii.       any failure by Distributor or its sub-distributors to comply with its or their obligations
  under the Regulations, including but not limited to its obligations to inform and consult with the Employees in
  relation to the transfer of the sales and marketing services for the Products;

          g.         In the event that the Regulations are deemed or alleged to apply to transfer the employment of
  any person (other than an Employee) from Distributor or its sub-distributor to MEL or another of its distributors
  at any time, MEL or its distributors shall have the right to terminate such employment with immediate effect and
  Distributor shall indemnify MEL and keep MEL indemnified against all Losses arising out of such employment
  or termination of such employment subject to such termination of employment being carried out in accordance
  with the lawful and reasonable directions of Distributor.

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          h.         In the event that either (i) MEL informs Distributor before the date of termination or expiry of
  this Agreement that it or its distributors do not require the services of any or all of the Employees or
  (ii) Distributor informs MEL before the date of termination or expiry of this Agreement that it wishes to retain
  all or any of the Employees, then Distributor shall be fully responsible for those Employees (even if the
  Regulations are alleged to apply) and MEL or its distributors shall have the right to terminate such Employees’
  employment with immediate effect (should the Regulations be alleged to apply) and Distributor shall indemnify
  MEL and keep MEL indemnified against all Losses arising out of such employment or termination of such
  employment (including any protective award) subject to such termination of employment being carried out in
  accordance with the lawful and reasonable directions of Distributor.

         i.         In the event that MEL informs Distributor within three (3) months of the date of termination or
  expiry of this Agreement that it or its distributors do not require the services of any or all of the Employees, then
  MEL or its distributors shall have the right to terminate such Employees’ employment with immediate effect and
  Distributor shall indemnify MEL and keep MEL indemnified against all Losses arising out of such employment
  from the Effective Date and/or arising out of the termination of such employment (including any protective
  award) subject to such termination of employment being carried out in accordance with the lawful and
  reasonable directions of Distributor.

  37.        Publicity. MEL and Distributor each agree that the initial public, written announcements regarding the
  execution of this Agreement and the subject matter addressed herein shall be coordinated between the parties
  prior to release. Thereafter, each party agrees to use commercially reasonable efforts to consult with the other
  party regarding any public, written announcement which a party reasonably anticipates would be materially
  prejudicial to the other party. Nothing provided herein, however, will prevent either party from (a) making and
  continuing to make any statements or other disclosures it deems required, prudent or desirable under applicable
  Federal or State Securities Laws (including without limitation the rules, regulations and directives of the
  Securities and Exchange Commission) and/or such party’s customary business practices, or (b) engaging in oral
  discussions or oral or written presentations with actual or prospective investors or analysts regarding the subject
  matter of this Agreement, provided no confidential information is disclosed. If a party breaches this Section 37
  it shall have a seven (7) day period in which to cure its breach after written notice from the other party. A breach
  of this Section 37 shall not entitle a party to damages or to terminate this Agreement.

  38.      Anti-Bribery Compliance.

           a.       Distributor shall:

                 i.        comply with all applicable laws, statutes, regulations, and codes relating to anti-bribery
  and anti-corruption including but not limited to [Bribery Act 2010 (England and Wales) and] the United States
  Foreign Corrupt Practices Act (“Relevant Requirements”);

                 ii.     comply with MEL’s generally applicable Ethics, Anti-bribery and Anti-corruption Policies
  and the relevant industry codes on anti-bribery, in each case, that are provided to Distributor and as MEL or the
  relevant industry body may update them from time to time upon written notice to Distributor (“Relevant
  Policies”);

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               iii.     have and shall maintain in place throughout the term of this Agreement, its own policies
  and procedures to ensure compliance with the Relevant Requirements and the Relevant Policies, and will
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  enforce them where appropriate;                            #:5283

                  iv.        to the extent permitted under applicable law, promptly report to MEL any request or
  demand for any undue financial or other advantage of any kind in violation of applicable law received by
  Distributor in connection with the performance of this Agreement; and

                   v.        to the extent permitted under applicable law, immediately notify MEL (in writing) if it
  becomes aware that a foreign public official becomes an officer or employee of Distributor or acquires a direct
  or indirect interest in Distributor (and Distributor warrants that, to its knowledge, it has no foreign public
  officials as officers, employees or direct or indirect owners at the date of this Agreement).

          b.       Distributor shall use reasonable efforts to require that all of its agents and subcontractors who
  perform services or provide goods in connection with this Agreement do so only on the basis of a written
  contract which imposes on and secures from such persons terms consistent with those imposed on Distributor in
  this Section 38.

  39.      Ethical Standards.

          a.        Distributor and each of its sub-distributors will comply with the United States Foreign Corrupt
  Practices Act and without derogating from the generality of the foregoing, will not have its directors, officers or
  employees, directly or indirectly, offer, promise or pay any bribes or other improper payments for the purposes
  of promoting and/or selling Products to any individual, corporation, government official or agency or other
  entity. No gift, benefit or contribution in any way related to MEL or the promotion and/or sale of Products will
  be made to political or public officials or candidates for public office or to political organizations, regardless of
  whether such contributions are permitted by local laws.

          b.       MEL will comply with the United States Foreign Corrupt Practices Act and without derogating
  from the generality of the foregoing, will not have its directors, officers or employees, directly or indirectly,
  offer, promise or pay any bribes or other improper payments for the purposes of promoting and/or selling
  Products to any individual, corporation, government official or agency or other entity. No gift, benefit or
  contribution in any way related to Distributor or the promotion and/or sale of Products will be made to political
  or public officials or candidates for public office or to political organizations, regardless of whether such
  contributions are permitted by local laws.

  40.      Controlling Language. This Agreement is in the English language only, which will be controlling in all
  respects. No translation, if any, of this Agreement into any other language will be of any force or effect in the
  interpretation of this Agreement or in a determination of the intent of either party hereto.

  41.          Notices. All notices or other communications required or permitted to be given to a party to this
  Agreement shall be in writing and shall be personally delivered, sent by certified mail, postage prepaid, return
  receipt requested, or sent by an overnight express courier service that provides written confirmation of delivery,
  to such party at the following respective address:

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  If to MEC and MEL:

                             Monster Energy Ltd.
                             c/o Mason Hayes & Curran
                             South Bank House, Barrow Street, Dublin 4, Ireland
                             Attention: Tony Burke
                             Facsimile: +353-1-614-5001
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                                                               #:5284
                    And:

                             Monster Energy Company
                             1 Monster Way
                             Corona, California 92879
                             Attention: Chief Executive Officer
                             Facsimile: (951) 739-6210

                    with a copy to:

                             Solomon Ward Seidenwurm & Smith LLP
                             401 B Street, Suite 1200
                             San Diego, California 92101
                             Attention: Norman L. Smith, Esq.
                             Facsimile: (619) 231-4755

  If to Distributor:

                             [·]

                    For Payment Notices:

                             [·]

                    with a copy to:

                             [·]

  Each such notice or other communication shall be deemed given, delivered and received upon its actual receipt,
  except that if it is sent by mail in accordance with this Section, then it shall be deemed given, delivered and
  received three (3) calendar days after confirmed delivery to such carrier. Any party to this Agreement may give
  a notice of a change of its address to the other party to this Agreement.

  42.       Further Assurances. Each party to this Agreement will execute all instruments and documents and take
  all actions as may be reasonably required to effectuate this Agreement.

  43.         Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed an
  original and all of which together shall constitute one document.

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  44.            Confidentiality. During the Term, each party shall maintain in strict confidence all commercial
  information disclosed by the other party (which obligation shall expressly survive termination of this Agreement
  for any reason); provided, however that such commercial information shall not include any information which
  (a) is in the public domain except through any intentional or negligent act or omission of the non-disclosing
  party (or any agent, employee, shareholder, director, officer, or independent contractor of or retained by such
  other party or any of its Affiliates), (b) can be shown by clear and convincing tangible evidence to have been in
  the possession of the non-disclosing party prior to disclosure by the disclosing party, (c) is legally and properly
  provided to the non-disclosing party without restriction by an independent third party that is under no obligation
  of confidentiality to the disclosing party and that did not obtain such information in any illegal or improper
  manner or otherwise in violation of any agreement with the disclosing party, (d) is disclosed without any
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  restrictions of any kind by the disclosing party to third    #:5285parties on a regular basis without any measures being
  taken, whether explicitly or implicitly, by the disclosing party to protect the confidentiality of such information,
  or (e) is independently generated by any employee or independent contractor of or retained by the non-
  disclosing party, and such employee or independent contractor has no knowledge of any of such commercial
  information. Notwithstanding the foregoing, the parties agree that any such commercial information may be
  disclosed as required by applicable law or an order by a Governmental Entity or any requirements of stock
  market or exchange or other regulatory body having competent jurisdiction; provided, that, except where
  prohibited by law, the recipient will give the disclosing party reasonable advance notice of such required
  disclosure, and will reasonably cooperate with the disclosing party, in order to allow the disclosing party an
  opportunity to oppose, or limit the disclosure of such commercial information or otherwise secure confidential
  treatment of such commercial information required to be disclosed; provided, further, that if disclosure is
  ultimately required, the recipient will furnish only that portion of such commercial information which, based
  upon advice of legal counsel, the recipient is required to disclose in compliance with any such requirement.

  45.      Non-Binding Negotiations and Effectiveness. MEL and Distributor acknowledge and agree that, except
  as expressly stated in this Agreement, there are no binding obligations or commitments existing between MEL
  and Distributor. No course of conduct, whether or not consistent with the terms discussed in connection with
  this Agreement, shall have the effect of converting any negotiations or discussions into a binding contract. No
  legally binding contract shall exist between MEL and Distributor unless and until this Agreement is executed by
  MEL and Distributor. This Agreement shall only become effective when it has been executed by both MEL and
  Distributor.

                                                     (Signature page/s follows.)

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        IN WITNESS WHEREOF, the parties have caused their duly authorized representatives to execute this
  Agreement as of the date first above written.

  MONSTER ENERGY LTD.                                              [·]

  By:                                                              By:
  Name: Rodney Sacks                                               Name:
  Its: Director                                                    Its:

                                   [Signature Page to International Distribution Agreement]




                                                          EXHIBIT A
                                              International Distribution Agreement

                                                    INITIAL PRODUCT LIST

                                                                Exhibit A



                                                          EXHIBIT B
                                              International Distribution Agreement

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                                                               #:5286
                                                      THE TERRITORY


  In the event of a dispute with respect to territorial boundaries between two adjacent parties, MEC shall have the
  right to decide such dispute in its sole discretion, and any such decision shall be final and binding upon the
  parties.

                                                                Exhibit B



                                                          EXHIBIT C
                                              International Distribution Agreement

                                         EXCLUSIVE DISTRIBUTOR ACCOUNTS



                                                EXCLUSIVE MEL ACCOUNTS



                                     NON-EXCLUSIVE DISTRIBUTOR ACCOUNTS

                                                                Exhibit C



                                                          EXHIBIT D
                                              International Distribution Agreement

                                                       THE TRADEMARKS

  MONSTER ENERGY

  MONSTER

  MONSTER

  MONSTER ENERGY

  UNLEASH THE BEAST

  MONSTER LO CARB

  MONSTER RIPPER

  MONSTER EXPORT

                                                                Exhibit D



                                                              EXHIBIT E
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                                                               #:5287
                                          International Distribution         Agreement

                                           PROMOTIONAL ACTIVITIES COSTS

  [TO BE PROVIDED]

                                                                Exhibit E



                                                           EXHIBIT F
                                               International Distribution Agreement

                                      MMM ACCOUNTS – MEL DIRECT VOLUME

  ________________ cases*

  *To be calculated by MEL as soon as practical following the Commencement Date and to be the number of
  cases sold directly by MEL to outlets in the Territory during the twelve (12) month period prior to the
  Commencement Date, but only with respect to that portion of the Territory, if any, (as defined in this Agreement)
  which was not part of Distributor’s “Territory” under one or more distribution agreements in existence between
  MEL and Distributor prior to the Effective Date (the “Prior Agreements”). In the event that this Agreement is
  amended to include additional “Territory” following the Commencement Date, the number of cases set forth
  above shall be increased accordingly, but only with respect to such additional “Territory.” For the avoidance of
  doubt, the number of cases set forth above shall (a) only apply to the calculation and payment of the fees payable
  by MEL to Distributor in accordance with Section 14(c) solely with respect to any new Territory allocated to
  Distributor pursuant to this Agreement with effect from or after the Effective Date which was not part of
  Distributor’s “Territory” under the Prior Agreements (the “New Territory”) and (b) not include the aggregate
  number of cases of Products sold by MEL to outlets in the Territory that was part of Distributor’s “Territory”
  under the Prior Agreements.

  For outlets which are part of Distributor’s New Territory, MEL shall pay Distributor in accordance with the
  formula set forth in Section 14(c) for the number of cases of Products sold directly by MEL to such outlets, less
  the number of cases of Products set forth above.

  For outlets which were part of Distributor’s “Territory” under the Prior Agreements, MEL shall pay Distributor
  in accordance with the formula set forth in Section 14(c) for all cases of Products sold directly by MEL to such
  outlets, without reference to, or subtracting, the number of cases of Products set forth above.




                                                 EXHIBIT B
                     Amended and Restated International Distribution Coordination Agreement

                                                             TERRITORY

  The entire world with the exception of Cuba and North Korea for so long as it is subject to applicable trade
  embargoes and sanctions laws and regulations, and excluding the United States of America (including the
  District of Columbia and all states, territories, and possessions of the United States of America) and Canada
  (including all territories and possessions of Canada).

                                                                Exhibit B

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                                                               #:5288

                                                EXHIBIT C-1
                     Amended and Restated International Distribution Coordination Agreement

                                                  OTHER MONSTER DRINKS

  NONE

                                                               Exhibit C-1



                                                EXHIBIT C-2
                     Amended and Restated International Distribution Coordination Agreement

                                                        OTHER PRODUCTS

  NONE

                                                               Exhibit C-2



                                                EXHIBIT D-1
                     Amended and Restated International Distribution Coordination Agreement

                                                               REGIONS



         No.                                           Regions
          1         Western Europe
          2         Eastern Europe, Caucasus, & Central Asia
          3         Middle East & Turkey
          4         Mexico & Central America
          5         South America
          6         North Africa, Central, East, & West Africa
          7         South Central Africa
          8         China/Hong Kong/Taiwan
          9         Korea & Japan
         10         Australia/New Zealand and rest of SE Asia
         11         India/Sri Lanka/Pakistan/Bangladesh/Myanmar
                                                               Exhibit D-1




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                                                               #:5289D-2
                                                          EXHIBIT
                    Amended and Restated International Distribution Coordination Agreement

                                                           BASE VOLUME

  [TO BE UPDATED UPON TRANSITION OF APPLICABLE TERRITORIES]

                                                               Exhibit D-2



                                                EXHIBIT D-3
                     Amended and Restated International Distribution Coordination Agreement

                                       NET SALES AND NET PROFIT STATEMENT

  Section 1: Net Sales Statement

   INCOME STATEMENT TEMPLATE
   (in US Dollar)                                                                         ACTUAL                       NET SALES %


   Gross Sales                                                                    -                                             0.0%
   Add: Recognized Deferred Revenue                                               -                                             0.0%
   Less: Sales Adjustments                                                        -                                             0.0%
   Less: Spoilage                                                                 -                                             0.0%
   Less: Cash Discounts                                                           -                                             0.0%
   ADJUSTED GROSS SALES                                                           -                                             0.0%

   LESS:
   Off Invoice                                                                    -                                             0.0%
   Market Development Fund                                                        -                                             0.0%
   Slotting                                                                       -                                             0.0%
   Coupon Redemption                                                              -                                             0.0%
   Chain CMA’s                                                                    -                                             0.0%
   Invasion Fees                                                                  -                                             0.0%
   *** Commissions                                                                -                                             0.0%
   ALLOWANCES/RECLASSIFICATIONS                                                   -                                             0.0%

   NET SALES (100%)                                                               -                                             0.0%

  Section 2: Net Profit Statement

   INCOME STATEMENT TEMPLATE
   (in US Dollar)                                                                         ACTUAL                       NET SALES %


   NET SALES (100%)                                                               -                                             0.0%
   LESS Cost of Goods Sold                                                        -                                             0.0%

   GROSS PROFIT                                                                   -                                             0.0%

  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

                                                               Exhibit D-3


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                                                               #:5290


   SELLING
   Distribution Expense                                                          -                                   0.0%
   Selling Expense                                                               -                                   0.0%
   LESS: TOTAL SELLING EXPENSES                                                  -                                   0.0%

   CONTRIBUTION MARGIN                                                           -                                   0.0%

   Payroll Expenses                                                              -                                   0.0%
   General & Admin Expenses                                                      -                                   0.0%
   Distributor Terminations/Settlements                                          -                                   0.0%
   Less TOTAL G & A EXPENSES                                                     -                                   0.0%

   OPERATING INCOME                                                              -                                   0.0%

   Less: Non-operating income (expense)                                          -                                   0.0%
   INCOME BEFORE TAXES                                                           -                                   0.0%

   Less: Provisions for Income Taxes                                             -                                   0.0%
   NET INCOME = NET PROFIT                                                       -                                   0.0%

   DISTRIBUTION
   Freight Out                                                                   -                                   0.0%
   Pick-up Allowance                                                             -                                   0.0%
   Storage/Warehouse                                                             -                                   0.0%
   DISTRIBUTION EXPENSE                                                          -                                   0.0%

   SELLING EXPENSE
   Advertising                                                                   -                                   0.0%
   Promotional Allowances                                                        -                                   0.0%
   Promotional Printing-Coupons                                                  -                                   0.0%
   Commission                                                                    -                                   0.0%
   Conventions & Sales Incentives                                                -                                   0.0%
   In-Store Demos                                                                -                                   0.0%
   Point of Sale                                                                 -                                   0.0%
   Marketing Research & Social Media                                             -                                   0.0%
   Samples                                                                       -                                   0.0%
   Sponsors/Endorse/Dues                                                         -                                   0.0%
   Premiums                                                                      -                                   0.0%
   Merchandise Display                                                           -                                   0.0%
   Graphic Design                                                                -                                   0.0%
   SUBTOTAL SELLING EXPENSE                                                      -                                   0.0%

                                                               Exhibit D-3




   Allocated Trade Development                                                   -                                   0.0%
   Allocated MAT Program                                                         -                                   0.0%
   Allocated CAT Program                                                         -                                   0.0%
   SUBTOTAL MKTG PROGRAMS                                                        -                                   0.0%
   TOTAL SELLING EXPENSE                                                         -                                   0.0%

   PAYROLL EXPENSE
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   Salaries - Executives                                     #:5291          -                                        0.0%
   Salaries - Operations                                                         -                                  0.0%
   Salaries - Administrative                                                     -                                  0.0%
   Salaries - Marketing & Admin                                                  -                                  0.0%
   Salaries - Sales & Support                                                    -                                  0.0%
   Salaries - Bonus/Severance                                                    -                                  0.0%
   Stock Based Compensation                                                      -                                  0.0%
   Payroll Taxes                                                                 -                                  0.0%
   Insurance Health and Dental                                                   -                                  0.0%
   Insurance Workers Comp                                                        -                                  0.0%
   Employee Benefits - 401K                                                      -                                  0.0%
   Employee Benefits - Other                                                     -                                  0.0%
   Temporary Services                                                            -                                  0.0%
   TOTAL PAYROLL EXPENSE                                                         -                                  0.0%

   GENERAL & ADMINISTRATIVE EXPENSES
   Amortiz - L/H Improve/Def Lease Asset                                         -                                  0.0%
   Amortiz - Trademark                                                           -                                  0.0%
   Bad Debts/Bank Charges                                                        -                                  0.0%
   Charitable Contributions                                                      -                                  0.0%
   Depreciation                                                                  -                                  0.0%
   Dues - Subscriptions                                                          -                                  0.0%
   Entertainment                                                                 -                                  0.0%
   Postage - Messenger - UPS                                                     -                                  0.0%
   Insurance                                                                     -                                  0.0%
   Penalties - Traffic & Other                                                   -                                  0.0%
   Prof Svcs - Computer                                                          -                                  0.0%
   Prof Svcs - Legal                                                             -                                  0.0%
   Prov Svcs - Accounting                                                        -                                  0.0%
   Prof Svcs - Trademark                                                         -                                  0.0%
   Prof Svcs - SAP                                                               -                                  0.0%
   Prof Svcs - Other                                                             -                                  0.0%
   Supplies - Office                                                             -                                  0.0%
   Supplies - Computer                                                           -                                  0.0%
   Computer & Software                                                           -                                  0.0%

                                                               Exhibit D-3



   Meetings & Seminars                                                           -                                  0.0%
   Rent - Offices                                                                -                                  0.0%
   Rent - Equipment & Other                                                      -                                  0.0%
   Repairs & Maintenance                                                         -                                  0.0%
   Taxes & Licenses                                                              -                                  0.0%
   Telephone Expense                                                             -                                  0.0%
   Travel                                                                        -                                  0.0%
   Truck & Auto                                                                  -                                  0.0%
   Utilities                                                                     -                                  0.0%
   GENERAL & ADMIN EXPENSES                                                      -                                  0.0%

   NON-OPERATING INCOME (EXPENSE)
   Royalty                                                                       -                                  0.0%
   Foreign Currency                                                              -                                  0.0%
   TOTAL        NON-OPERATING  INCOME                                            -                                  0.0%
   (EXPENSE)

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                                                               #:5292
                                                            Exhibit   D-3



                                                 EXHIBIT E
                     Amended and Restated International Distribution Coordination Agreement

  4.1.2          Pepsi System. Without limiting any other provisions of the Agreement, MEL will not grant any
           distribution rights regarding the Products to PepsiCo, or any of its Affiliates, or distributors whose sale of
           Pepsi products exceeds *** percent *** of such distributor’s total sales. This provision shall not apply to
           general wholesalers and broad-line distributors.


  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

                                                                Exhibit E



                                                 EXHIBIT H
                     Amended and Restated International Distribution Coordination Agreement

  8.       Competitive Product/s.

          8.1       This Competitive Products provision (Exhibit H) (this “Provision”) is made pursuant to the
  following recitals of fact, which recitals constitute an integral part of the Provision and this Agreement. The
  Parties acknowledge, agree and represent to each other that (a) MEL has agreed to transfer substantially all of its
  distribution of Monster Energy Drink/s from independent distributors to KO’s system of distribution, to pay KO
  the Commission and to grant other benefits to KO, KO Affiliates and KO Distributors in reliance upon KO’s
  covenants as set forth in this Exhibit H, (b) this Provision is a material and integral inducement to MEL
  completing the transactions contemplated by this Agreement, the Asset Transfer Agreement and the Transaction
  Agreement (the “Underlying Agreements”) and that KO is receiving valuable consideration for the covenants
  contained in this Provision, (c) the scope of the restrictive covenants set forth in this Provision are reasonable in
  view of the substantial consideration KO is receiving, (d) the performance by KO of its obligations under this
  Provision is a material and substantial part of the consideration due MEL under the Underlying Agreements, and
  (e) MEL would not have entered the Underlying Agreements in the absence of this Provision and KO
  acknowledges that this Provision is reasonable and necessary to protect the legitimate interests of MEL.

          8.2      During the Term of this Agreement (the “Restricted Period”), KO shall not, and shall cause its
  consolidated Subsidiaries (as defined in Section 12.1.6) not to, acquire or hold, directly or indirectly, any
  ownership interest in, or enter into any contract or arrangement with respect to the management or control of, the
  business, assets, brands or trademarks related to the marketing, sale or distribution of any (a) Energy Drinks (in
  any and all sizes or packages), (b) Red Bull branded products, or (c) Rockstar branded products, owned by
  (i) Red Bull GmbH and Red Bull Thailand and each of their respective controlled Affiliates and/or successors
  (collectively, “Red Bull”) or (ii) Rockstar, Inc. and its controlled Affiliates and/or successors (collectively,
  “Rockstar”).

          8.3      During the Restricted Period, KO shall not, and shall cause its consolidated Subsidiaries not to,
  directly or indirectly engage in, or knowingly assist or finance (for the specific purpose of the restricted activity)
  any third party in engaging in, the business of manufacturing, marketing, selling or distributing any Competitive
  Products in the Restricted Territories (“Energy Competitive Business”); provided, that, nothing in this Provision
  shall preclude or prohibit KO or its consolidated Subsidiaries from (a) consummating the transactions
  contemplated by any of the Transaction Documents, (b) performing their respective obligations or exercising
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  their respective rights under any of the Transaction         #:5293Documents, (c) owning equity interests in any non-
  consolidated entity that may be engaged in any Energy Competitive Business; provided, that none of KO or any
  of its consolidated Subsidiaries knowingly causes or approves in writing (to extent such a contractual approval
  right exists) such non-consolidated entity to engage in the Energy Competitive Business or directly or indirectly
  knowingly assists or finances (for the specific purpose of the restricted activity) such non-consolidated entity in
  connection therewith, or (d) acquiring (whether by means of acquisition, asset purchase, merger, consolidation,
  similar business combination or otherwise) any business that engages in an

                                                                Exhibit H



  Energy Competitive Business, if the Energy Competitive Business represents less than fifty percent (50%) of the
  acquired business’s total assets (measured based on the most recent financial statements available for the
  acquired business prior to the execution of definitive agreements for such acquisition) so long as a definitive
  agreement for the sale, transfer or other disposition of the portion of such business that engages in the Energy
  Competitive Business to a Third Party is entered into within twelve (12) months (or sooner, to the extent
  practicable without adversely affecting the value received in such sale) following the consummation of the
  acquisition of such business, and consummation of any such sale, transfer or other disposition occurs within
  eighteen (18) months following the acquisition of such business (or, if not consummated within such period, as
  soon as practicable thereafter). For the avoidance of doubt, the restrictions in this Provision shall not apply to
  any non-consolidated entities in which KO or its Subsidiaries or Affiliates may hold an interest; provided, that
  none of KO or any of its consolidated Subsidiaries knowingly causes or approves in writing (to the extent such a
  contractual approval right exists) such non-consolidated entity to engage in the Energy Competitive Business or
  directly or indirectly knowingly assists or finances (for the specific purpose of the restricted activity) such non-
  consolidated entity in connection therewith.

        8.4        For purposes of this Provision, the term “knowingly” refers to, with respect to KO, the
  knowledge of any member of senior management of KO.

         8.5     For the avoidance of doubt, nothing in this Provision shall limit or modify KO’s obligations under
  Section 8.14 of the Transaction Agreement.

          8.6        The Parties acknowledge that the restrictions contained in this Provision are reasonable and
  necessary to protect the legitimate interests of the parties, constitute a material inducement to the Parties to enter
  into the Underlying Agreements and the other agreements contemplated hereby and thereby, are an essential
  element of the transactions contemplated hereby and thereby, and that any breach will result in irreparable injury
  to the other Party. Each Party agrees that neither it nor any of its controlled Affiliates will challenge the
  enforceability of, or the reasonableness of the time, scope or geographic coverage of, any provision of this
  Provision in any action or proceeding. In the event that any covenant contained in this Provision is ever
  adjudicated to exceed the time, geographic, scope or other limitations permitted by applicable law in any
  jurisdiction, then any court is expressly empowered to reform such covenant, and such covenant shall be deemed
  reformed, in such jurisdiction to the maximum time, geographic, scope or other limitations permitted by
  applicable law. The covenants contained in this Provision and each provision hereof are severable and distinct
  covenants and provisions. The invalidity or unenforceability of any such covenant or provision as written shall
  not invalidate or render unenforceable the remaining covenants or provisions hereof, and any such invalidity or
  unenforceability in any jurisdiction shall not invalidate or render unenforceable such covenant or provision in
  any other jurisdiction.

         8.7      For purposes of this Provision, (a) any terms defined in the Agreement to which this Provision is
  attached, but not defined in this Provision, will have the meanings set forth in such Agreement and (b) any terms
  defined in this Provision (including the following terms) will have the definitions set forth in this Provision (it
  being understood that definitions of any terms defined herein will supersede any definitions set forth in the
  Agreement to which this Provision is attached).
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                                                               #:5294
                                                                Exhibit H



                8.7.1 “Competitive Products” means (a) any Energy Beverages and/or (b) any Red Bull branded
  products and/or Rockstar branded products.

                   8.7.2 “Energy Beverages” means any shelf-stable, non-alcoholic beverage, in ready-to-drink,
  powdered, drops or concentrate form, made with or without carbonation, that both (a) is marketed or positioned
  to consumers as an energy beverage and (b) contains one or more of the following ingredients: guarana, taurine,
  panax ginseng, L-carnitine, B-2 vitamins, B-6 vitamins, B-12 vitamins, L-arginine, astralagus, glucuronolactone
  or inositol (or, to the extent approved by Parent, which approval shall not be unreasonably withheld, conditioned
  or delayed, any ingredients substituting for or supplementing any of the foregoing ingredients); provided that
  “Energy Beverages” shall not include (whether or not they would otherwise be an Energy Beverage) either
  (i) any beverage which is marketed or positioned to consumers under the Coca-Cola brand and any line
  extensions or expansions of such products marketed under such brand, or (ii) any products marketed under the
  Vitaminwater brand and any line extensions or expansions of such products marketed under such brand even if
  such product utilizes the word “energy” on its packaging or labeling as long as such product (utilizing the word
  “energy” on its packaging or labeling) is also identified as a nutrient based water beverage (or words of similar
  import).

                  8.7.3 “Excluded Territories” means any (a) Served Territory as of or after the Effective Date
  and as to which, at any time as of or after the one-year anniversary of the Effective Date, no distribution
  agreement with any KO Distributor covering any Product that is either an Energy Beverage brand that was
  included in the KO Asset Transfer (as defined in the Asset Transfer Agreement) or an Energy Beverage brand of
  NewCo (“MBC”), Company (“MEC”) or one of their Subsidiaries, in each case in such Served Territory, is in
  effect (in the case of an Energy Beverage included in the KO Asset Transfer, to the extent that the distribution of
  such Energy Beverage is occurring in substantially the same manner as occurring as of the date of the
  Transaction Agreement), (b) Served Territory as to which a KO Distributor previously had distribution rights
  that have since terminated but only upon the earlier to occur of (i) the six-month anniversary of the date of such
  termination if no New Distribution Agreement with a KO Distributor in such territory has been entered into by
  such six-month anniversary and (ii) the date when MBC or one of its Affiliates enters into a distribution
  agreement with a distributor that is not a KO Distributor covering such Served Territory, or (c) Unserved
  Refused Territory; provided, however, that (i) the one-year deadline referred to in clause (a) (the “Relevant
  Period”), will be deemed to be extended for as long as MBC is negotiating, as of the end of the Relevant Period,
  and thereafter continues to negotiate, in each case in good faith with the applicable KO Distributor, regarding a
  New Distribution Agreement in such Served Territory (provided that any such extension shall not exceed twelve
  (12) months) and (ii) no Served Territory will be deemed to be an Excluded Territory as a result of the operation
  of clause (a) above if there has been a Distribution Refusal by the applicable KO Distributor prior to the end of
  the applicable Relevant Period (as it may be extended pursuant to clause (i)) unless following such Distribution
  Refusal MBC or one of its Affiliates enters into a distribution agreement with a Third Party on terms that are
  more favorable to such Third Party, in the aggregate, than the last terms proposed to the applicable KO
  Distributor that was the subject of the Distribution Refusal.

                                                                Exhibit H



                 8.7.4     “Products” means all beverages manufactured by or for MBC, MEC or any of their
  Subsidiaries or marketed or sold under the brands of MBC, MEC or any of their Subsidiaries, including, with
  respect to any period following the Effective Date, any brand included in the KO Asset Transfer.


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                 8.7.5 “Restricted Territories” means#:5295     Served Territories and Unserved Territories, in each case,
  other than any Excluded Territory.

                8.7.6 “Served Territories” means, as of a given date, a territory where either of the following
  have been distributed pursuant to one or more distribution agreements prior to such date: (a) beverages
  manufactured by or for MBC, MEC or any of their Subsidiaries or marketed or sold under the brands of MBC,
  MEC or any of their Subsidiaries or (b) beverages manufactured by or for KO or any of its Subsidiaries or
  marketed or sold under the brands of KO or any of its Subsidiaries and included in the KO Asset Transfer.

                  8.7.7 “Territory Implementation” means the initiation or commencement of any one or more of
  (a) the process to obtain or satisfy any applicable governmental, regulatory or other industry-related approvals or
  requirements required for distribution of the applicable Products in the applicable Unserved Territory, (b) due
  diligence related to determining the feasibility of distribution of Products in the applicable Unserved Territory, or
  (c) the commencement of negotiations with a KO Distributor with respect to the future distribution of Products
  in that Unserved Territory.

                    8.7.8    “Third Party” means any Person other than MBC, MEC, KO or their respective Affiliates.

                  8.7.9     “Transaction Documents” means the Transaction Agreement, the Asset Transfer
  Agreement, the Commercial Agreements (as defined in the Transaction Agreement), the Ancillary Agreements
  (as defined in the Asset Transfer Agreement), all exhibits and schedules to the Transaction Agreement, the Asset
  Transfer Agreement, the Commercial Agreements and the Ancillary Agreements (as defined in the Asset
  Transfer Agreement) and any other documents, certificates, agreements or letters executed in connection with
  the transactions contemplated by the Transaction Agreement, the Asset Transfer Agreement, the Commercial
  Agreements and the Ancillary Agreements.

                   8.7.10 “Unserved Refused Territory” means any Unserved Territory as follows: Following the
  Effective Date, if KO receives a request from a KO Distributor in an Unserved Territory to make an Energy
  Beverage available to it for distribution in such Unserved Territory, then KO may provide a written notice to
  MBC of its intention to distribute products of KO or its Affiliates that are Energy Beverages in any Unserved
  Territory. If (a) MBC fails to deliver to KO within ninety (90) days after KO provides such notice to MBC a
  written affirmation that MBC intends in good faith to distribute products that are Energy Beverages in such
  Unserved Territory, (b) MBC fails to commence a Territory Implementation in respect of such Unserved
  Territory in good faith within twelve (12) months after delivery to KO of such written affirmation, or
  (c) (i) MBC ceases to advance, in good faith, the applicable process described in the definition of Territory
  Implementation in such Unserved Territory after the twelve (12) month period set forth in the foregoing clause
  (b) and (ii) following the twelve (12) month period

                                                                Exhibit H



  referred to in the foregoing clause (b), KO provides notice to MBC indicating that MBC has ceased to advance
  such applicable process and MBC thereafter fails to progress such process in good faith within ninety (90) days
  of receipt of such notice, then such territory shall become an Unserved Refused Territory; provided, however,
  that MBC shall be excused from continuing with any Territory Implementation during any period that (A) a
  governmental or regulatory approval process shall have delayed the commencement of distribution in such
  territory or (B) economic conditions would reasonably be expected to have an adverse economic impact on
  MBC’s business of distributing Products in such Unserved Territory or to otherwise delay the commencement of
  distribution in such territory; provided, further, that if at any time MBC no longer intends in good faith to
  implement such Territory Implementation in the applicable Unserved Territory, it shall promptly inform KO of
  such change in intention and thereafter such Unserved Territory shall become an Unserved Refused Territory.


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                 8.7.11 “Unserved Territories” means,         #:5296
                                                                   as of a given date, a territory where neither of the
  following are being or have been distributed pursuant to one or more distribution agreements prior to such date:
  (a) beverages manufactured by or for MBC, MEC or any of their Subsidiaries or marketed or sold under the
  brands of MBC, MEC or any of their Subsidiaries or (b) beverages manufactured by or for KO or any of its
  Subsidiaries or marketed or sold under the brands of KO or any of its Subsidiaries and included in the KO Asset
  Transfer.

                                                                Exhibit H



                                                  EXHIBIT I
                     Amended and Restated International Distribution Coordination Agreement

  4.1.1(b)(i)          In the event that the New Distribution Agreement being negotiated is an amendment to an
  Existing Distribution Agreement and the Proposed Distributor is willing to agree to the terms of the Existing
  Distribution Agreement for the additional Sub-Territories to be added (but not to an amendment implementing
  terms substantially identical with the form attached as Exhibit A), upon KO’s direction, MEL shall not be
  permitted to withhold agreement to adding the additional Sub-Territories to the Existing Distribution Agreement.

                                                                Exhibit I



                                                  EXHIBIT J
                     Amended and Restated International Distribution Coordination Agreement

                                                        KO COMPETITORS

  ***


  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

                                                                Exhibit J



                                                 EXHIBIT X
                     Amended and Restated International Distribution Coordination Agreement

  NONE

  [KO and MEL shall reasonably agree upon the content and timing of any such letter or email, if any, following
  the Effective Date.]

                                                                Exhibit X



                                                 EXHIBIT Z
                     Amended and Restated International Distribution Coordination Agreement

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  4.8        KO Distributors; Distribution Agreements.#:5297       Whenever a KO Bottler Agreement with a KO Distributor
  that is a party to a KO Distribution Agreement expires or is terminated by KO pursuant to either a deficiency
  termination procedure or any other right of termination stated in such a KO Bottler Agreement, KO shall notify
  MEL in writing within sixty (60) days after such termination. In the event that any such former KO Distributor
  is no longer a party to any KO Bottler Agreement, upon written notice from KO, MEL shall (or shall cause its
  applicable Affiliate to) terminate all KO Distribution Agreements with such former KO Distributor to the extent
  that such KO Distribution Agreements can be terminated by MEL (or such applicable Affiliate) upon such
  occurrence or upon written notice pursuant to and in accordance with the terms of the applicable KO
  Distribution Agreements. Notwithstanding the foregoing, MEL shall not be required pursuant to this Section 4.8
  to (or to cause such applicable Affiliate to) terminate such KO Distribution Agreement (a) under which MEL is
  obligated to pay a Severance Payment (or other amounts required to be paid for termination) to such former KO
  Distributor, *** and (b) with respect to any Sub-Territory/ies applicable to the KO Distribution Agreement to be
  terminated, until such time as MEL receives a Distribution Commitment from a Primary KO Distributor for such
  Sub-Territory/ies in accordance with the Distributor Negotiation Process (mutatis mutandis).


  *** Indicates portions of this exhibit have been omitted and filed separately with the Securities and Exchange Commission pursuant to
  a request for confidential treatment.

                                                                Exhibit Z




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